           Exhibit
             B

Case 1:19-cv-00131-TRM-CHS Document 32-2 Filed 11/27/19 Page 1 of 316 PageID #:
                                   7116
                                                                                   1


        1                                                Volume: I
                                                         Pages: 1 - 285
        2                                                Exhibits: 1 - 3

        3
                             UNITED STATES DISTRICT COURT
        4                        DISTRICT OF ARIZONA

        5
             Mark Biliack, M.D.,           )
        6    an individual,                )
                         Plaintiff,        )
        7                                  )
                  versus                   )
        8                                  )
             The Paul Revere Life          )
        9    Insurance Company, a          )             Case No.
             Massachusetts Corporation;    )             2:16-cv-03631-DJH
       10    Unum Group, a Delaware        )
             Corporation; Austin Jerome    )
       11    Philbin, M.D., an individual; )
             Suzanne Benson, M.D., an      )
       12    Individual,                   )
                         Defendants.       )
       13

       14                         *** Confidential ***

       15               VIDEOTAPED DEPOSITION OF PAUL PETER
                                   December 7, 2018
       16                             11:47 a.m.
                         Beechwood Hotel, Renaissance Room
       17                       363 Plantation Street
                           Worcester, Massachusetts 01605
       18

       19
                 Court Reporter:       Julie Thomson Riley, RDR, CRR
       20

       21               ***********************************
                            FLYNN REPORTING ASSOCIATES
       22                   Professional Court Reporters

       23                 508) 755-1303 * (888) 244-8858
                               www.flynnreporting.com
       24
                        ***********************************


                            PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                         Page   12-7-2018-000001
                                                              2 of 316 PageID #:
                                    7117
                                                                                   2


        1    APPEARANCES:

        2    FOR THE PLAINTIFF:

        3         Dawson & Rosenthal, P.C.

        4         BY:    Steven C. Dawson, Esquire

        5         BY:    Anita Rosenthal, Esquire

        6         BY:    Sander R. Dawson, Esquire

        7         25 Schnebly Hill Road

        8         Sedona, Arizona 86336-4233

        9         (928) 282-3111

       10         sdawson@dawsonandrosenthal.com

       11         dandr@dawsonandrosenthal.com

       12         sanderdawson@dawsonandrosenthal.com

       13

       14                     - and -

       15

       16         Friedman Rubin, PLLP

       17         BY:    Jeffrey K. Rubin, Esquire

       18         51 University Street, Suite 201

       19         Seattle, Washington 98101

       20         (206) 501-4446

       21         jrubin@friedmanrubin.com

       22

       23

       24    (continued)



                            PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                         Page   12-7-2018-000002
                                                              3 of 316 PageID #:
                                    7118
                                                                                   3


        1    APPEARANCES (continued):

        2    FOR THE DEFENDANTS:

        3         Sheppard Mullin Richter & Hampton, LLP

        4         BY:    Theona Zhordania, Esquire

        5         333 South Hope Street, 43rd Floor

        6         Los Angeles, California 90071-1442

        7         (213) 617-5546

        8         tzhordania@sheppardmullin.com

        9

       10                     - and -

       11

       12         Unum Group

       13         BY:    Cesar R. Britos, AVP & Sr. Counsel

       14         Law Department

       15         2211 Congress Street-C475

       16         Portland, Maine 04122

       17         (207) 575-3307

       18         cbritos@unum.com

       19

       20    Also Present:

       21    Darryn Carroll, Videographer

       22       Planet Depos

       23

       24



                            PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                         Page   12-7-2018-000003
                                                              4 of 316 PageID #:
                                    7119
                                                                                   4


        1                                I N D E X

        2    Deposition of:                                               Page

        3    Paul Peter

        4          by Mr. Dawson                                             7

        5          by Ms. Zhordania                                       208

        6          by Mr. Dawson                                          259

        7          by Ms. Zhordania                                       278

        8

        9

       10

       11

       12

       13                             E X H I B I T S

       14    No.                                                          Page

       15    Exhibit 1          Document entitled UnumProvident

       16                       Manager Toolkit, 2005 Business

       17                       Plan & BBS Communications,

       18                       The Benefits Center, Bates

       19                       Stamp Nos. August 3730 through

       20                       August 3765 and Moffatt 411

       21                       through Moffat 446.                        50

       22

       23

       24    (continued)



                            PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                         Page   12-7-2018-000004
                                                              5 of 316 PageID #:
                                    7120
                                                                                   5


        1                     E X H I B I T S (continued)

        2    No.                                                          Page

        3    Exhibit 2          E-mail string, Bates Stamp

        4                       No. Biliack-PRL-MS-EA-000049.              88

        5    Exhibit 3          Document entitled Weekly

        6                       Tracking - Qtr View, as of

        7                       December 31, 2016, Bates

        8                       Stamp No. PRL-MS-BILIACK-WKLY

        9                       TRACKING-CONFIDENTIAL-000010.             135

       10

       11

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23    ***The original exhibits were returned to

       24    Attorney Dawson.



                            PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                         Page   12-7-2018-000005
                                                              6 of 316 PageID #:
                                    7121
                                                                                   6


        1    ----------------------------------------------------

        2                           AFTERNOON SESSION

        3                                11:47 a.m.

        4    ----------------------------------------------------

        5                 THE VIDEOGRAPHER:        Here begins Disk No. 1

        6    in the videotaped deposition of Paul Peter in the

        7    matter of Biliack, M.D. versus the Paul Revere Life

        8    Insurance Company, et al., in the United States

        9    District Court, District of Arizona, Case

       10    No. 2:16-cv-03631-DJH.

       11                 Today's date is December 7, 2018.             The time

       12    on the video monitor is 11:48 a.m.             The videographer

       13    today is Darryn Carroll, representing Planet Depos.

       14    This video deposition is taking place at

       15    363 Plantation Street, Worcester, Massachusetts.

       16                 Would counsel please voice identify

       17    themselves and state whom they represent.

       18                 MR. DAWSON:      On behalf of the plaintiff,

       19    Steve Dawson, along with Anita Rosenthal, Jeff

       20    Rubin, and Sander Dawson.

       21                 MS. ZHORDANIA:       Theona --

       22                 MR. DAWSON:      Bless you.

       23                 MS. ZHORDANIA:       Thank you.

       24                 Theona Zhordania on behalf of the defendants



                            PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                         Page   12-7-2018-000006
                                                              7 of 316 PageID #:
                                    7122
                                                                                   7


        1    as well as the witness in connection with this

        2    deposition.

        3                 MR. BRITOS:      Cesar Britos for Unum.

        4                 THE VIDEOGRAPHER:        Thank you.

        5                 The court reporter today is Julie Riley,

        6    representing Flynn Reporting and Associates.

        7                 Would the court reporter please swear in

        8    the witness.

        9                                 *   *   *

       10                               PAUL PETER,

       11    having been satisfactorily identified and duly sworn

       12    by the Notary Public was examined and testified as

       13    follows:

       14                          DIRECT EXAMINATION

       15    BY MR. DAWSON:

       16         Q.      Good morning.

       17         A.      Good morning.

       18         Q.      Would you state your full name, please.

       19         A.      Paul Steven Peter.

       20         Q.      Mr. Peter, what is your employment?

       21         A.      I'm a self-employed consultant.

       22         Q.      And what do you consult about?

       23         A.      Primarily as a subject matter expert for

       24    disability income insurance.



                            PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                         Page   12-7-2018-000007
                                                              8 of 316 PageID #:
                                    7123
                                                                                   8


        1           Q.    You consult in litigated matters?

        2           A.    Yes.

        3           Q.    You have been deposed before; correct?

        4           A.    Correct.

        5           Q.    Give me an idea about how many times.

        6           A.    Approximately 15.

        7           Q.    What about in the last two years, you've

        8    been deposed how many times?

        9           A.    I believe it was just once about two years

       10    ago.

       11           Q.    All right.      Is there anything that you

       12    believe would at all limit your ability to testify

       13    completely and truthfully today?

       14           A.    Not that I can think of.

       15           Q.    All right.      Or anything that you believe

       16    would at all limit your willingness to testify

       17    completely and truthfully today?

       18           A.    Not that I can think of.

       19           Q.    All right.      I understand that

       20    Ms. Zhordania, if I'm saying your name right, is

       21    representing you today; correct?

       22           A.    Yes.

       23           Q.    And is Unum paying for that counsel?

       24           A.    Yes.



                            PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                         Page   12-7-2018-000008
                                                              9 of 316 PageID #:
                                    7124
                                                                               9


        1          Q.     All right.      Have you expressly agreed to

        2     waivers of any potential conflicts of interest?

        3          A.     I'm not sure.

        4          Q.     All right.      Well, if you expressly had

        5     agreed, then I suspect you would know.

        6          A.     I have not signed documents to that

        7     effect, no.

        8          Q.     Okay.    I'm going to ask about your

        9     background to a certain extent.           Before you went

       10     to work in the insurance industry, what was your

       11     educational background?

       12          A.     I have a bachelor's degree in economics.

       13          Q.     Okay.    And what was your first job in the

       14     insurance-related field?

       15          A.     My first job was as an assistant

       16     underwriter for the Paul Revere Life Insurance

       17     Company.

       18          Q.     So putting aside your consulting work now,

       19     has all of your employment in the insurance industry

       20     been in connection with a Unum-affiliated company?

       21          A.     Yes, Unum and predecessor companies.

       22          Q.     Okay.    How many years did you work for

       23     Unum and/or a predecessor company?

       24          A.     About 30.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 10 12-7-2018-000009
                                                                of 316 PageID #:
                                    7125
                                                                              10


        1          Q.     What year did you begin with them?

        2          A.     1986.

        3          Q.     And you began in the underwriting department

        4     apparently?

        5          A.     Yes.

        6          Q.     Okay.    And how many years did you spend in

        7     the underwriting department?

        8          A.     Approximately 20.

        9          Q.     So '86 til about 2006 --

       10          A.     Yes.

       11          Q.     -- correct?

       12                 And what was the highest level that you

       13     ended up rising to in underwriting?

       14          A.     I was Assistant Vice President of

       15     Underwriting.

       16          Q.     And approximately what year did you become

       17     Assistant Vice President?

       18          A.     It's hard to remember for sure, but I'm

       19     going to say approximately 1998.

       20          Q.     At the time that you began in 1986, would

       21     it be accurate that Paul Revere was offering an IDI

       22     own occupation, noncancellable disability product?

       23          A.     Yes.

       24          Q.     And while you were still in underwriting,



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 11 12-7-2018-000010
                                                                of 316 PageID #:
                                    7126
                                                                              11


        1     did Paul Revere stop offering that product?

        2          A.     Yes, I believe so.

        3          Q.     Around 1994, does that sound right?

        4          A.     I'm not sure.       I think somewhere in the

        5     1990s, but I can't be more specific.

        6          Q.     All right.      In 2006, what was your change

        7     in job position?

        8          A.     I moved from being Assistant Vice

        9     President of Underwriting to an Assistant Vice

       10     President in Claims.

       11          Q.     Okay.    And as an Assistant Vice President

       12     of Claims, what were your job duties?

       13          A.     I was responsible for managing a team of

       14     several Claims Directors, who, in turn, had what

       15     Unum calls DBSs, Disability Benefits Specialists

       16     reporting to them.

       17          Q.     All right.      And as a -- so you worked as

       18     an Assistant Vice President in Claims from 1998

       19     until what year?

       20          A.     No, I worked as an Assistant Vice

       21     President in Claims from 2006.

       22          Q.     I'm sorry.      2006?

       23          A.     To 2016.

       24          Q.     And in 2016, how many Directors were



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 12 12-7-2018-000011
                                                                of 316 PageID #:
                                    7127
                                                                              12


        1     reporting to you?

        2          A.     Approximately six.

        3          Q.     And one of the Directors that reported to

        4     you would have been Elysabeth Wetton; is that

        5     correct?

        6          A.     Yes.

        7          Q.     And then there would be Joseph Sullivan?

        8          A.     Yes.

        9          Q.     Timothy Loftus?

       10          A.     Yes.

       11          Q.     Did you also have a QCC report to you?

       12          A.     I did.

       13          Q.     James Birch?

       14          A.     Yes.

       15          Q.     The Directors that reported to you, did

       16     they all handle claims that would be considered to

       17     be in active management?

       18          A.     Yes.

       19          Q.     Okay.    And the Directors were assigned

       20     claims -- well, let me back up.

       21                 At one point, there was a division in the

       22     claims operation where units were divided based upon

       23     impairment.     Were you aware of that or familiar with

       24     that?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 13 12-7-2018-000012
                                                                of 316 PageID #:
                                    7128
                                                                              13


        1          A.     Yes.

        2          Q.     Was that ever the case when you were in

        3     the claims operation?

        4          A.     No.

        5          Q.     Okay.    During your time in the claims

        6     operation, how were the claim units divided up?               On

        7     what basis?

        8          A.     Geographically.

        9          Q.     And in the, say, 2015, 2016 time frame,

       10     geographically what area of the country were you

       11     overseeing?

       12          A.     My best recollection is that I had parts

       13     of the Northeast and parts of the West Coast.

       14          Q.     Okay.    We see mention in the Biliack file

       15     a position known as a DMS.         Can you tell me what

       16     that is.

       17          A.     Sure.    It stands for disability management

       18     specialist.

       19          Q.     All right.      And that's somebody who's sort

       20     of being groomed to be a Director; would that be

       21     fair to say?

       22          A.     Yes.

       23          Q.     All right.      And you had a DMS that

       24     reported to you as well; is that correct?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 14 12-7-2018-000013
                                                                of 316 PageID #:
                                    7129
                                                                              14


        1          A.     Yes.

        2          Q.     The Directors had about how many active

        3     claims in his or her inventory, each Director?

        4          A.     I'd say approximately 250 to 300.

        5          Q.     All right.      And then that would mean then

        6     your overall responsibility would be a multiplier

        7     of six, and somewhere from 1,500 to 1,800 active

        8     claims?

        9          A.     Yes, I think that's a good approximation.

       10          Q.     All right.      In 1996 -- let me back up

       11     before that.

       12                 In 1986, when you went to work for Paul

       13     Revere, at that time, Paul Revere and Provident Life

       14     and Unum Life were separate, unrelated companies;

       15     correct?

       16          A.     Correct.

       17          Q.     And they were competitors, in fact?

       18          A.     Yes.

       19          Q.     In I think the records show and let me ask

       20     if it's consistent with your memory that in 1996,

       21     Provident had announced in a press release that it

       22     would be purchasing Paul Revere.           Does that square

       23     with your memory or time frame?

       24          A.     I think approximately, whether it was



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 15 12-7-2018-000014
                                                                of 316 PageID #:
                                    7130
                                                                              15


        1     announced as a purchase or a merger, I'm not sure,

        2     but there was some type of joining of the two

        3     companies.

        4          Q.      All right.     And the joining then happened

        5     in 1997; does that sound correct?

        6          A.      I believe so.

        7          Q.      All right.     And with the joining of the

        8     two companies, is it correct that the Paul Revere

        9     employees became Provident employees?

       10          A.      Yes.

       11          Q.      So subsequent to this joining of the

       12     companies your compensation would have come from

       13     Provident; correct?

       14          A.      I think that's what my paycheck would have

       15     said, yes.

       16          Q.      All right.     And then there was a change a

       17     few years after that where the Provident Companies

       18     merged with Unum Life Insurance Company; correct?

       19          A.      Yes.

       20          Q.      And does it sound right that was around

       21     1999?

       22          A.      It sounds about right, yes.

       23          Q.      All right.     And at that point, the merged

       24     entity was then called UnumProvident; correct?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 16 12-7-2018-000015
                                                                of 316 PageID #:
                                    7131
                                                                              16


        1          A.     Correct.

        2          Q.     And a couple of years after that,

        3     UnumProvident, the name was changed to Unum Group;

        4     is that correct?

        5          A.     Yes.

        6          Q.     Which is as it's known today?

        7          A.     Yes.

        8          Q.     All right.      So your tenure in claims in

        9     2006 began after these acquisitions and mergers,

       10     however they're most accurately classified.              It was

       11     Unum Group at the point you began in claims; is that

       12     correct?

       13          A.     I believe so, yes.

       14          Q.     Okay.    Who did you initially report to

       15     once you became AVP in Claims?

       16          A.     Maureen Griffin.

       17          Q.     And Ms. Griffin had become -- well, what

       18     was her position?

       19          A.     At the time I began reporting to her, she

       20     was a Vice President of Individual Disability

       21     Claims.

       22          Q.     Okay.    And she had assumed that role not

       23     too long before you assumed the role of AVP in

       24     Claims?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 17 12-7-2018-000016
                                                                of 316 PageID #:
                                    7132
                                                                              17


        1                 MS. ZHORDANIA:       Calls for speculation.

        2          Q.     Do you know that?        Are you aware of that?

        3          A.     I'm not sure how long before, but I think

        4     it, you know, was probably, you know, less than a

        5     year, maybe a few months.

        6          Q.     All right.      The hierarchy of the Claims

        7     Department -- and before I ask you that specific

        8     question, we'll talk a little bit about terminology.

        9                 At Unum Group, the Claims Department is

       10     also referred to as the Benefits Operation; is that

       11     correct?

       12          A.     Yes.

       13          Q.     Sometimes the Benefits Center?

       14          A.     To some extent, I think that terminology

       15     may have --

       16          Q.     Fallen off.

       17          A.     -- become less prevalent over time.

       18          Q.     Okay.    So that I'm understanding, at

       19     currently -- well, as of 2016, would it be accurate

       20     that the claims operation at Unum was also referred

       21     to as the Benefits Operation?

       22          A.     Yes.

       23          Q.     And going back to some extent in the past,

       24     the claims operation might also be known as the



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 18 12-7-2018-000017
                                                                of 316 PageID #:
                                    7133
                                                                              18


        1     Benefits Center?

        2            A.       Yes.

        3            Q.       Okay.   Now, we'll talk about the

        4     hierarchy.        What we would typically refer to as

        5     claims adjusters, Unum referred to as DBSs; is that

        6     correct?

        7            A.       Yes.

        8            Q.       And that stands for Disability Benefits

        9     Specialist?

       10            A.       Yes.

       11            Q.       And DBSs report to the Directors?

       12            A.       Yes.

       13            Q.       And then the Directors, as we've kind of

       14     touched on, report to your position, Assistant Vice

       15     President; correct?

       16            A.       Yes.

       17                     Could I ask you to just speak up a little

       18     bit.        I'm having a little trouble hearing you.

       19            Q.       Yeah.   Yeah.

       20            A.       Thank you.

       21            Q.       In 2016, how many Assistant Vice

       22     Presidents in claims were there?

       23            A.       I would say either three or four.

       24            Q.       Who were the others at the time?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 19 12-7-2018-000018
                                                                of 316 PageID #:
                                    7134
                                                                              19


        1          A.     There was Holly Crawford, Anthony Scuderi,

        2     and possibly Kim Davis.         I'm not exactly sure when

        3     she relocated from Worcester back to Chattanooga; so

        4     that's why I said either three or four.

        5          Q.     All right.

        6          A.     It may have changed during 2016, as a

        7     matter of fact.

        8          Q.     And the AVPs then would report to the Vice

        9     President of Individual Disability; correct?

       10          A.     Yes.

       11          Q.     And were there two Vice Presidents of

       12     Individual Disability as of 2016?

       13          A.     My recollection is that at the beginning

       14     of 2016, there were two, and sometime during the

       15     course of 2016, there was one.

       16          Q.     All right.      One of the two was Ms. Griffin;

       17     correct?

       18          A.     Yes.

       19          Q.     And was the other Scott Williams?

       20          A.     Yes.

       21          Q.     And who left before the other?

       22          A.     Mr. Williams left, I believe, at some point

       23     during 2016.

       24          Q.     All right.      And to your knowledge, did he



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 20 12-7-2018-000019
                                                                of 316 PageID #:
                                    7135
                                                                                20


        1     leave the company altogether?

        2          A.     No.     My recollection is that he took a new

        3     position with the company, not in claims.

        4          Q.     Okay.     And is it your understanding that

        5     he was not replaced?

        6          A.     Yes.

        7          Q.     In the 2015, '16 time frame, who did

        8     Ms. Griffin report to?

        9                 MS. ZHORDANIA:       To the extent it calls for

       10     speculation.

       11          A.     To the best of my recollection, it was

       12     Nancy McGee.

       13          Q.     And to your knowledge, Ms. McGee's

       14     position or title was what?

       15          A.     I believe she was also a Vice President.

       16          Q.     But a Vice President occupying a higher

       17     position than Ms. Griffin's Vice Presidency; would

       18     that be fair to say?

       19                 MS. ZHORDANIA:       Foundation.

       20          A.     I'm not sure of the different levels of

       21     Vice President.       My recollection is that they were

       22     both Vice Presidents, whether -- and Ms. Griffin

       23     reported to Ms. McGee.        Whether they had different

       24     job levels or within the company, I'm not sure.               I



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 21 12-7-2018-000020
                                                                of 316 PageID #:
                                    7136
                                                                              21


        1     just know one reported to the other.

        2            Q.   All right.      Do you know was Nancy McGee

        3     the Vice President of -- strike that.

        4                 Yeah, Vice President of IDI and LTC,

        5     long-term claims?

        6            A.   That sounds correct.

        7            Q.   All right.      And to your knowledge, did

        8     Ms. Griffin have any supervisory responsibility for

        9     LTC?

       10            A.   Not as far as I can recall.

       11            Q.   All right.      And had you also ever heard

       12     Ms. McGee referred to as head of claims?

       13            A.   I can't say that I recall that, no.

       14            Q.   All right.      And did Ms. McGee, to your

       15     knowledge, report to Mr. Jack McGarry?

       16            A.   At one point, she did.         I can't say if

       17     that were the case in 2015 or 2016.

       18            Q.   All right.      About the time you were

       19     starting in claims, in 2006, were you aware that

       20     Mr. McGarry took on the role of CEO of the closed

       21     block?

       22            A.   I know that Mr. McGarry had that title at

       23     one point, but I don't recall when.

       24            Q.   Okay.    Do you recall that Mr. McGarry had



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 22 12-7-2018-000021
                                                                of 316 PageID #:
                                    7137
                                                                              22


        1     that title through much of your tenure in claims?

        2          A.     As far as I can recall, that sounds

        3     correct.

        4          Q.     All right.      Did you ever have management

        5     meetings where Ms. McGee would be present?

        6          A.     Yes.

        7          Q.     And were those a regular, periodic

        8     scheduled meeting?

        9          A.     I don't think there was any regularity in

       10     terms of every month or every quarter, but it's

       11     certainly accurate to say that there were meetings

       12     that involved Ms. McGee periodically during my

       13     tenure in claims.

       14          Q.     All right.      Could you estimate on average

       15     how many times a year you might attend a meeting

       16     either in person or virtually where Ms. McGee would

       17     be present?

       18          A.     I'm not --

       19                 MS. ZHORDANIA:       Vague as to time.

       20          A.     I'm not sure that I can give an accurate

       21     recollection of that, no.

       22          Q.     All right.      Would it be accurate to say it

       23     would be more than one time a year?            It would be

       24     multiple times?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 23 12-7-2018-000022
                                                                of 316 PageID #:
                                    7138
                                                                              23


        1                 MS. ZHORDANIA:       To the extent it calls for

        2     speculation.

        3                 Go ahead.

        4          A.     I think that's reasonable to say, yes.

        5          Q.     All right.      And would there ever be times

        6     where you would be present with claims management

        7     where Mr. McGarry would be in attendance, either in

        8     person or virtually?

        9          A.     Occasionally, yes.

       10          Q.     Somewhat less frequently than in meetings

       11     with Ms. McGee though?

       12          A.     I think that's accurate.

       13          Q.     Going back to your time and your experience

       14     in underwriting from 1986 to 2006, did you learn

       15     that at some point during that span, let's say from

       16     the 1986 time frame up into the 1990s, that

       17     underwriting of IDI own occupation policies became

       18     somewhat more stringent?

       19          A.     I think that's accurate.

       20          Q.     And we talked at the beginning about Paul

       21     Revere stopping selling that product, which you said

       22     you recall, but you didn't recall when, I believe.

       23     Am I remembering that correctly?

       24          A.     Yes.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 24 12-7-2018-000023
                                                                of 316 PageID #:
                                    7139
                                                                              24


        1          Q.     Okay.    And did you understand that they

        2     stopped offering that product because it turned out

        3     to not be financially successful?

        4                 MS. ZHORDANIA:       Foundation.

        5          A.     My recollection is that it was determined

        6     that the company chose not to offer that product any

        7     more because the product had proven to be less

        8     financially successful than originally forecast.

        9          Q.     Okay.    Did you know from your work

       10     beginning in the mid 1980s, that the disability

       11     insurance market in the 1980s had become very

       12     competitive?

       13                 MS. ZHORDANIA:       Foundation.

       14          A.     I don't have a frame of reference prior to

       15     my tenure, beginning in 1986, but I would say it's

       16     accurate that during the '80s and part of the '90s

       17     that it was a competitive industry.

       18          Q.     All right.      There were more companies

       19     offering own occupation disability products than you

       20     would find today in the market, for example; is that

       21     true?

       22          A.     I think so, yes.

       23          Q.     All right.      And with the competition, the

       24     individual disability own occupation products became



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 25 12-7-2018-000024
                                                                of 316 PageID #:
                                    7140
                                                                              25


        1     more liberal in their offerings, would you agree

        2     with that?

        3                  MS. ZHORDANIA:      Vague.

        4          A.      There was a period of time, again, sometime

        5     in between the mid '80s and the mid '90s where I

        6     would say that is correct.

        7          Q.      All right.     And by more liberal, some of

        8     the changes that were happening is, for example,

        9     income replacement ratios increased; correct?

       10          A.      Yes.

       11          Q.      The benefit periods that were offered

       12     increased over what they had been; is that correct?

       13          A.      I don't think I would agree with that, no.

       14          Q.      All right.     Were there more offerings of

       15     lifetime benefits than had been the case in the past,

       16     to your knowledge?

       17          A.      Again, I would say that the offering of

       18     lifetime benefits during my tenure, I don't recall

       19     changing a lot.      Again, we're talking 30 years ago;

       20     so, it's hard to recall that, and again, I don't

       21     have the frame of reference prior to 1986 to

       22     compare.

       23          Q.      All right.     Did you come to learn, however,

       24     in your work in underwriting that the lifetime



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 26 12-7-2018-000025
                                                                of 316 PageID #:
                                    7141
                                                                              26


        1     benefit option was not as readily available, say, in

        2     the years before you began in the business?

        3                 MS. ZHORDANIA:       Foundation.      Calls for

        4     speculation.

        5          A.     I don't recall.

        6          Q.     Do you recall that it was later determined

        7     that the policies were actually not -- they were

        8     underpriced?

        9                 MS. ZHORDANIA:       Foundation.

       10          A.     Again, similar to the own occupation

       11     benefit, it was a situation where Paul Revere and

       12     other companies, to the best of my knowledge,

       13     determined that those provisions were not performing

       14     to the extent that the companies had forecast that

       15     they would.

       16          Q.     All right.      One of the characteristics of

       17     the policies, they were considered noncancellable,

       18     guaranteed renewable; correct?

       19          A.     Some of the policies, yes.

       20          Q.     All right.      Which meant premiums could not

       21     be increased over the life of the policy?

       22          A.     Yes.

       23          Q.     All right.      So -- and another thing that

       24     happened is the claims experience on the policies



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 27 12-7-2018-000026
                                                                of 316 PageID #:
                                    7142
                                                                              27


        1     was greater than had originally been forecasted?

        2                 MS. ZHORDANIA:       Vague as to time.

        3          A.     I think it's fair to say that in some

        4     cases for some claims, the experience was not as

        5     good as had been forecast.

        6          Q.     I'm not sure what you mean by in some

        7     cases for some claims.        Could you explain that.

        8          A.     Well, your question was fairly broad, and

        9     I guess I'm trying to make the distinction that I'm

       10     not saying all policies and all benefit provisions

       11     did not perform up to the expectations that had been

       12     forecast, but some of the policies and some of the

       13     provisions would fall into that category.

       14          Q.     All right.      I see the need for

       15     clarification.

       16                 You're familiar with what became known as

       17     the closed block; correct?

       18          A.     Yes.

       19          Q.     And how would you define in terms

       20     of -- putting aside long-term care, what comprised

       21     the closed block?

       22          A.     I would say that it was a block or group

       23     of claims and policies that were no longer offered

       24     by the company.      To the best of my recollection,



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 28 12-7-2018-000027
                                                                of 316 PageID #:
                                    7143
                                                                              28


        1     there was no exact cut-off of time, but there was a

        2     group of policies and a group of claims that, again,

        3     the company no longer sold and were different than

        4     the types of policies that the company was then

        5     selling.    So that group or block of claims became

        6     known as the closed block in the sense that it was

        7     closed to new sales, and there was a distinction

        8     made between the closed block and more recently

        9     issued business.

       10          Q.     All right.      The closed block of policies

       11     and claims was comprised of policies that had been

       12     issued by several companies; is that correct?

       13          A.     Several companies that had a relationship

       14     to Unum or predecessor companies, yes.

       15          Q.     All right.      So, for example, there was

       16     Paul Revere policies in that block, Provident

       17     policies in that block, Unum policies in that block;

       18     correct?

       19          A.     Yes.

       20          Q.     And then there were policies of companies

       21     that Unum had somehow taken on the responsibility

       22     for handling the claim for; correct?

       23                 I don't think I artfully worded that, but.

       24          A.     Yes, I would say that there were companies



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 29 12-7-2018-000028
                                                                of 316 PageID #:
                                    7144
                                                                              29


        1     that over a period of time decided that they did not

        2     want to be in the individual disability business any

        3     longer, and so arrangements were made for Unum and

        4     predecessor companies to take over that business and

        5     be responsible for the policy administration and

        6     claims administration for those policies.

        7          Q.     All right.      And this change in the

        8     disability income insurance market had a relationship

        9     to this competitive nature and the financial outcome,

       10     as you were talking about, not being what had been

       11     forecast; is that your understanding?

       12                 MS. ZHORDANIA:       Compound.     Vague.

       13          A.     Could you repeat that, please.

       14          Q.     Yeah.    So companies -- for example, Paul

       15     Revere took over the IDI claims for General American

       16     Life Insurance Company.         Are you aware of that?

       17          A.     Yes.

       18          Q.     All right.      And General American was

       19     interested in having someone - it turned out to be

       20     Paul Revere - take over its IDI claims because

       21     General American was having financial problems with

       22     that block of business.         Are you aware of that?

       23                 MS. ZHORDANIA:       Foundation.      Calls for

       24     speculation.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 30 12-7-2018-000029
                                                                of 316 PageID #:
                                    7145
                                                                              30


        1          A.     I'm aware that Paul Revere took over the

        2     block of General American claims, whether that was

        3     due to financial problems that General American had

        4     or simply a corporate decision by General American

        5     to no longer be in that business, I'm not sure.

        6          Q.     All right.      In any event, General American

        7     elected to exit that business, and Paul Revere took

        8     over the handling of their IDI claims; correct?

        9          A.     Yes.

       10          Q.     The same was true for Equitable; correct?

       11          A.     Yes.

       12          Q.     And I believe that Unum was handling

       13     New York Life claims?

       14          A.     At least some of them, yes.

       15          Q.     And there were other companies as well?

       16          A.     Yes.

       17          Q.     So you might find these companies that had

       18     originally issued the paper or the products as part

       19     of the closed block of claims?

       20          A.     Yes.

       21          Q.     The common characteristics of those policies

       22     even though they are from different companies

       23     comprising the closed block -- first of all, is it

       24     true that they were all own occupation disability



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 31 12-7-2018-000030
                                                                of 316 PageID #:
                                    7146
                                                                              31


        1     policies?

        2          A.      I don't believe that's true, no.

        3          Q.      All right.     Tell me how that is incorrect.

        4          A.      To the best of my recollection, the closed

        5     block encompassed, you know, policies that had been

        6     issued from some period of time back.             I think it's

        7     fair to say that some of those policies contained an

        8     own occupation benefit, and I believe some of them

        9     did not.

       10          Q.      Do you believe it would be accurate to say

       11     that the majority contained an own occupation

       12     definition of disability?

       13                  MS. ZHORDANIA:      Foundation.      Calls for

       14     speculation.

       15          A.      I don't know.

       16          Q.      Were a majority of the policies the

       17     noncancellable guaranteed renewable variety?

       18          A.      I think that's likely to have been the

       19     case, yes.

       20          Q.      And, again, meaning premiums could not be

       21     raised on those policies; correct?

       22          A.      Correct.

       23          Q.      In the -- getting later into the 1980s,

       24     and into the 1990s, did you become aware that Paul



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 32 12-7-2018-000031
                                                                of 316 PageID #:
                                    7147
                                                                              32


        1     Revere and Provident were looking at whether the

        2     Claims Department could help lessen some of the

        3     financial losses?

        4                 MS. ZHORDANIA:       Vague.    Foundation.

        5          A.     I'm not sure that I recall that.

        6          Q.     All right.      Do you recall Provident

        7     announcing that it was moving from a claim payment

        8     to a claim management approach?

        9          A.     No.

       10                 MS. ZHORDANIA:       Foundation.

       11          Q.     Were you aware that Paul Revere was

       12     applying stronger claim management techniques to

       13     these claims?

       14                 MS. ZHORDANIA:       Foundation.

       15          A.     During -- I just want to make sure I

       16     understand what time frame you're talking about.

       17          Q.     Fair enough.

       18                 Somehow I'm missing a folder.           I'll come

       19     back to this subject.        I might have to run up over a

       20     break and get a file.

       21                 Were you familiar with Steve Rutledge at

       22     Paul Revere?

       23          A.     I knew Steve, yes.

       24          Q.     Okay.    Did he work in the Claims or Benefits



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 33 12-7-2018-000032
                                                                of 316 PageID #:
                                    7148
                                                                              33


        1     Operation section at the time you were in

        2     underwriting?

        3          A.     At least for part of the time, yes.

        4          Q.     When you moved -- transferred over to

        5     claims, was Mr. Rutledge still with the company?

        6          A.     I don't know.

        7          Q.     Okay.    Were you familiar with an article

        8     that Mr. Rutledge had written for The International

        9     Claims Association in 1995 entitled "You Really

       10     Should Listen to your Claim Department"?

       11          A.     No.

       12          Q.     Mr. Rutledge used a, I guess, a sentence

       13     in this article I'm wondering if you ever heard

       14     mention, which was "The claim department didn't

       15     cause the mudslide and probably could not have

       16     prevented it, but in many cases, the claim

       17     department has been asked to clean up the mess."

       18                 Did you ever hear a reference to that?

       19          A.     No.

       20          Q.     Did you come to learn that more resources

       21     were being put into the Claims Department to better

       22     manage the IDI claims?

       23                 MS. ZHORDANIA:       Vague.    Foundation.

       24          A.     I was aware that more resources were being



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 34 12-7-2018-000033
                                                                of 316 PageID #:
                                    7149
                                                                              34


        1     added to the Claims Department, but since I was not

        2     in the Claims Department for part of that time, I am

        3     not sure as to the reasons why.

        4          Q.     Okay.    In terms of the increased resources,

        5     it included, for example, increased medical

        6     resources; correct?

        7          A.     I don't know.

        8          Q.     Are you aware of any of the increased

        9     resources that the claims operation began adding in

       10     the -- in terms of time reference more like in the

       11     mid 1990s and on?

       12          A.     Other than a vague recollection that there

       13     was hiring under way in that organization, I can't

       14     be more specific as to what types of positions, and,

       15     again, that predated my tenure in the claims

       16     organization.

       17          Q.     I'm going to ask you about some terms

       18     because I see what seems to me different words

       19     referencing same meaning at different times, but

       20     that's what I want to ask you.

       21                 If there -- if somebody's on claim and is

       22     receiving payment, and if those -- the company

       23     decides that the insured is no longer entitled to

       24     benefits, they no longer meet the definition of



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 35 12-7-2018-000034
                                                                of 316 PageID #:
                                    7150
                                                                              35


        1     disability, would it be accurate -- would you

        2     understand what one would mean to say that person's

        3     claim has been terminated?

        4                 MS. ZHORDANIA:       Vague.

        5          A.     That was not a term or a phrase that I was

        6     particularly familiar with, but I understand what I

        7     think was -- could be meant by that.

        8          Q.     All right.      And terminated would be as

        9     distinguished from somebody who's submitting a

       10     claim, it's considered, and the claim is denied.

       11     It's not accepted.       Would you understand that it's a

       12     denial and a termination?

       13          A.     It sounds as though you're making a

       14     distinction between a situation where a claimant

       15     received benefits for a period of time as compared

       16     to a situation where a claim was submitted, a review

       17     was completed, and it was determined that the

       18     claimant did not qualify for benefits under the

       19     terms of the policy.

       20          Q.     Correct.     And you recognize the

       21     distinction between a denial and a termination?

       22          A.     If what I've just articulated is what

       23     you're asking, then, yes.

       24          Q.     All right.      Are you familiar at one point



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 36 12-7-2018-000035
                                                                of 316 PageID #:
                                    7151
                                                                              36


        1     in the 1990s resolutions came to be sort of

        2     synonymous with terminations?

        3                 MS. ZHORDANIA:       Calls for speculation.

        4           A.    Again, that was before my tenure in

        5     claims; so, I'm really not familiar with what

        6     particular terms meant --

        7           Q.    All right.

        8           A.    -- at a time when I wasn't part of the

        9     organization.

       10           Q.    When you were a part of the organization

       11     of claims or once you were a part of the organization

       12     of claims, there was a term "recoveries" being used;

       13     is that correct?

       14           A.    Yes.

       15           Q.    And they sometimes reference unpaid

       16     recoveries and paid recoveries; correct?

       17           A.    Yes.

       18           Q.    And what would unpaid and paid recoveries

       19     be?

       20                 MS. ZHORDANIA:       I just want to put an

       21     objection on the record on behalf of the defendants

       22     that this line of questioning is inappropriate of a

       23     former employee whose testimony will not be admissible

       24     against -- whose testimony will not be binding on



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 37 12-7-2018-000036
                                                                of 316 PageID #:
                                    7152
                                                                               37


        1     Unum Group, because he's not here testifying as a

        2     Rule 30(b)(6) witness.        So I just wanted to be put

        3     counsel on notice that we would be moving to exclude

        4     anything that has to do with Unum's general practices,

        5     and I also believe that the line of questioning that

        6     we've had is not relevant to the issues in the case,

        7     with respect to this particular witness.             So I just

        8     wanted that on the record.

        9                 Go ahead.

       10          A.     Could you please repeat the question.

       11          Q.     Yeah.    Could you explain what unpaid

       12     recoveries and paid recoveries refers to.

       13          A.     Sure.    To the best of my recollection, a

       14     paid recovery represented a situation where a claim

       15     had been paid, benefits had been paid for a period

       16     of time under the terms of the policy, and it was

       17     determined at some point that the claimant no longer

       18     qualified for benefits, for whatever reason.              When

       19     that claim was closed, that was known as a paid

       20     recovery.

       21                 An unpaid recovery was a situation where

       22     a claim was submitted, and no benefits were paid

       23     because it was determined that the insured did not

       24     qualify for benefits under the terms of the policy,



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 38 12-7-2018-000037
                                                                of 316 PageID #:
                                    7153
                                                                               38


        1     and when that claim was closed, that would have been

        2     referred to as an unpaid recovery.

        3          Q.      And let's go back to the first one, paid

        4     recovery.     Under that definition or explanation that

        5     you gave, if a claim was closed and benefits were no

        6     longer paid, the reserve that had been held on that

        7     claim would be released or recovered; is that

        8     correct?

        9                  MS. ZHORDANIA:      Foundation.

       10          A.      I believe that's correct, yes.

       11          Q.      All right.     In your experience for roughly

       12     10 years in claims, would you agree that there are

       13     some claims by their nature that occupy more of a

       14     gray area?

       15                  MS. ZHORDANIA:      Vague.

       16          A.      I would say that, you know, there was

       17     a variety of levels of complexity of particular

       18     claims depending on all of the circumstances.               So

       19     some were more clear cut than others, so, therefore,

       20     some were more gray than others.

       21          Q.      All right.     Claims that were more

       22     subjective in nature, for example, psychiatric,

       23     mental, nervous claims, would you agree that they

       24     would tend to be -- occupy that gray area more often



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 39 12-7-2018-000038
                                                                of 316 PageID #:
                                    7154
                                                                               39


        1     than not?

        2                 MS. ZHORDANIA:       Incomplete hypothetical.

        3     Calls for speculation.        Foundation.

        4          A.     I am not sure I would agree with that.

        5          Q.     Okay.    Did you know Mr. Kinback?

        6          A.     I knew two Mr. Kinbacks.          Could you

        7     specify which one.

        8          Q.     I could if I recalled his first name.

        9     Chris Kinback?

       10          A.     Yes.    I knew who he was, yes.

       11          Q.     All right.      He was at Paul Revere and was

       12     with the company after Provident and Paul Revere

       13     became one?

       14          A.     I know he was with Paul Revere.            When he

       15     left and what the company was called at that time, I

       16     don't recall.

       17          Q.     Okay.    Did you have any familiarity with a

       18     memo that Mr. Kinback had written about psychiatric

       19     claims occupying a gray area?

       20          A.     No.

       21          Q.     Okay.    Another type of what might be

       22     considered subjective claim would be claims of

       23     disability based upon pain.          Would you agree with

       24     that?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 40 12-7-2018-000039
                                                                of 316 PageID #:
                                    7155
                                                                              40


        1          A.     You know, the term "subjective" is not

        2     something that we typically used in the company, but

        3     if you're speaking to the generic dictionary

        4     definition of subjective, I would say that in some

        5     cases, claims involving pain could be considered

        6     more subjective than some other claims.

        7          Q.     All right.      And I assume we're talking

        8     about the same thing, but what I'm referring to is

        9     complaints of pain, for example, are not readily

       10     demonstrable by imaging studies, for example;

       11     correct?

       12          A.     That's correct.

       13          Q.     Just as a psychiatric claim.           I mean

       14     someone claiming disabling depression you're not

       15     going to get a clear definitive picture of that,

       16     most likely?

       17                 MS. ZHORDANIA:       Objection.     Argumentative.

       18     Calls for expert opinion.

       19                 Go ahead.

       20          A.     I would say that there's no definitive

       21     test in the sense of an X-ray or imaging studies in

       22     the case of a depression claim, no.

       23          Q.     It was recognized in the Benefits

       24     Operation



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 41 12-7-2018-000040
                                                                of 316 PageID #:
                                    7156
                                                                              41


        1     that these types of claims offered a maybe a greater

        2     chance for resolution of some type; is that correct?

        3                 MS. ZHORDANIA:       Vague.    And vague to time

        4     as well.

        5          A.     When you say "these types of claims" could

        6     you clarify.

        7          Q.     Yes, I'm talking about these subjective

        8     natured claims, the examples of pain, psychiatric

        9     claims?

       10          A.     And I'm sorry.       Could you repeat what

       11     about those questions -- claims is your question.

       12          Q.     Yes.    Yes.    It was recognized in the

       13     claims operation that those types of claims offered

       14     an opportunity to recognize a greater chance for a

       15     resolution.

       16                 MS. ZHORDANIA:       Objection.     Vague.

       17     Foundation.

       18          A.     I don't agree with that.

       19          Q.     By the time you had switched over to the

       20     claim operation, did you learn that the company was

       21     doing projections concerning the future number of

       22     recoveries that they might expect?

       23                 MS. ZHORDANIA:       Vague as to time.

       24          A.     At the time I joined the claims



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 42 12-7-2018-000041
                                                                of 316 PageID #:
                                    7157
                                                                              42


        1     organization, I was aware that there was an

        2     analysis done of historical claim recovery rates or

        3     percentages, and as is the case with many businesses,

        4     that was a metric that was used to help forecast

        5     what the likelihood of future claim recoveries would

        6     be.

        7           Q.    What is your understanding as to when this

        8     analysis had been done?

        9           A.    I don't have an understanding of when it

       10     was done other than to say I thought it was an

       11     ongoing analysis done by our finance and actuarial

       12     teams, you know, again, on an ongoing basis.

       13           Q.    All right.      Do you know at what point the

       14     company began projecting how many recoveries they

       15     expected they would have in the future?

       16           A.    No.

       17           Q.    You just know that was happening by the

       18     time you began in the Claims Department; correct?

       19           A.    Yes.

       20           Q.    By the time you began in the Claims

       21     Department, the company would have certain targets

       22     and goals for claim recoveries or claim closures;

       23     correct?

       24                 MS. ZHORDANIA:       Foundation.      Argumentative.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 43 12-7-2018-000042
                                                                of 316 PageID #:
                                    7158
                                                                              43


        1                 Go ahead.

        2          A.     I would not describe them as either

        3     targets or goals.       I would say that, again, based

        4     on the historical performance of a large block of

        5     claims, there was forecasting that was done to model

        6     or predict the likely rate or percentage of claims

        7     that would recover.

        8          Q.     All right.      The forecasting that was done,

        9     it would be accurate to say that the number of

       10     claims forecasted to be closed or recovered would

       11     become an expectation; is that true?

       12          A.     I would say that that was one metric,

       13     among others, that was used as a way to assess the

       14     performance of a given block of claims in comparison

       15     to what the historical performance would predict for

       16     the future.

       17          Q.     All right.      I'm not sure your answer

       18     matches up to my question.         Let me try another

       19     question.

       20                 The company would keep track of the actual

       21     performance of the block of claims relative to the

       22     expected performance; correct?

       23          A.     Yes.

       24          Q.     And at least in that regard, the number of



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 44 12-7-2018-000043
                                                                of 316 PageID #:
                                    7159
                                                                              44


        1     claims forecasted for recovery was the expected

        2     number?

        3                 MS. ZHORDANIA:       Misstates prior testimony.

        4                 Go ahead.

        5          A.     I wouldn't term it an expectation.            Again,

        6     I would term it as one metric that was used to

        7     evaluate the block of claims against historical

        8     performance.

        9          Q.     Regardless of whether there's one metric

       10     or many, many, many, many metrics, I'm not really

       11     asking you about that, and I'm not really certain of

       12     what your response is right now.

       13                 Is it -- was it the case or not that Unum,

       14     through its forecasting, would set out a number of

       15     recoveries that were expected?

       16                 MS. ZHORDANIA:       Asked and answered.

       17          A.     Again, I think what I'm a little bit hung

       18     up on is the term "expected."

       19                 So, again, as is the case with many

       20     businesses based on historical performance, there

       21     are certain metrics that are used to predict how the

       22     business will perform in the future, and over the

       23     course of time, there's an evaluation done that

       24     compares how the business is performing currently to



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 45 12-7-2018-000044
                                                                of 316 PageID #:
                                    7160
                                                                              45


        1     what those historical expectations are.

        2          Q.     All right.      You talked about this was one

        3     metric used to -- I forget your exact words, but to

        4     gauge or measure how the block of business was

        5     performing; is that generally correct?

        6          A.     Yes.

        7          Q.     Is it also accurate that that same metric

        8     was used to measure how the individuals in the claim

        9     operation were performing?

       10                 MS. ZHORDANIA:       Object to the word

       11     "individuals in the claim" as overbroad and vague.

       12          Q.     Let me restate it.        It was a bit broad.

       13                 Would it be accurate that that same metric

       14     was used to measure the performance, say, of DBSs

       15     and Directors?

       16                 MS. ZHORDANIA:       Compound.

       17          A.     It was accurate to say that that metric,

       18     and we're talking about the recovery, the claim

       19     recovery metric was one of several metrics, along

       20     with various quality and service metrics, that were

       21     used to evaluate the performance of Directors.

       22                 It would not be accurate to say that the

       23     claim recovery metrics were used to evaluate the

       24     performance of DBSs.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 46 12-7-2018-000045
                                                                of 316 PageID #:
                                    7161
                                                                              46


        1          Q.     Okay.    So just to simplify then, it would

        2     be accurate to say that the recovery expectation

        3     would be one metric that was used to measure the

        4     performance of -- performance evaluation of Directors;

        5     correct?

        6                 MS. ZHORDANIA:       Asked and answered.

        7          A.     Again, that was one metric, along with

        8     quality and service metrics, that were used to

        9     evaluate the performance of claim Directors.

       10          Q.     Okay.    And in looking at that metric, what

       11     would be -- what would be compared, again, would be

       12     the actual recovery results versus the planned

       13     recovery results; correct?

       14          A.     Yes.

       15          Q.     All right.      Let me jump back to something

       16     I asked before about what comprised the closed block

       17     in terms of types of policies, and you said they

       18     were not all own occupation defined disability

       19     policies.     There were some that were also considered

       20     to be a modified own occupation definition; correct?

       21          A.     I believe so.

       22          Q.     And were there additional disability

       23     policies comprising the closed block that were

       24     anything other than own occupation or modified own



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 47 12-7-2018-000046
                                                                of 316 PageID #:
                                    7162
                                                                              47


        1     occupation?

        2          A.     I believe so, yes.

        3                 MS. ZHORDANIA:       Calls for speculation.

        4          Q.     So were there policies comprising the

        5     closed block that would be considered any occupation

        6     definitions?

        7          A.     I believe so.

        8          Q.     Do you have any idea what percentage any

        9     occupation definition policies would make up of the

       10     closed block?

       11                 MS. ZHORDANIA:       Calls for speculation.

       12          A.     I do not.

       13          Q.     Do you know that it would be a minority of

       14     the policies?

       15          A.     I'm not sure.

       16          Q.     Well, in the claims that you oversaw --

       17     well, let me back up.

       18                 The Directors that you were supervising,

       19     were they managing claims in the closed block?

       20          A.     In part, yes.

       21          Q.     And they're managing claims in addition to

       22     claims in the closed block?

       23          A.     Yes.

       24          Q.     The claims -- and what was the mix between



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 48 12-7-2018-000047
                                                                of 316 PageID #:
                                    7163
                                                                              48


        1     closed block versus not closed block?

        2                  MS. ZHORDANIA:      Calls for speculation.

        3     Foundation.

        4          A.      I don't know.

        5          Q.      And I'm not looking for something precise,

        6     but I assume you have a general idea of what your

        7     inventory was.

        8                  MS. ZHORDANIA:      Argumentative.      Asked and

        9     answered.

       10          A.      There was a mix of claims between the

       11     closed block and what was called the recently issued

       12     block, but I really can't recall a percentage or

       13     range that would be more specific.

       14          Q.      As an AVP, you were responsible for

       15     assessing your Directors' inventory management, the

       16     management of their claims inventory; is that

       17     correct?

       18          A.      Yes.

       19          Q.      And you talk about metrics.          Is it correct

       20     that operational metrics would be used for that

       21     purpose --

       22                  MS. ZHORDANIA:      Vague.

       23          Q.      -- maybe among other things, but?

       24          A.      Yes.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 49 12-7-2018-000048
                                                                of 316 PageID #:
                                    7164
                                                                              49


        1            Q.    Okay.    And operational metrics would

        2     include the measure of actual recoveries to the

        3     plan; correct?

        4            A.    That was one of many operational metrics

        5     that I would use to assess the performance of

        6     Directors.

        7            Q.    And this operational metric related to how

        8     a given Director was doing in relation to their

        9     recovery expectations; correct?

       10            A.    Could you repeat that, please.

       11            Q.    Yes.    This particular operational metric

       12     related to how a given Director was doing in

       13     relation to his or her recovery expectations?

       14            A.    Yes.

       15            Q.    Now, in order to do that, you, of course,

       16     needed to be aware of what the plan was in order to

       17     measure what actually was happening against, fair to

       18     say?

       19            A.    Yes.

       20            Q.    And you would learn that -- well, there

       21     would be an overall corporate business plan that

       22     would come out on an annual basis; correct?

       23                  MS. ZHORDANIA:      Foundation.

       24            A.    Can you be more specific when you say -- I



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 50 12-7-2018-000049
                                                                of 316 PageID #:
                                    7165
                                                                              50


        1     mean there were certainly corporate business plans,

        2     but I'm not sure I understand as it relates to this

        3     what you're asking.

        4            Q.   Okay.    By way of example --

        5                 MR. DAWSON:      Can we mark that as one.

        6                 MS. ZHORDANIA:       All right.     I'm just going

        7     to ask that the deposition be designated as

        8     confidential since I'm looking at this.             It looks

        9     like a confidential document or I don't know if it

       10     is.

       11                 MR. DAWSON:      That's fine.      It's --

       12                 MS. ZHORDANIA:       We'll just designate --

       13                 MR. DAWSON:      -- not, but we can sort that

       14     out.

       15                 MS. ZHORDANIA:       Yeah, let's just designate

       16     the deposition as confidential, and then we can give

       17     you more specific designations after we receive the

       18     transcript.

       19                 (Document was marked Exhibit No. 1 for

       20     identification.)

       21            Q.   Exhibit 1 is -- well, first of all,

       22     there's a Bates -- two Bates numbers on it.              The

       23     first one is August 3730.         Do you see that, the

       24     bottom right corner?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 51 12-7-2018-000050
                                                                of 316 PageID #:
                                    7166
                                                                              51


        1          A.      Yes.

        2          Q.      Okay.   And it indicates, "UnumProvident

        3     Manager Toolkit, 2005 Business Plan and BBS

        4     Communications," under that, "The Benefits Center";

        5     correct?

        6          A.      Yes.

        7          Q.      All right.     Now, 2005 predated your

        8     joining -- becoming AVP of Claims by approximately a

        9     year, if I understand the timeline correctly; right?

       10          A.      Yes.

       11          Q.      Did you ever have familiarity with

       12     something called a Manager Toolkit?

       13          A.      I have familiarity with that term, yes.

       14          Q.      Okay.   On August 3731 which is the next

       15     page, you'll see a communication timeline.              Have you

       16     got that in front of you?

       17          A.      Yes.

       18          Q.      All right.     And the far left column at

       19     the top shows "Corporate Communication," and under

       20     the description, it indicates the "Communication of

       21     final Corporate and US Brokerage Scorecard goals and

       22     measures."

       23                  Do you see that?

       24          A.      Yes.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 52 12-7-2018-000051
                                                                of 316 PageID #:
                                    7167
                                                                              52


        1          Q.     And were you familiar with the -- that it

        2     would happen, I guess, is how I'll put it, that

        3     essentially every year there would be a communication

        4     of corporate scorecard goals and measures?

        5                 MS. ZHORDANIA:       Objection.     Vague.

        6     Foundation.

        7          A.     I don't recall seeing this document or

        8     even documents similar to it at a later time than

        9     2005, but I would say it's accurate to say that the

       10     company established certain goals or objectives for

       11     the company relative to, let's say, sales growth and

       12     premium, and I'm sure others, and that those were

       13     communicated in some way to employees.

       14          Q.     All right.      And according to Exhibit 1,

       15     under the "Time Frame" this would be done, this

       16     indicates "Post-Board Meeting."           Is what you're

       17     describing would those communications come out after

       18     the board had met about it?

       19                 MS. ZHORDANIA:       Objection.     Argumentative.

       20     Foundation.

       21                 The witness just said he hasn't seen this

       22     document since 2005 or something to that effect; so,

       23     I would object to this line of questioning.

       24                 Go ahead.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 53 12-7-2018-000052
                                                                of 316 PageID #:
                                    7168
                                                                              53


        1          A.     So, again, my recollection is that when

        2     the Board of Directors for the company would meet,

        3     I -- you know, they would meet, I believe, several

        4     times a year.      At some point either at the end of a

        5     given year or the beginning of a subsequent year,

        6     one of the outcomes of that board meeting would be,

        7     you know, goals and objectives for the company to

        8     hopefully accomplish during the coming year.

        9          Q.     All right.      And you mentioned that

       10     they -- and, again, I'm paraphrasing.             I'm not

       11     quoting.    You understood the company would come out

       12     with business plans for I forget the examples you

       13     gave, in sales and things of that nature; correct?

       14                 MS. ZHORDANIA:       Vague.

       15          A.     Yes.

       16          Q.     All right.      They would do -- have similar

       17     business plan for the Benefits Operation --

       18                 MS. ZHORDANIA:       Foundation.

       19          Q.     -- correct?

       20          A.     My recollection is that there would be

       21     corporate goals or objectives, and then in addition

       22     to that, there would be goals and objectives for the

       23     major functional areas in the company:             underwriting,

       24     claims, sales, and so forth that those respective



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 54 12-7-2018-000053
                                                                of 316 PageID #:
                                    7169
                                                                              54


        1     areas would strive to achieve over the coming year.

        2          Q.     All right.      And the goals and objectives

        3     for claims or the benefit operation would obviously

        4     as an AVP of Claims be communicated to you; correct?

        5          A.     I believe that's accurate, yes.

        6          Q.     All right.      And then also each month your

        7     mention your manager, Ms. Griffin, that you reported

        8     to, would give you the goal for the next month's

        9     operation results for your section; correct?

       10          A.     Some of the objectives or expectations

       11     would be provided by Ms. Griffin.           Others would be

       12     accessible to me in other ways.

       13          Q.     Okay.    Ms. Griffin would provide you

       14     with -- the goals and expectations that she would

       15     provide you with were set forth in what was referred

       16     to as a recovery plan; is that correct?

       17          A.     I believe so, yes.

       18          Q.     All right.      And the recovery plan is as

       19     its name denotes would be the plan for the

       20     recoveries for that upcoming month; correct?

       21                 MS. ZHORDANIA:       Misstates prior testimony.

       22          A.     The information that Ms. Griffin would

       23     provide would identify, based on historical

       24     performance of the block of claims under management,



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 55 12-7-2018-000054
                                                                of 316 PageID #:
                                    7170
                                                                              55


        1     what the likely expectations were for the coming

        2     month for that block of claims.

        3          Q.     And including and specifically relative to

        4     recoveries for that coming month; correct?

        5          A.     Yes.

        6          Q.     And you then would, in turn, communicate

        7     to your Directors what the expectations were for

        8     recoveries for their teams for that coming month;

        9     correct?

       10          A.     Yes.

       11          Q.     Would you have any separate meeting or

       12     discussion with the QCC who reported to you relative

       13     to the recovery plan for the month?

       14          A.     Separate from what?

       15          Q.     Separate from the Directors?

       16          A.     I'm not sure.       Typically, to the best of

       17     my recollection, I would communicate the information

       18     just to the Directors.        I definitely recall that.          I

       19     don't really recall communicating it to the QCC,

       20     because he or she were not managing a block of

       21     claims.    They were serving in a different function.

       22          Q.     In terms of where Ms. Griffin received the

       23     information in the recovery plan, she would get

       24     that, from your understanding, for each month from



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 56 12-7-2018-000055
                                                                of 316 PageID #:
                                    7171
                                                                              56


        1     the finance organization; correct?

        2                 MS. ZHORDANIA:       Calls for speculation.

        3     Foundation.

        4          A.     I'm not sure exactly where she would get

        5     it from, but I -- to the best of my recollection, it

        6     was from finance or actuarial or something along

        7     those lines.

        8          Q.     Did you understand that the monthly recovery

        9     plan that Ms. Griffin would you give to was a

       10     derivative of the company-wide business plan?

       11                 MS. ZHORDANIA:       Assumes facts not in

       12     evidence.     Foundation.

       13          A.     I'm not sure I would say it was derivative

       14     of the company business plan.          I would say it was

       15     something that was given to me.           What it might have

       16     been part of, I'm not sure.

       17          Q.     I believe you said that you would -- you

       18     would have access to, you'd be provided with the

       19     annual business plan for the Benefits Operation;

       20     correct?

       21                 MS. ZHORDANIA:       Objection.     Misstates

       22     prior testimony.

       23          A.     I think I said I would be aware of or it

       24     would be communicated to me what the main objectives



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 57 12-7-2018-000056
                                                                of 316 PageID #:
                                    7172
                                                                              57


        1     and goals of the benefits organization were for the

        2     given year.

        3          Q.      All right.     And the business plan for the

        4     Benefits Operation for the year would include, among

        5     I'm sure many other things, a plan regarding

        6     recoveries; correct?

        7                  MS. ZHORDANIA:      Asked and answered.

        8          A.      That was not something that I was provided

        9     with.     So when I stated that I had knowledge of or

       10     had been provided with the plan, business plan for

       11     the year for the benefits organization, typically, I

       12     don't recall recovery expectations being part of

       13     that business plan.

       14          Q.      The recovery plan that you were given by

       15     Ms. Griffin every month, the expectations in that

       16     plan would be given in the form of two numbers;

       17     correct?

       18          A.      Yes.

       19          Q.      One, a count -- a total count of the claims

       20     that were expected to recover for that month?

       21          A.      Yes.

       22          Q.      And the second was a dollar amount

       23     representing what the release of reserve on a given

       24     claim would be; correct?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 58 12-7-2018-000057
                                                                of 316 PageID #:
                                    7173
                                                                              58


        1          A.     Yes.

        2                 Well, I would just clarify it was a dollar

        3     amount of an aggregate of claims not -- so the -- I

        4     was provided with a count or a number of claims, and

        5     then the aggregate reserve release that would be

        6     associated with that count of claims.

        7          Q.     Well, didn't Ms. Griffin provide you with

        8     an aggregate number for your organization as a whole

        9     and also numbers for each of your Director teams?

       10          A.     Yes.

       11          Q.     And so assuming, if I'm understanding

       12     this, then one could add up the numbers for each of

       13     your Directors' team, and it should come out roughly

       14     to that aggregate number?

       15          A.     Yes.

       16          Q.     And on average, the number in terms of the

       17     recovery expectation for dollars of reserves for

       18     each Director team, rather, each Director team would

       19     be from one to $2 million?

       20          A.     I think that's a reasonable estimate.

       21          Q.     All right.      And that means the monthly

       22     aggregate for your organization would, taking the

       23     six Directors, would average somewhere from six to

       24     $12 million?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 59 12-7-2018-000058
                                                                of 316 PageID #:
                                    7174
                                                                              59


        1          A.     Yes.

        2          Q.     Another available tool for managing the

        3     claim inventory was something called the change in

        4     status fields; is that correct?

        5          A.     Yes.

        6          Q.     And that involved Directors could populate

        7     online expected changes in the status of their

        8     claims; correct?

        9          A.     Yes.

       10          Q.     Which would include expected paid recoveries

       11     to happen in the future in their claims; correct?

       12          A.     Expected paid recoveries were one of the

       13     types of change in status that the Directors would

       14     populate into this online tool.

       15          Q.     And the expected change in terms of the

       16     expected recovery, that would be -- could be noted

       17     in the change in status field, the change might be

       18     for the next month or even further into the future;

       19     correct?

       20          A.     Yes.

       21          Q.     And you would have online access to this

       22     with the Directors or what information they're

       23     filling in in this regard; correct?

       24          A.     Yes.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 60 12-7-2018-000059
                                                                of 316 PageID #:
                                    7175
                                                                              60


        1          Q.     And also on a monthly basis, you would

        2     receive a printed report of the claims expected to

        3     recover that would include an approximate reserve

        4     amount associated with those claims; is that true?

        5          A.     Yes, I would receive that from Ms. Griffin

        6     or perhaps her administrative assistant.

        7          Q.     All right.      And anywhere from 10 to 50

        8     claims per Director per month would tend to be the

        9     expected number of recoveries for a month; is that

       10     correct?

       11          A.     No.    I would say the expected number of

       12     recoveries would not be anywhere close to that 50

       13     number.    I would say, you know, 10 to 50 might be

       14     the total range for expected change in status, so

       15     part of which would include the recoveries and part

       16     of which would not.       They would represent other

       17     types of changes in status.

       18          Q.     If you were just looking at recoveries,

       19     what would the average tend to be per claim for

       20     claims per Director per month?

       21          A.     You know, as a range, I would say maybe

       22     from eight to 15, something like that, and we're

       23     talking about both paid and unpaid recoveries.

       24          Q.     All right.      And, again, an unpaid recovery



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 61 12-7-2018-000060
                                                                of 316 PageID #:
                                    7176
                                                                              61


        1     would be what a layperson might call a denied claim;

        2     correct?

        3            A.   I think a denied claim could be one

        4     example of an unpaid recovery.           I'm not sure it

        5     would be all inclusive though.

        6            Q.   Well, what would other examples be?

        7            A.   I don't recall.

        8            Q.   And from this information, that enabled

        9     you -- you could add up to see where your team's

       10     performance was likely going to be relative to the

       11     plan; correct?

       12            A.   I would use the information that I was

       13     provided at the beginning of each month to forecast

       14     the likely performance of my team for that month,

       15     yes.

       16            Q.   I'm not sure if you're stating it that way

       17     as disagreeing with the way I stated it or not.               So

       18     let me try to clarify.

       19            A.   Could you please restate it then.

       20            Q.   I had asked that from the change in status

       21     list that you were provided from Ms. Griffin or her

       22     administrative assistant that had reserve numbers

       23     assigned to the claims, wasn't it correct that you

       24     could add those up and be able to see what your



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 62 12-7-2018-000061
                                                                of 316 PageID #:
                                    7177
                                                                              62


        1     team's performance was going to be relative to the

        2     plan for that month?

        3                 MS. ZHORDANIA:       Objection.     Argumentative.

        4     Foundation.

        5          A.     I could see where the performance was

        6     expected or forecasted to be, but it wouldn't be

        7     until the end of the month that I could see how that

        8     reconciled.

        9          Q.     Right.     And I think I had said what was

       10     likely going to be given, the data that you have on

       11     this report?

       12                 MS. ZHORDANIA:       Asked and answered.

       13          A.     I could take the information I was

       14     provided and come up with an approximation of where

       15     it was likely that the team would finish at the end

       16     of the month.

       17          Q.     Okay.    When you talk about unpaid recovery,

       18     unpaid recovered claims would also have reserves

       19     associated with them prior to them being there in

       20     the system as being recovered; correct?

       21          A.     I believe every open claim had a reserve

       22     associated with it.

       23          Q.     All right.      And just, again, so we're

       24     understanding terms, if I submit a claim, even



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 63 12-7-2018-000062
                                                                of 316 PageID #:
                                    7178
                                                                              63


        1     though you haven't evaluated and decided on the

        2     claim, that's going to cause an open claim; correct?

        3          A.     Yes.

        4          Q.     Okay.    Now, if the -- as you add up the

        5     reserves connected with the anticipated recoveries

        6     for the month for your Directors, and if you see

        7     that even if all of those expected recoveries

        8     happen, you'll still be short of what the plan is

        9     for recoveries for that month, you could meet with

       10     individual Directors to discuss some rationale as to

       11     why their anticipated recoveries were what they

       12     were; is that correct?

       13          A.     Well, first of all --

       14                 MS. ZHORDANIA:       Foundation.

       15          A.     -- I would say that it would be very

       16     unlikely that all of the claims on the change in

       17     status report identified as a potential recovery.

       18     It would be very unlikely that all of those claims

       19     would actually resolve in that month.

       20          Q.     Okay.    On average, what did experience

       21     teach in terms of what percentage of the claims on

       22     the list expected to recover would actually recover?

       23                 MS. ZHORDANIA:       Overbroad.     Calls for

       24     speculation.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 64 12-7-2018-000063
                                                                of 316 PageID #:
                                    7179
                                                                              64


        1                 Go ahead.

        2          A.     I don't think I can give a percentage

        3     because I would say different Directors utilized the

        4     change in status tool a little bit differently.

        5     Some had different thresholds under which they would

        6     put something on that list than others.             So, you

        7     know, it was really up to them to determine what

        8     they thought the likelihood of the claim recovering

        9     would be.     Some would enter, you know, claims that

       10     had a relatively small chance of recovering and

       11     others would, I think, choose to enter claims that

       12     maybe were more likely than not to recover; so, I

       13     can't really give a specific percentage because of

       14     the variation from one Director to another.

       15          Q.     But and I would expect there would be

       16     variation, and I guess I'm asking, given the

       17     variation, when you kind of stand back and eyeball

       18     it, did you not come to get a sense of well, the

       19     experience teaches we -- there tends to be around

       20     50 percent recovered from what's actually on this

       21     list or fill in the blank?

       22                 MS. ZHORDANIA:       Foundation.      Asked and

       23     answered.     Calls for speculation.        Go ahead.

       24          A.     Again, I don't recall having a particular



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 65 12-7-2018-000064
                                                                of 316 PageID #:
                                    7180
                                                                              65


        1     percentage or range of percentages that I would have

        2     relied on to utilize.

        3          Q.     Wouldn't this list give you information

        4     that would be informative of the likelihood of your

        5     meeting the planned recovery number for the month?

        6          A.     Yes.

        7          Q.     And if the -- you know, the higher the

        8     number is relative to the plan, wouldn't it be true,

        9     the more likely you're going to hit the plan number?

       10          A.     The higher what number?

       11          Q.     The higher the number of the aggregate of

       12     the reserves on the list?

       13          A.     I don't think I understand what you're

       14     asking.

       15          Q.     All right.      When you get the list from

       16     Ms. Griffin for the change in status by recoveries

       17     for the upcoming month, and the total of those

       18     reserves is a larger number, relative to the plan

       19     number, as opposed to a smaller number, I'm asking

       20     wouldn't the larger the number suggest to you the

       21     more likely you're going to hit plan as opposed to a

       22     low number?

       23                 MS. ZHORDANIA:       Foundation.

       24          A.     Again, the list that I was provided would



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 66 12-7-2018-000065
                                                                of 316 PageID #:
                                    7181
                                                                              66


        1     include the estimated reserve information for any

        2     claim that the Director identified as a potential

        3     change in status for that month or for a future

        4     month within I forget if it was somewhere between

        5     three and six months in the future, so --

        6          Q.     Can I interrupt you for a second.            I want

        7     to understand what you're saying, and then we'll get

        8     your place and go on.

        9          A.     Sure.

       10          Q.     Are you saying that the list you would get

       11     each month from Ms. Griffin or her administrative

       12     assistant would be for claims expected to recover,

       13     according to the Director populating it on the

       14     change in status, for that month that you're about

       15     to enter as well as more months in the future?

       16          A.     To the best of my recollection, the online

       17     change in status tool that we're discussing that was

       18     populated by the Directors had a time component to

       19     it; so, the Directors were expected to have

       20     knowledge of the group of claims and the block that

       21     they were responsible for, and for entering future

       22     change in status potential for those claims.              And

       23     some of those claims would be expected to recover in

       24     the current month, and some would be expected to



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 67 12-7-2018-000066
                                                                of 316 PageID #:
                                    7182
                                                                              67


        1     recover in future months, and so what I'm saying is

        2     that the report or information I was provided had

        3     claims for a greater than one month time frame.

        4          Q.     And I understand that online when you

        5     would look at the change in status fields, it would

        6     be for multiple months.         Just so you're clear, I'm

        7     asking the written report that you were given from

        8     Ms. Griffin, would that also include multiple

        9     months?

       10          A.     I believe it did, but I can't remember for

       11     sure.

       12          Q.     All right.      For sure the online did;

       13     written report, you don't recall?

       14          A.     The online information definitely had

       15     change in status information for beyond the current

       16     month.    I believe that the written report I

       17     received, which contained the approximate reserve

       18     information, I believe that that also included the

       19     future month information, but I can't recall for

       20     sure.

       21          Q.     Well, do you recall - and I ask you this,

       22     and maybe it will trigger your memory - that the

       23     written report that you got, was it providing you

       24     associated reserves for the immediate month that's



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 68 12-7-2018-000067
                                                                of 316 PageID #:
                                    7183
                                                                              68


        1     about to happen and multiple months going forward?

        2                    MS. ZHORDANIA:     Asked and answered.

        3            A.      That's what I'm saying I can't recall for

        4     sure.       My best recollection is that the written

        5     report I received from Ms. Griffin or her assistant

        6     contained information on claims and approximate

        7     reserve information for not only that current month

        8     but also for months into the future coinciding with

        9     what the Directors had populated in the online tool.

       10            Q.      Okay.   How big was this report?

       11            A.      Can you clarify what you mean by that.

       12            Q.      Number of pages?

       13            A.      For a given Director, I think we've

       14     established that, you know, they would be, as a

       15     rough estimate, you know, 10 to 50 projected changes

       16     in status on the report, and so the size of the report

       17     for each Director would reflect that and multiply

       18     that times six, and that would be the size of the

       19     report that I would get.          I can't tell you how many

       20     pages, because I don't remember, you know, how big

       21     the font was on the report or anything like that,

       22     but.

       23            Q.      All right.   So you would get a report for

       24     each Director underneath your supervision from



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 69 12-7-2018-000068
                                                                of 316 PageID #:
                                    7184
                                                                              69


        1     Ms. Griffin --

        2          A.     Yes.

        3          Q.     -- correct?

        4                 The eight to ten expected recoveries that

        5     you estimated, is that including claims for all the

        6     future months?

        7          A.     I think I estimated eight to 15, and that

        8     estimate was in relation to a given month, which I

        9     understood the context of your question at the time

       10     to mean.

       11          Q.     And it was, but I didn't know we were

       12     talking about multiple months that were on the

       13     report; so, I wanted to clarify that.

       14                 As you would kind of absorb the monthly

       15     report with the associated reserves, and if it

       16     appeared to you from the report, given the numbers

       17     that the likelihood of meeting the plan recovery was

       18     going to be very small or, say, impossible, would

       19     there ever be any steps you would take about that?

       20          A.     Yes.

       21                 MS. ZHORDANIA:       Foundation.

       22          Q.     And would one of the steps you could take

       23     would be to speak with your Directors?

       24                 MS. ZHORDANIA:       Misstates prior testimony.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 70 12-7-2018-000069
                                                                of 316 PageID #:
                                    7185
                                                                              70


        1          A.     Well, I would speak with my Directors on

        2     an ongoing basis all the time, whether the --

        3     regardless of the likelihood that the forecasted

        4     monthly results were or were not on track.

        5          Q.     Sure.    But I'm not asking that.          What I'm

        6     asking you is if one of the steps you could take

        7     would be to speak to your Directors about this

        8     issue?

        9          A.     It would be one of the steps, but it would

       10     also be one of the steps regardless of whether I

       11     expected the results to be what they were forecast

       12     to be.

       13          Q.     Well, if I'm understanding you, Mr. Peter,

       14     you're just saying you don't need this as a reason

       15     to speak to your Directors; correct?

       16          A.     Yes.

       17          Q.     You speak to your Directors throughout the

       18     month; correct?

       19          A.     Yes.

       20          Q.     All right.      So that you understand what

       21     I'm asking you, if you get this report and seeing

       22     it, you conclude it's very unlikely you're going to

       23     meet the recovery plan for the month, would you

       24     likely speak to individual Directors about their



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 71 12-7-2018-000070
                                                                of 316 PageID #:
                                    7186
                                                                              71


        1     particular forecast for recoveries?

        2          A.     Yes, as I stated before, Directors were

        3     expected to have knowledge of their inventory and

        4     their block of claims.        So if -- if under the

        5     scenario you're describing, I would likely speak

        6     with the Director to learn more about the reasons

        7     why the projected results were different than what

        8     the historical forecast would suggest.

        9          Q.     Okay.    And in speaking with Directors

       10     about that, might that result in in their projected

       11     result increasing?

       12                 MS. ZHORDANIA:       Foundation.

       13          A.     I'm sorry.      I don't --

       14          Q.     Their projected result for recoveries in

       15     the upcoming month to increase to more closely match

       16     the planned forecast?

       17                 MS. ZHORDANIA:       Foundation.

       18          A.     You're asking if the result of my

       19     conversation with them was that their forecast would

       20     increase?

       21          Q.     That's one way to put the question, I

       22     guess, yeah.

       23          A.     I would say no.       I would say that my

       24     objective in speaking to them would be to gain their



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 72 12-7-2018-000071
                                                                of 316 PageID #:
                                    7187
                                                                              72


        1     perspective on their block of claims and why their

        2     forecast was different from what the historical

        3     projection would suggest.

        4          Q.      All right.     It is true that as an AVP, you

        5     were -- you also were judged on whether your

        6     organization -- your organization's recoveries were

        7     meeting plan; correct?

        8          A.      That was certainly one of the factors that

        9     I was evaluated against, yes.

       10          Q.      All right.     And your Directors are evaluated

       11     on that as well; correct?

       12          A.      Among other things, yes.

       13          Q.      Okay.     So if it appears to you from -- I

       14     mean isn't this one of the reasons that you are

       15     getting this paper copy of the projected recoveries

       16     from Ms. Griffin with the associated reserves, so

       17     that it will help you manage the claims inventory?

       18          A.      I'm not sure I would say it helps me

       19     manage it.     I would say it helps me evaluate the

       20     performance of the block of claims against what the

       21     forecast was.        So it was a tool among many others.

       22     We had tools to evaluate, you know, quality and time

       23     service, customer service, and so forth, and this

       24     was one of the metrics; the recovery metric that



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 73 12-7-2018-000072
                                                                of 316 PageID #:
                                    7188
                                                                              73


        1     we're speaking of was one of the metrics that would

        2     be used to evaluate the performance of myself and my

        3     teams.

        4          Q.     All right.      Well, when you -- as you

        5     indicated, yes, you might sit down and talk to an

        6     individual Director, to learn about why his or her

        7     projected recoveries for that month were below plan;

        8     correct?

        9          A.     Yes.

       10          Q.     Okay.    And in doing so, you would ask the

       11     Director to explain why their projected number is as

       12     low as it is relative to the plan; correct?

       13                 MS. ZHORDANIA:       Asked and answered.

       14     Misstates prior testimony.

       15          A.     I would speak with the Director to gain

       16     their perspective on the block of claims under their

       17     management and learn more about what they knew about

       18     the claims that would help explain why the projection

       19     was different from -- why their projection was

       20     different from what the plan was.

       21          Q.     Right.     So you would look for an

       22     explanation from them as to why their number was

       23     lower than what the plan was?

       24                 MS. ZHORDANIA:       Asked and answered.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 74 12-7-2018-000073
                                                                of 316 PageID #:
                                    7189
                                                                              74


        1          A.     Yes, that's part of what we would discuss.

        2          Q.     All right.      As the month would go on, you

        3     would have periodic follow-up with each Director to

        4     see where each was in relation to the month's

        5     recovery goal; correct?

        6          A.     Yes, I met with my Directors periodically

        7     to talk about their team's performance in relation

        8     to the recovery metric as well as several other

        9     metrics.

       10          Q.     And if a claim that had been listed as one

       11     that was expected to close by a Director had not, in

       12     your meeting, you would seek an explanation for why

       13     the claim hadn't closed; correct?

       14          A.     Yes.

       15          Q.     Okay.

       16          A.     Not every time, every claim, but certainly

       17     there were situations where we would discuss why a

       18     given claim had been projected to recover and

       19     ultimately didn't --

       20          Q.     All right.

       21          A.     -- in that time frame.

       22          Q.     Well, if a claim had been projected to

       23     recover and did not in that time frame, you would

       24     often have a discussion with the Director for an



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 75 12-7-2018-000074
                                                                of 316 PageID #:
                                    7190
                                                                              75


        1     explanation as to why it had not; is that fair to

        2     say?

        3                 MS. ZHORDANIA:       Asked and answered.

        4            A.   I would say sometimes.         I don't know if it

        5     was the majority or not, but there were certainly

        6     situations that I would discuss that, yes.

        7            Q.   All right.      Let's take a break.

        8            A.   Pardon me.

        9            Q.   Let's take a break.

       10            A.   Okay.

       11                 THE VIDEOGRAPHER:        We are off the record

       12     at 1:25 p.m.

       13                 (Short break taken.)

       14                 THE VIDEOGRAPHER:        We are on the record at

       15     1:37 p.m.

       16     BY MR. DAWSON:

       17            Q.   Mr. Peter, I kind of have some retrograde

       18     motion here, going back to your tenure at Paul Revere,

       19     beginning in 1986, by the time of the merger with

       20     Unum, so I guess probably after -- before or after

       21     whether it was an acquisition or merger with

       22     Provident, in addition to being Assistant Vice

       23     President, you were also an officer of the company,

       24     correct, of Paul Revere?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 76 12-7-2018-000075
                                                                of 316 PageID #:
                                    7191
                                                                              76


        1          A.      Yes, I think by virtue of the AVP title, I

        2     was an officer.

        3          Q.      All right.     And that was true then after

        4     the merger as well?        I mean, you were still --

        5          A.      My recollection is I became an AVP after

        6     the Paul Revere/Provident merger, but I'm not

        7     exactly sure.

        8          Q.      All right.     So let me clean up my question

        9     then.     You became an officer in addition to being

       10     AVP after -- I'm sorry -- which merger did you say?

       11          A.      My recollection is it was after the first

       12     merger which is the Paul Revere/Provident one.

       13          Q.      All right.

       14          A.      And, again, it wasn't a -- the officer

       15     designation came with the AVP title.            It wasn't a

       16     separate distinction.        I think every AVP was, by

       17     definition, an officer.

       18          Q.      An officer.     All right.     Thank you.

       19                  Let's see where I am here.

       20                  MS. ZHORDANIA:      You were about to be done.

       21                  (Laughter.)

       22                  THE WITNESS:     Thanks anyway.

       23                  MS. ZHORDANIA:      I'm working for you.

       24     BY MR. DAWSON:



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 77 12-7-2018-000076
                                                                of 316 PageID #:
                                    7192
                                                                              77


        1          Q.     We were talking before the break about you

        2     speaking to the Directors underneath your supervision.

        3     I think -- did I ask you this?           I don't know if I

        4     asked you this or not, and that is would you have

        5     periodic follow-ups with each Director to see where

        6     they were in relation to the month's recovery goal?

        7                 MS. ZHORDANIA:       Asked and answered.

        8          A.     I think you did ask --

        9          Q.     That's asked and answered?

       10          A.     Do you want me to answer again?

       11          Q.     I believe you said you would?

       12          A.     I think I said that was one of the things

       13     that I would talk to my team about on an ongoing

       14     basis.

       15          Q.     Right.     All right.     And the Directors had

       16     responsibility for five or six DBSs underneath them?

       17          A.     Yes, generally.

       18          Q.     All right.      And they had responsibility

       19     for managing the inventory of claims that the DBSs

       20     underneath them were working on; correct?

       21          A.     The Directors did?

       22          Q.     The Directors did.

       23          A.     Yes.

       24          Q.     So similarly, the Directors would be



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 78 12-7-2018-000077
                                                                of 316 PageID #:
                                    7193
                                                                              78


        1     expected as part of their managerial duties to speak

        2     with the DBSs about what was going on on claims,

        3     among other things, but relative to knowing what's

        4     happening with the recovery, the actual recoveries

        5     relative to the plan?

        6                 MS. ZHORDANIA:       Objection.     Misstates

        7     prior testimony.       Foundation.

        8          A.     It was a director's responsibility to, you

        9     know, work with their team of DBSs to handle,

       10     adjudicate the claims in their area of responsibility.

       11                 I'm not really sure -- well, let me -- I

       12     would think that one of the things that the Directors

       13     would speak to their DBSs about was, you know, with

       14     respect to all the claims in their inventory what

       15     they were doing on the claims, what they were

       16     thinking would happen on the claims, if they needed

       17     help with the claims, and so forth, just kind of

       18     basic, you know, management of a team.

       19          Q.     Sure, and I'm just, again, so we're

       20     communicating with one another, I'm asking just

       21     about a specific aspect, and that is you would

       22     expect the Directors to speak with their DBSs on

       23     this issue of actual recoveries to planned

       24     recoveries, just on that topic?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 79 12-7-2018-000078
                                                                of 316 PageID #:
                                    7194
                                                                              79


        1                  MS. ZHORDANIA:      Objection.     Misstates

        2     prior testimony.       Foundation.     Go ahead.

        3          A.      The DBSs were really focused on, you know,

        4     handling the claims that they were responsible for

        5     and the service aspects of them.           The populating of

        6     the change in status tool was really something that

        7     was primarily done by the Directors; and so the

        8     focus of the communication between the Directors and

        9     their DBSs was on just what was happening with their

       10     particular claims, not really so much on whether it

       11     did or did not achieve the change in status that was

       12     predicted.

       13          Q.      All right.     Fair enough.      And, in fact,

       14     the DBSs didn't even have authority to close a

       15     claim; correct?

       16          A.      That's correct.      Every -- the practice was

       17     that any claim closure needed to be signed off by

       18     both the Director and the QCC.

       19          Q.      All right.

       20          A.      I don't think we defined QCC yet, so I'll

       21     just, for what it's worth, say it stands for quality

       22     compliance consultant.

       23          Q.      Okay.   So if a claim was going to be

       24     closed, and thereby, have a recovery, that was going



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 80 12-7-2018-000079
                                                                of 316 PageID #:
                                    7195
                                                                              80


        1     to be a decision that had to come from the Director,

        2     and as you say and signed off by the QCC; correct?

        3                  MS. ZHORDANIA:      Foundation.

        4            A.    I wouldn't say it was a decision that came

        5     from the Director.       I would say the Director and the

        6     QCC were responsible for approving it or signing off

        7     on it, but the impetus for the decision to close the

        8     claim would typically come from the DBS, but they

        9     needed authority or approval to do it.

       10            Q.    When you say the "impetus for the decision

       11     to close the claim," is that to say the DBS is the

       12     one who's working the claim file day-to-day.              Would

       13     that be correct?

       14            A.    Yes.

       15            Q.    I mean to the extent it's worked day-to-day,

       16     but.

       17            A.    Sure.

       18            Q.    And it would be expected that the DBS

       19     would be the one to let his or her Director know, I

       20     think this claim is in a position, is in a state to

       21     be closed?

       22            A.    Right.    I guess --

       23                  MS. ZHORDANIA:      Foundation.

       24            A.    -- I was trying to say -- the way I



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 81 12-7-2018-000080
                                                                of 316 PageID #:
                                    7196
                                                                              81


        1     interpreted your question was that the Director

        2     would instruct or tell the DBS to -- that it was

        3     time to close the claim, and what I'm saying is

        4     really the impetus, the recommendation for that came

        5     from the DBS to the Director, not vice versa.

        6          Q.     All right.      And the Director was in a

        7     position of authority to say no, I don't agree with

        8     your recommendation or say, yes, I do and let's move

        9     it on to the QCC; is that correct?

       10          A.     Yes.

       11          Q.     All right.      And we talk about you having

       12     periodic follow-up with each of your Directors.

       13     Your supervisor, Ms. Griffin, would also have

       14     periodic follow-up with you in relation to the

       15     month's recovery goal; correct?

       16          A.     That was one of many things that we would

       17     speak about in meetings between the two of us, yes.

       18          Q.     All right.      And in those meetings,

       19     Ms. Griffin would have access to where your

       20     organization was relative to the recovery plan;

       21     correct?

       22          A.     My recollection is that that information

       23     was compiled weekly, so it wasn't real-time

       24     information per se, but on a week-to-week basis,



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 82 12-7-2018-000081
                                                                of 316 PageID #:
                                    7197
                                                                              82


        1     Ms. Griffin would have access to how my team was

        2     performing in relation to the plan information.

        3          Q.      All right.     And your periodic meetings

        4     with Ms. Griffin in this regard would tend to be

        5     after one of those weekly updates as to where your

        6     organization was, fair to say?

        7          A.      It could be before or after.          I mean, if

        8     it was -- you know, I guess by definition, if it's

        9     after week two, it's before week three; so, it's

       10     really both.

       11          Q.      I got you.     All right.

       12                  Was there any concern during your years in

       13     the claim operation, among any in the claim department

       14     that, to your knowledge, that this practice of

       15     monitoring actual recoveries to recovery plan and

       16     where are you at and where your numbers are may

       17     influence claim decisions to be made without fair

       18     regard to the insured's interests?

       19          A.      You're asking if anyone ever thought that?

       20          Q.      To your knowledge, of course.

       21          A.      I don't know.

       22          Q.      Well, my question was not very good.

       23                  I'm not asking for anything beyond your

       24     knowledge.     So the answer "I don't know" means I



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 83 12-7-2018-000082
                                                                of 316 PageID #:
                                    7198
                                                                              83


        1     didn't ask a good question.

        2                 I'm asking, to your knowledge, did anyone

        3     ever express any concern that this practice may

        4     influence claim decisions to be made without fair

        5     regard for the insured's interest?

        6          A.     I don't recall that being the case, no.

        7          Q.     I mean it was made clear to -- it was made

        8     clear to you as an AVP that making the plan recovery

        9     numbers was not merely a hope, but it was an

       10     expectation; correct?

       11                 MS. ZHORDANIA:       Asked and answered.

       12     Misstates prior testimony.

       13          A.     I would say that there were numerous

       14     standards and metrics and expectations that I was

       15     held accountable for as an AVP, one of which was how

       16     the block of claims that I had under the management

       17     of my teams performed over a period of time in

       18     relation to what the historical expectations were.

       19          Q.     All right.      And to narrow that somewhat,

       20     it is true that you were held accountable for the

       21     actual recoveries measuring against the plan;

       22     correct?

       23                 MS. ZHORDANIA:       Asked and answered.

       24          A.     Again, that was one of the many factors



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 84 12-7-2018-000083
                                                                of 316 PageID #:
                                    7199
                                                                              84


        1     that I was held accountable for, yes.

        2            Q.   And you, in turn, would hold accountable

        3     the Directors underneath you for the actual recoveries

        4     within their inventory and how they measured against

        5     the plan; correct?

        6            A.   That was one of the factors, yes.

        7            Q.   Okay.    And you -- I mean it was part of

        8     your job to make clear to the Director that you were

        9     holding them accountable for this; is that fair to

       10     say?

       11                 MS. ZHORDANIA:       Objection.     Foundation.

       12            A.   Yes, I think -- I would like to think that

       13     as a manager I was clear on what the numerous

       14     expectations were of the Director and whether they

       15     relate to recovery expectations or the quality or

       16     timeliness of the decisions, I'd like to think that

       17     as a manager, I clearly communicated those.

       18            Q.   All right.      You would impress upon each

       19     of your Directors the importance of meeting the

       20     recovery numbers?

       21                 MS. ZHORDANIA:       Objection.     Asked and

       22     answered.

       23            Q.   Fair to say?

       24            A.   Again, that was one of the many factors



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 85 12-7-2018-000084
                                                                of 316 PageID #:
                                    7200
                                                                              85


        1     that I would impress upon them as being important.

        2          Q.     All right.      And this particular factor,

        3     the importance of achieving the recovery plan would

        4     be the subject of ongoing discussions between you

        5     and each of your Directors; true?

        6                 MS. ZHORDANIA:       Objection.     Asked and

        7     answered.

        8          A.     As -- yes, as was the case with many

        9     metrics.

       10          Q.     Okay.    And within those ongoing discussions,

       11     you would let your Directors know where they were in

       12     relation to meeting his or her monthly recovery

       13     target; true?

       14          A.     As well as other metrics, yes.

       15          Q.     And within these periodic discussions, you

       16     might inquire of a Director what barriers may exist

       17     that would prevent a particular claim that had

       18     expected to close from closing?

       19          A.     Yes.

       20          Q.     Holding your Directors accountable for

       21     meeting the expected operational performance or the

       22     operational metrics was also something that was

       23     included in the director's performance evaluations;

       24     correct?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 86 12-7-2018-000085
                                                                of 316 PageID #:
                                    7201
                                                                              86


        1          A.     I believe so.

        2          Q.     And was it included in yours as well?

        3          A.     I believe so, yes.

        4          Q.     You might in discussions with a Director

        5     ask to be kept apprised of the status of a given

        6     claim that was expected to recover; true?

        7          A.     I would have occasion to ask to be

        8     apprised of status of different types of claims,

        9     including ones that were expected to recover.

       10          Q.     All right.      And you may also ask to be

       11     kept apprised of a claim that had closed but might

       12     reopen?

       13                 MS. ZHORDANIA:       Vague.

       14          A.     Yes.    My recollection is that I -- part of

       15     my responsibility as an AVP was to review and sign

       16     off on the claims that needed to be reopened, so

       17     that I would be aware of them personally.

       18          Q.     So is that to say so you had -- you

       19     especially had interest in a claim that had closed

       20     that you had reason to know was being considered for

       21     a possible reopen?

       22                 MS. ZHORDANIA:       Misstates testimony.

       23          A.     You're asking if -- I'm sorry.           Could you

       24     please repeat it.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 87 12-7-2018-000086
                                                                of 316 PageID #:
                                    7202
                                                                              87


        1          Q.     Yeah, you had answered my prior question

        2     that you had to review and sign off on claims that

        3     needed to be reopened, so that you needed to be

        4     personally aware of them; correct?

        5          A.     Yes.    Yes.

        6          Q.     And that was in response to my question of

        7     you would at times be asked to be apprised of the

        8     status of claims that had closed that were in

        9     consideration as to whether they're going to be

       10     reopened.     That's a fact.

       11                 So my next question is are you saying

       12     because you had to review and sign off, you would

       13     especially, yes, want to be apprised of claims that

       14     had closed that may be considered to be reopened?

       15          A.     Well, I guess I didn't have to be asked

       16     because I was required to review them, and the

       17     reason I was required to review them is that the

       18     quality and the appropriateness of the claim

       19     decisions that a given Director or their team made

       20     was something that I was held accountable for, and

       21     so, part of the reason for my reviewing claims that

       22     were being recommended to reopen after they had been

       23     closed was as a way to monitor the quality of the

       24     decisions that had been previously made, and that



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 88 12-7-2018-000087
                                                                of 316 PageID #:
                                    7203
                                                                              88


        1     would enable me to notice any trends that might

        2     exist with a given Director and their teams, if, for

        3     example, one Director team had a higher number of

        4     reopens than all of their peer teams, I might wonder

        5     why that was the case and perhaps the claims that

        6     they were signing off on to close, maybe that needed

        7     to be looked at because there was an unusually high

        8     percentage of them that were subsequently reopening.

        9                 MR. DAWSON:      Okay.    Mark this as two,

       10     please.

       11                 (Document was marked Exhibit No. 2 for

       12     identification.)

       13          Q.     Mr. Peter, Exhibit 2 is a page from the

       14     claim file, and the bottom right corner of the page

       15     number is 00049.       Do you see that?

       16          A.     Yes.

       17          Q.     Had you reviewed the claims file prior to

       18     your deposition or portions?

       19          A.     Not in preparation for the deposition.              I

       20     may or may not have reviewed the file in conjunction

       21     with my employment, back prior to two years ago.

       22          Q.     But you have not since?

       23          A.     Correct.

       24          Q.     Okay.    The bottom e-mail, which is the



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 89 12-7-2018-000088
                                                                of 316 PageID #:
                                    7204
                                                                              89


        1     first in sequence is from a Brenda Shepard.              Who is

        2     Ms. Shepard?

        3          A.      As is indicated in the signature block of

        4     her e-mail, she's a lead appeals specialist for

        5     Unum.

        6          Q.      All right.     And the body of her e-mail

        7     says, "Attached please find my RT Memo of today's

        8     date."

        9                  What is an RT memo?

       10          A.      You know, I actually don't recall.           I

       11     think it might be something about return, but --

       12          Q.      Yes, and I'm not sure where I saw this

       13     reference, but is it correct that it means a

       14     decision hasn't been made yet?

       15          A.      No.     Well, I guess it depends on what type

       16     of decision you're referencing.

       17          Q.      Okay.     Well, the date of this is March 2,

       18     2016.     Do you see that?

       19          A.      Yes.

       20          Q.      And does this look familiar to you from

       21     when you worked on the claim?

       22          A.      I mean I don't recall this particular

       23     e-mail.

       24          Q.      All right.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 90 12-7-2018-000089
                                                                of 316 PageID #:
                                    7205
                                                                              90


        1           A.    The nature of it is familiar, as a

        2     general -- not specific to this claim but as a

        3     general type of e-mail that I would see and respond

        4     to.

        5           Q.    I understand what you're saying and, again,

        6     what is the general nature of it that gives you

        7     familiarity?

        8           A.    So the purpose of Ms. Shepard's e-mail is

        9     to -- again, she's in our appeals organization, and

       10     the appeals organization is part of but separate

       11     from the claims or benefit operations area, and the

       12     appeals area is responsible for reviewing decisions

       13     on claims where the operations area has made a

       14     decision, and the claimant subsequently appeals that

       15     decision.

       16                 So the practices that were in place

       17     provided a mechanism for a claimant to appeal, let's

       18     say, the denial of their claim, and in conjunction

       19     with that, the entire claim file would be reviewed

       20     by the appeals organization, so in this case,

       21     Ms. Shepard; and the claim would be reviewed and

       22     analyzed, kind of, you know, from the beginning as a

       23     new type of review to ascertain whether the decision

       24     to deny the claim was consistent with Unum's



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 91 12-7-2018-000090
                                                                of 316 PageID #:
                                    7206
                                                                              91


        1     practices.

        2                  In some cases, the claimant would submit

        3     an appeal without any new information being

        4     provided, and in some instances, the claimant would

        5     submit an appeal along with some additional

        6     information that the claimant felt would help change

        7     the decision that the company made to deny their

        8     claim.

        9          Q.      All right.     So the status -- and I'll just

       10     represent to you this is out of Biliack's claim

       11     file.     This is his claim number we see referenced

       12     here.

       13                  And the status at this point is that an

       14     appeal is considered to have been submitted, but a

       15     decision hasn't been yet made on it.

       16                  Is that the type of communication that you

       17     might typically be copied on?

       18                  MS. ZHORDANIA:      Objection.     Lacks

       19     foundation.

       20          A.      I would typically be copied on a situation

       21     where an appeal was made, and I would be apprised of

       22     the outcome one way or another after the appeal

       23     review had been completed.         So I would not be part

       24     of the review.      My team would not be part of the



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 92 12-7-2018-000091
                                                                of 316 PageID #:
                                    7207
                                                                              92


        1     review.    As I said, it was an independent part of

        2     the company that did the appeal reviews, but it

        3     would be common practice for the appeals organization

        4     to notify me and others of what decision they had

        5     reached.

        6          Q.     All right.      On this e-mail, you do see

        7     that you are a recipient on it; correct?

        8          A.     Yes.

        9          Q.     All right.      As is Jodi Bishop, the DBS;

       10     correct?

       11          A.     She is a DBS.       I don't know whether -- I'm

       12     assuming she's the DBS on the Biliack claim, but I

       13     don't know that for sure.

       14          Q.     All right.      As is the QCC, Mr. Birch?

       15          A.     Yes.

       16          Q.     And Steven Carlson, was he the appeals

       17     supervisor?

       18          A.     I believe he would have been Brenda's,

       19     Ms. Shepard's Director.

       20          Q.     All right.      Is it Mr. Ferranti or

       21     Ms. Ferranti?

       22          A.     Ms.

       23          Q.     What position did she have?

       24          A.     I believe she would have been -- so



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 93 12-7-2018-000092
                                                                of 316 PageID #:
                                    7208
                                                                              93


        1     Mr. Carlson was Ms. Shepard's manager, and

        2     Ms. Ferranti was Mr. Carlson's manager.

        3            Q.   As Mr. Carlson's manager, would she be an

        4     AVP?

        5            A.   I believe she was, yes.

        6            Q.   And Mr. Hackett, his position?

        7            A.   He, I forget his title, but he was -- he

        8     had something to do with our complaints or compliance

        9     area.

       10            Q.   Was he traditionally copied on e-mails

       11     relating to appeals?

       12                 MS. ZHORDANIA:       To the extent it calls for

       13     speculation, I object.

       14            A.   I think so, but I'm not sure.           My best

       15     recollection is that the list of people and their

       16     positions would be kind of a standard, set thing

       17     that the appeals specialist would -- that those were

       18     the individuals and their positions that would be

       19     notified whenever an appeal was decided.

       20            Q.   All right.      Ms. Bishop's Director,

       21     Elysabeth Wetton, is copied on it; correct?

       22            A.   Yes.

       23            Q.   As were the two Vice Presidents at the

       24     time, Mr. Williams and Ms. Griffin; correct?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 94 12-7-2018-000093
                                                                of 316 PageID #:
                                    7209
                                                                              94


        1          A.     Yes.

        2          Q.     And then also Scott Gillaspie was copied

        3     on it.    Do you see that?

        4          A.     Yes.

        5          Q.     What's his position?

        6          A.     I forget his exact title, but he was, I

        7     think, a business analyst, someone who would be

        8     responsible for compiling different metrics, and so

        9     we would, for example, evaluate over a period of

       10     time how many appeals there were and what the outcome

       11     of them had been, and so Mr. Gillaspie, would, I

       12     believe, have been responsible for compiling that

       13     data into some type of report that we could utilize

       14     later.

       15          Q.     What role did Mr. Gillaspie play relative

       16     to the recovery plan?

       17                 MS. ZHORDANIA:       Foundation.      Calls for

       18     speculation.

       19                 Go ahead.

       20          A.     Other than -- I guess his role was, again,

       21     as a business analyst was simply compiling on a

       22     month-to-month basis the -- what the performance of

       23     given teams were in relation to the plan expectation.

       24     So he -- to the best of my knowledge, he did



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 95 12-7-2018-000094
                                                                of 316 PageID #:
                                    7210
                                                                              95


        1     not -- he did not devise the plan expectations.               He

        2     did not communicate them.         It was his role as a

        3     business analyst and someone who was kind of

        4     responsible for compiling metrics to compile a wide

        5     variety of information, again, with respect to

        6     appeals, with respect to monthly plan performance,

        7     and many others.

        8          Q.     Including with respect to recovery?

        9          A.     Again, I think he was responsible for

       10     compiling in a report the numbers or the information

       11     for each team.

       12          Q.     Including recovery?

       13          A.     Yes.

       14          Q.     All right.      You referred to him as a

       15     business analyst.       If Mr. Gillaspie described

       16     himself as a financial analyst, would that be

       17     contrary to what you thought his role was?

       18          A.     No, as I said I wasn't sure of the exact

       19     title, but it was -- I would use those terms somewhat

       20     interchangeably.

       21          Q.     All right.      When you said he compiled a

       22     month to month, the actual results to the plan, so

       23     included within that, Mr. Gillaspie would be the one

       24     compiling the actual recovery results measured



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 96 12-7-2018-000095
                                                                of 316 PageID #:
                                    7211
                                                                              96


        1     against the plan recovered results; correct?

        2                 MS. ZHORDANIA:       Calls for speculation.

        3     Foundation.

        4          A.     My recollection is that was one of his

        5     responsibilities, yes.

        6          Q.     Okay.    So if a -- if a claim is closed,

        7     it's recovered; correct?

        8          A.     Yes.

        9          Q.     And Mr. Gillaspie would be apprised of

       10     that; correct?

       11                 MS. ZHORDANIA:       Calls for speculation.

       12     Lacks foundation.

       13          A.     I don't believe he would be apprised of

       14     each claim individually being closed.             I believe he

       15     would see at the end of a given month or some period

       16     of time he would see the aggregate results.              I don't

       17     think he had anything to do with the results or the

       18     outcome of a given claim.         He was responsible for

       19     compiling the results on an aggregate basis.

       20          Q.     All right.      Well, in order to compile the

       21     results on an aggregate basis, Mr. Gillaspie would

       22     have to be provided with information in terms of

       23     reserves recovered when claims are closed; correct?

       24                 MS. ZHORDANIA:       Calls for speculation.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 97 12-7-2018-000096
                                                                of 316 PageID #:
                                    7212
                                                                              97


        1     Foundation.

        2          A.     Again, he would, I believe, be apprised or

        3     have access to information about the reserves in

        4     aggregate but not necessarily for a particular claim

        5     individually.

        6          Q.     To your understanding why would it be that

        7     Mr. Gillaspie, as a financial analyst, would be

        8     copied on an individual -- on an e-mail about an

        9     individual claim such as this?

       10                 MS. ZHORDANIA:       Calls for speculation.

       11          A.     As I stated, his responsibility was to

       12     compile a variety of metrics that spoke to the

       13     operational performance of the claims organization.

       14                 So in order for us to understand how many

       15     appeals were submitted and the outcome of those

       16     claims, he would need the information in order to

       17     compile a report that, in aggregate, showed the

       18     information that I'm talking about.

       19                 So we would be able to look on a monthly

       20     or, say, quarterly basis and see "X" number of

       21     appeals had been submitted.          Some portion or

       22     percentage of those were upheld; some portion or

       23     percentage was overturned, and so forth.

       24                 So he was -- to answer your question, my



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 98 12-7-2018-000097
                                                                of 316 PageID #:
                                    7213
                                                                              98


        1     understanding is he was provided with this information

        2     in order to help compile the reporting that he was

        3     responsible for.

        4            Q.   But what I'm trying to learn from your

        5     testimony, it sounds like Mr. Gillaspie would be

        6     getting information in the aggregate, you know, at

        7     the end of the month, for example, which is what

        8     caused me to ask you why would he be on an e-mail

        9     on a claim as it's happening, deciding whether it's

       10     going to be reopened or not?

       11                 MS. ZHORDANIA:       I'm sorry.     What's your

       12     question?

       13                 MR. DAWSON:      I said I'm asking why would

       14     he be on an e-mail --

       15                 MS. ZHORDANIA:       Oh, okay.

       16                 MR. DAWSON:      -- on a claim as it's

       17     happening as to whether it's going to be opened or

       18     not?

       19                 MS. ZHORDANIA:       Asked and answered.        Calls

       20     for speculation.       Lacks foundation.

       21            A.   Again, my recollection would be that some

       22     information Mr. Gillaspie would have available to

       23     him automatically or through a system of some kind

       24     that he would be able to view and use to compile the



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                  PETER
                                    32-2 Filed 11/27/19    DEPO
                                                        Page 99 12-7-2018-000098
                                                                of 316 PageID #:
                                    7214
                                                                               99


         1    reports that he was responsible for.             In some cases,

         2    you know, our system reporting was not -- was not

         3    such that all that information would be available

         4    to him.     So there would be some things that he would

         5    have to kind of, you know, manually keep track of,

         6    and apparently the appeals outcome is one of those.

         7         Q.      All right.      So if a claim closes, thereby,

         8    it's recovered and thereby the reserve is recovered;

         9    correct?

        10         A.      I guess I would use the term that the

        11    reserve is released.

        12         Q.      The reserve is released.

        13                 And if that claim is reopened, then a

        14    reserve has to be established again; correct?

        15         A.      Yes.

        16         Q.      So in order for Mr. Gillaspie to compile

        17    the reports that he is responsible for, relative to

        18    the actual recoveries compared to the plan, he would

        19    need to know about reopens; correct?

        20                 MS. ZHORDANIA:       Objection.     Calls for

        21    speculation.        Lacks foundation.

        22         A.      Again, Mr. Gillaspie was responsible in

        23    his role for providing a variety of reporting and

        24    metric information, and one of the metrics that we



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 10012-7-2018-000099
                                                                  of 316 PageID #:
                                     7215
                                                                              100


         1    would evaluate on an ongoing basis was the

         2    percentage of claims that reopened, and so, in order

         3    for him to do his job, he needed to know how many

         4    claims reopened.

         5         Q.      Or apparently the claims that may reopen?

         6                 MS. ZHORDANIA:       Argumentative.       Asked and

         7    answered.

         8         A.      I'm not sure.

         9                 MS. ZHORDANIA:       Calls for speculation.

        10         A.      I've answered to the best I can of what

        11    his responsibility was.          I'm not familiar with every

        12    detail of what he did.

        13         Q.      And there's a reply e-mail about

        14    Ms. Shepard's, same day, but after hers from you,

        15    indicating "Please keep me posted on the status of

        16    this claim."

        17                 Do you see that?

        18         A.      Yes.

        19         Q.      Now, since reopening Dr. Biliack's claim

        20    was not recommended, according to the claim file,

        21    why would you want to be kept posted on the status?

        22                 MS. ZHORDANIA:       Foundation.

        23         A.      I don't -- what I see in front of me

        24    doesn't tell me that the recommendation was to not



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 10112-7-2018-000100
                                                                  of 316 PageID #:
                                     7216
                                                                              101


         1    reopen the claim.

         2         Q.      Well, assume with me for purposes of my

         3    question that the claim file does not reflect that

         4    the claim was recommended to be reopened.               With that

         5    assumption, can you tell me why you would want to be

         6    kept posted on the status?

         7                 MS. ZHORDANIA:       Object to lacks foundation

         8    and incomplete hypothetical.

         9                 Go ahead.

        10         A.      You know, I would say that part of my

        11    responsibility was to understand what happened to

        12    claims after a decision was made.             So if a decision

        13    was made to deny a claim, and then an appeal was

        14    submitted, I would want to know what was happening

        15    with that claim.        I would want to know if

        16    subsequently it reopened.          If it did reopen, I would

        17    be curious to know whether it reopened with or

        18    without any new information.

        19                 So if the decision was made to reopen the

        20    claim without any new information, then I would

        21    probably talk to the Director about why that was,

        22    why did our appeals organization, upon their review,

        23    recommend that the claim be reopened, and by

        24    extension, therefore, it shouldn't have been closed,



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 10212-7-2018-000101
                                                                  of 316 PageID #:
                                     7217
                                                                              102


         1    I would want to know that, as it spoke to the

         2    quality of the decision that the DBS and the

         3    Director and the QCC made.

         4         Q.      Do you have a general recollection of what

         5    the size of Dr. Biliack's reserve was?

         6         A.      I have no idea.

         7         Q.      Okay.    If you were to assume that his

         8    claim was approximately $8,900 a month, he was in

         9    his 50s, and it was lifetime benefits, would you

        10    conclude from that that the reserve on his claim,

        11    relatively speaking, would have been significant?

        12                 MS. ZHORDANIA:       Object to "significant" as

        13    vague and also object to the extent it calls for

        14    speculation.

        15                 Go ahead.

        16         A.      I did not have any training in terms of

        17    calculating or even estimating reserve information.

        18    I was the recipient of information from my manager

        19    that provided that information to me.              I did not

        20    have any, again, training in terms of how to

        21    calculate that; and so I would, you know, in answer

        22    to your question, I'm sure that the reserve on

        23    Dr. Biliack's claim was higher than some and less

        24    than others, but I can't quantify it in any way



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 10312-7-2018-000102
                                                                  of 316 PageID #:
                                     7218
                                                                              103


         1    because I don't have that background.

         2         Q.      Well, it doesn't really take training to

         3    get an understanding that the larger the monthly

         4    benefit and the longer the duration, the higher the

         5    reserve, wouldn't you agree?

         6         A.      My understanding is that is accurate as a

         7    general statement, but I'm sure there were other

         8    factors that came into establishing the reserve.

         9                 Again, that was something that was done

        10    outside of the claims organization by our finance

        11    and actuarial folks, and my understanding is that in

        12    addition to the factors you mentioned, which were

        13    the benefit amount and the benefit period, that

        14    there were other factors involved as well, but I

        15    don't have a list of what those are.

        16         Q.      I'm sure.     I'm sure.

        17                 If you had a claim close, and this is a

        18    hypothetical, let's say that the reserve on the

        19    claim was a million and a half dollars and now we're

        20    looking at the possibility that claim may reopen, if

        21    that were to happen, would you agree that would have

        22    a noticeable impact on the actual recoveries to plan

        23    for your group?

        24                 MS. ZHORDANIA:       Objection.     Incomplete



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 10412-7-2018-000103
                                                                  of 316 PageID #:
                                     7219
                                                                              104


         1    hypothetical.       Calls for speculation, and vague as

         2    to "noticeable."

         3                 Go ahead.

         4         A.      Yeah, I was -- I would say it would have

         5    an impact, but, you know, you're asking about one

         6    claim in a vacuum, and so in a given month, there

         7    are, you know, dozens of claims that recover.

         8    There's some number of claims that reopen, and so

         9    it's difficult to state hypothetically what impact

        10    or how noticeable an impact of one claim in a given

        11    month with multiple variables would be.

        12         Q.      Would a large claim with a large dollar

        13    reserve merit your attention any more, any less than

        14    the smallest of claims?

        15         A.      From a reopen perspective?

        16         Q.      From a when you're looking and trying to

        17    know what's happening with your inventory in terms

        18    of recoveries?

        19         A.      I would say that the size of the reserve

        20    on the claim was relevant in terms of oh, enabling

        21    me to help forecast whether my team would -- where

        22    they would be in relation to the plan based on

        23    historical expectations, but the size of the reserve

        24    really did not influence how I looked at the claim



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 10512-7-2018-000104
                                                                  of 316 PageID #:
                                     7220
                                                                              105


         1    or my thought process in reviewing a claim.

         2                 My objective was to review each claim on

         3    its own merits, and, you know, arrive at a decision

         4    or sign off on a decision that reflected the merits

         5    of that case, whether it had a small reserve or

         6    large or medium reserve.

         7         Q.      Well, but wouldn't the size of the reserve

         8    you have interest in, just in terms of the outcome

         9    of the claim and how it's going to impact your

        10    operational metrics?

        11                 MS. ZHORDANIA:       Objection.     Asked and

        12    answered.      Misstates testimony.

        13         A.      Would I have interest in it?

        14         Q.      Yes.

        15         A.      Again, as I tried to state, my interest

        16    would be in relation to how the size of any claim

        17    related to what the monthly plan was and what the

        18    forecasted performance in relation to that plan was.

        19         Q.      I mean it would be true that a smaller

        20    number of claims with larger numbers of reserves

        21    would get to the plan for recovery easier than a

        22    large number of claims and small reserves; correct?

        23    I mean that would follow.

        24                 MS. ZHORDANIA:       Vague.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 10612-7-2018-000105
                                                                  of 316 PageID #:
                                     7221
                                                                              106


         1         A.      It would get to the dollar amount of the

         2    recovery plan sooner, but not to the count plan of

         3    the recovery -- the count aspect of the recovery

         4    plans.

         5         Q.      Meaning the individual claim count, when

         6    you say the count aspect?

         7         A.      Yes.    Yes.    Correct.     Because as we

         8    discussed, the recovery plan that I was provided

         9    with each month included both a claim count and a

        10    reserve release amount.

        11         Q.      Which are dollars?

        12         A.      Yes.

        13         Q.      While I'm asking you about some of these

        14    Dr. Biliack e-mails in his claim file, were you

        15    in -- were you aware at the time it was happening

        16    that after Dr. Biliack's claim was closed, his

        17    counsel had requested a copy of the file?               Were you

        18    aware of that?

        19         A.      I have no recollection of Dr. Biliack's

        20    claim.

        21         Q.      Okay.    I want to ask what your knowledge

        22    about this from a policy perspective is.               The file,

        23    a copy of the file was sent to Dr. Biliack's

        24    counsel, but Unum would not agree to send the



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 10712-7-2018-000106
                                                                  of 316 PageID #:
                                     7222
                                                                              107


         1    surveillance footage that was taken.

         2                 First of all, was there a policy or

         3    practice that you were aware of in that regard?

         4         A.      I don't remember for sure.

         5         Q.      Ultimately Dr. Biliack's counsel was

         6    told -- well, let me back up.           I'll give you this

         7    fact too.      The termination of Dr. Biliack's claim

         8    the letter, the rationale for the termination

         9    included the surveillance, you know, what was

        10    observed on the surveillance.

        11                 Does that change your answer at all in

        12    terms of what the policy or practice may have been,

        13    if you remember, without providing the surveillance?

        14                 MS. ZHORDANIA:       Asked and answered.

        15         A.      No, I still don't recall.

        16         Q.      Okay.    Ultimately Dr. Biliack's counsel

        17    was told if they wanted to see the surveillance,

        18    they would have to somehow gain the capacity to

        19    issue a subpoena to get it.

        20                 Do you have a recollection of if that was

        21    consistent with policy and practice?

        22                 MS. ZHORDANIA:       Foundation.

        23         A.      I don't recall.

        24         Q.      You would know, of course, that in order



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 10812-7-2018-000107
                                                                  of 316 PageID #:
                                     7223
                                                                              108


         1    for a policyholder of Unum to issue a subpoena to

         2    see the videotape of him being surveilled, he would

         3    have to file a lawsuit?

         4                 MS. ZHORDANIA:       Calls for speculation.

         5    Foundation.

         6         Q.      Correct?

         7         A.      I'm not sure really what needs to occur

         8    for a subpoena to be issued.           You know, I have a

         9    basic understanding that it involves, you know,

        10    attorneys and, but as far as the mechanics of

        11    issuing one or what is required to issue a subpoena,

        12    I'm not sure.

        13         Q.      Do you have any knowledge of Biliack to

        14    the extent were you ever asked to sign off on

        15    anything regarding Biliack?

        16         A.      Again, I have no recollection of

        17    Dr. Biliack's file or what involvement I may or may

        18    not have had in it.

        19         Q.      By virtue of Dr. Biliack asking to have

        20    the claim reopened or the decision appealed, in my

        21    understanding, that would not trigger a need for you

        22    to sign off on anything?

        23         A.      His appeal certainly would not have

        24    required me to sign off on anything.             If the



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 10912-7-2018-000108
                                                                  of 316 PageID #:
                                     7224
                                                                              109


         1    Director ultimately made the recommendation to

         2    reopen the claim, then I typically would have been

         3    required to sign off on that decision.

         4         Q.      All right.      So you're not going to have to

         5    sign off unless and until there's a point where

         6    somebody below you is recommending the claim be

         7    reopened, and thereby a reserve would have to be

         8    established again; correct?

         9         A.      Right.     My responsibility was to approve a

        10    recommendation to reopen a file.            If a recommendation

        11    was made to keep the file closed, I would not be

        12    required to sign off on that.

        13         Q.      Okay.    One last question on the issue

        14    about providing surveillance tape and just testing

        15    your memory one last time.

        16                 Do you recall was the decision to provide

        17    an insured surveillance video was it made on a

        18    case-by-case basis as opposed to sort of a

        19    one-policy-fits-all basis?

        20         A.      I'm not sure because that was not

        21    something that I would generally be involved in.

        22    That was something that the Director was responsible

        23    for, and, you know, I imagine that there were

        24    situations where they might have, you know,



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 11012-7-2018-000109
                                                                  of 316 PageID #:
                                     7225
                                                                                110


         1    consulted with our legal department perhaps or their

         2    peers.     I'm not sure, but the decision to or not to

         3    release surveillance information was not something I

         4    would typically be involved in.            So I can't answer

         5    whether it was case by case or more of a general

         6    policy.

         7         Q.      All right.      Elysabeth Wetton was deposed

         8    earlier in the case, and rather than paraphrasing,

         9    let me read this answer to you, if I can find her

        10    here.

        11                 This is at page 248, line 22 of Ms. Wetton's

        12    transcript:

        13                 "QUESTION:      Did you ever express any

        14    concern to Mr. Peter about these financial

        15    expectations that were being put on your unit?"

        16                 "ANSWER:     Just concerns about --"

        17                 "QUESTION:      This doesn't seem right.         I

        18    don't know how we're going to do this, anything

        19    along those lines?"

        20                 "ANSWER:     I mean, I probably did at some

        21    point."

        22                 "QUESTION:      Did you ever get any pushback

        23    from Mr. Peter about this?"

        24                 "ANSWER:     I don't recall -- I don't recall



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 11112-7-2018-000110
                                                                  of 316 PageID #:
                                     7226
                                                                              111


         1    anything specifically for him responding and pushing

         2    back."

         3                 Going to page 250:

         4                 "QUESTION:      Did you ever express to

         5    Mr. Peter that financial outcomes shouldn't play a

         6    part in claims decisions?"

         7                 "ANSWER:     I mean, generally speaking, I

         8    did."

         9                 I had asked you before if you were aware

        10    of anybody ever expressing concern that these --

        11    these recovery expectations or goals might impact

        12    the quality of the fairness of the claims decision,

        13    and you said, I think, you didn't recall that

        14    happening.

        15                 Do you not recall Ms. Wetton raising any

        16    of these concerns?

        17                 MS. ZHORDANIA:       Asked and answered.

        18         A.      I do not.

        19         Q.      If she had asked you that I have some

        20    concern over financial considerations playing a role

        21    in these decisions, what would you have told her?

        22                 MS. ZHORDANIA:       Objection to the extent it

        23    calls for speculation.

        24                 Go ahead.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 11212-7-2018-000111
                                                                  of 316 PageID #:
                                     7227
                                                                              112


         1         A.      I think I would have likely said that, you

         2    know, the historical expectations are based on a

         3    long history of the type of claims in her block of

         4    claims under management, and that, you know, that

         5    they were intended as a guideline.             You know, as I

         6    stated earlier, many businesses have many metrics

         7    that they use to evaluate performance, and a common

         8    way to evaluate performance is based on what's

         9    happened in the past.

        10                 So all things being equal, if the same

        11    types of situations and circumstances exist, if

        12    that -- if those claims yielded whatever number or

        13    recoveries in the past, that it's, you know, on the

        14    surface, reasonable to expect that they would

        15    continue to do so.

        16                 I'd suspect I would have asked Ms. Wetton

        17    if she felt that the -- that the plan expectations

        18    were not achievable for her to help me understand

        19    why that was the case.         So were there aspects of the

        20    claims under her management that would suggest that

        21    some of the circumstances had changed, so that the

        22    historical expectation would not be as valid as we

        23    were told it should be?

        24                 So I would have tried to understand -- I



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 11312-7-2018-000112
                                                                  of 316 PageID #:
                                     7228
                                                                              113


         1    would have delved into her knowledge of her block of

         2    claims and tried to determine whether the inability

         3    to reach the historical plan expectations, if that

         4    was due to the nature of the claims or if it was due

         5    to Ms. Wetton's knowledge or ability or ability to

         6    manage her team, and so forth.

         7                 So I would have just tried to gain a

         8    broader understanding, and if -- if she and if

         9    others continued to express that concern, I probably

        10    would have raised the concern with my manager and

        11    perhaps, you know, we would have gone back to the

        12    finance and the actuarial folks to say something

        13    along the lines that, you know, what your forecasts

        14    are suggesting are not what we're seeing now, and

        15    you know, make people aware of that, so that they

        16    could perhaps, you know, evaluate the historical data

        17    more thoroughly or differently or somehow determine

        18    if any adjustments needed to be made.

        19         Q.      What span of time is the historical

        20    analysis coming from?

        21                 MS. ZHORDANIA:       Calls for speculation.

        22         A.      I don't know.

        23                 MS. ZHORDANIA:       Foundation.

        24         Q.      If Ms. Wetton asked, Mr. Peter, what span



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 11412-7-2018-000113
                                                                  of 316 PageID #:
                                     7229
                                                                              114


         1    of time is this historical information you're

         2    telling me about coming from, your answer would be

         3    the same:      I don't know; correct?

         4         A.      I would say I don't know.          I would say,

         5    you know, my understanding is that the block of

         6    claims that Unum has by virtue of our size and being

         7    a leader in the disability market is very large.

         8    You know, I had been told at one point that the data

         9    we had was second in size only to the Social Security

        10    Administration.       I don't know if that's accurate,

        11    but that's what I was told.

        12                 And so the larger the data that the

        13    assumptions are based on, the more likely it is to

        14    be statistically significant and relevant, but as

        15    far as a particular number of years that it was

        16    based on, I don't know.

        17         Q.      The size of Unum, you said in terms of

        18    number of claims, second only to the Social Security

        19    Administration.       It's fair to say that its -- its

        20    historical analysis just by virtue of the number of

        21    claims, you're dealing with the law of large numbers

        22    here; correct?

        23         A.      I think that was implicit in my answer to

        24    the prior question.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 11512-7-2018-000114
                                                                  of 316 PageID #:
                                     7230
                                                                              115


         1         Q.      Yeah.    I mean you had said earlier on - I

         2    forget the number now - but just for your

         3    organization, the number of active claims tended to

         4    run -- I don't remember now.

         5         A.      I think what I said was a given Director

         6    team might have 250 to 300 claims in their area,

         7    and so if we assume that at a given time I had

         8    six Directors reporting to me, then if my math is

         9    right, that would be 1,500 to 1,800 claims in my

        10    organization, active, open claims.

        11         Q.      And if you've got four Directors, as you

        12    estimated, you'd take that times four; correct?

        13         A.      I think I estimated four AVPs, not

        14    Directors.

        15         Q.      I'm sorry.      I meant AVPs.      And the

        16    actuarial numbers that -- your analysis rationale

        17    that you suggested you had explained to Ms. Wetton,

        18    do you know does that include also beyond IDI

        19    claims?

        20                 MS. ZHORDANIA:       Calls for speculation.

        21    Foundation.

        22         A.      I'm not sure.       My -- I think my

        23    understanding was that there would be a -- that the

        24    analysis or the historical experience would be



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 11612-7-2018-000115
                                                                  of 316 PageID #:
                                     7231
                                                                              116


         1    broken out between individual disability claims and

         2    long-term disability claims, group LTD claims.                As

         3    far as whether they were totally separate or whether

         4    one block informed the other or had -- was combined

         5    in some way, I don't know.

         6         Q.      You don't know.

         7                 What about is it broken out -- is there a

         8    distinction made between own occupation policies

         9    versus modified own occ. versus any occ.

        10         A.      You know, it's possible that that was the

        11    case from --

        12         Q.      I assume it's possible --

        13         A.      -- from an actuarial perspective, but it

        14    was not something that I was provided with.                I never

        15    received any information that broke down the block

        16    of claims into own occ. or not own occ. or any

        17    subdivision of whether or not own occ. existed.

        18         Q.      All right.      And I think you already said,

        19    and whether we're looking historically at claims for

        20    the last two years or last ten years or 20 years,

        21    you don't know; correct?

        22         A.      Correct.

        23         Q.      The explanation to my or the hypothetical

        24    about Ms. Wetton raising some concerns about this



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 11712-7-2018-000116
                                                                  of 316 PageID #:
                                     7232
                                                                              117


         1    approach, it really breaks down, wouldn't you agree,

         2    when you go from data looking at tens of thousands

         3    of claims to somebody dealing with a few dozen

         4    claims, where claim decisions have to be made this

         5    month about Mr. Jones and Mrs. Smith, it's -- here's

         6    my question:      Wouldn't you agree it's not an

         7    apples-to-apples comparison what I'm doing on

         8    Mr. Smith's claim because of your historical

         9    analysis of which you don't even know it's based on?

        10                 MS. ZHORDANIA:       Objection.     Argumentative.

        11    Lacks foundation.

        12           A.    So what is your actual question?

        13           Q.    I would have said the same thing if I were

        14    you.

        15                 (Laughter.)

        16           Q.    Just because -- let's say we understand

        17    the data behind this historical analysis, and

        18    because over tens of thousands of claims over "X"

        19    period of time, there is an average of "Y" recoveries,

        20    a month in the company, that does nothing to inform

        21    me as a Director as to whether the claim in front of

        22    me is fairly paid or fairly denied, wouldn't you

        23    agree?

        24                 MS. ZHORDANIA:       Objection.     Foundation and



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 11812-7-2018-000117
                                                                  of 316 PageID #:
                                     7233
                                                                              118


         1    argumentative.

         2         A.      Looking at what you listed in a vacuum

         3    would not provide that information, but --

         4         Q.      It would be of no help to me, would it?

         5         A.      I can't speculate to what would be of help

         6    to you, but.

         7         Q.      Well, would it be of help to you if you

         8    were making the decision on a person's claim, a

         9    person who says I'm disabled.           I can't work.       I have

        10    no way to generate income to know that well

        11    historically, we have "X" number of recoveries a

        12    month in this huge Unum organization.              Would that be

        13    a help to you on that claim?

        14         A.      Not particularly.        As I stated before, the

        15    objective was to evaluate every claim based on its

        16    own merits, and, in fact, that is, I would say, a

        17    main reason why the DBSs who were responsible for

        18    those claims -- so when you earlier referenced a few

        19    dozen claims, that number is most applicable to a

        20    given DBS, because a given DBS would have, let's

        21    say, 50 claims.       So that's a few dozen.

        22                 The DBSs were not provided with any count

        23    or financial reserve information.             So they performed

        24    their task based on the merits of each claim.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 11912-7-2018-000118
                                                                  of 316 PageID #:
                                     7234
                                                                              119


         1                 So a given Director who has 250 or 300

         2    claims, which is more than a few dozen, is it

         3    helpful for them to know on average how the

         4    demographics and makeup of the block of claims that

         5    they have under their management, I would think it

         6    would be helpful to have an estimate of how that

         7    block as a whole should perform.

         8                 It would not necessarily impact my

         9    decision on the Mr. Jones claim that you asked

        10    about, but over time, I think it's reasonable to

        11    expect that the performance of the claims under my

        12    management as a Director or as an AVP would roughly

        13    approximate what the historical expectations were.

        14         Q.      Well, in terms of numbers we are talking

        15    about the eight to 15 claims on the change in status

        16    field that are expected to close this month, and

        17    Ms. Wetton is talking about your coming around and

        18    talking to her about why certain claims didn't close

        19    that were on that change in status screen from those

        20    eight to 15 claims.

        21                 Do you believe your law of large number

        22    actuarial analysis answer to her is going to be of

        23    help when she says, I don't think financial outcomes

        24    should play a part in these claim decisions?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 12012-7-2018-000119
                                                                  of 316 PageID #:
                                     7235
                                                                              120


         1                 MS. ZHORDANIA:       Objection.     Mischaracterizes

         2    Ms. Wetton's testimony.          Argumentative and compound.

         3                 Go ahead.

         4         A.      Just to clarify, my role in this example

         5    in speaking with Ms. Wetton, I would ask about

         6    claims that she had forecast would recover that

         7    didn't.     I would also ask about claims that

         8    recovered that she hadn't forecast, and the reason I

         9    would do that is because it spoke to her overall

        10    knowledge of her block of claims and so, if she

        11    continually forecast claims to recover, and they

        12    didn't or conversely, she had a lot of claims in her

        13    block that recovered that she hadn't forecasted

        14    would make me question how involved she is in the

        15    claims, how knowledgeable she is about the claims on

        16    her team.

        17         Q.      Mr. Peter, wouldn't you agree that the

        18    actuarial historical analysis should really play no

        19    part in deciding any given claim?

        20         A.      I don't think it does.

        21         Q.      And it should not, would you agree?

        22         A.      I would.

        23         Q.      Right.     Each claim should be handled on

        24    its own merits; correct?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 12112-7-2018-000120
                                                                  of 316 PageID #:
                                     7236
                                                                              121


         1         A.      Yes.

         2         Q.      And if it does or doesn't meet the

         3    actuarial expectations, that's too bad, wouldn't you

         4    agree?

         5         A.      I think as long as the reason it didn't is

         6    appropriate.

         7         Q.      As long as it's fairly handled on its own

         8    merits --

         9         A.      Right.

        10         Q.      -- whether it does or doesn't meet

        11    actuarial merits, that's too bad, would you not

        12    agree?

        13                 MS. ZHORDANIA:       Argumentative.       Asked and

        14    answered.

        15         A.      When you say "too bad" --

        16         Q.      I mean it shouldn't matter.

        17         A.      On a given claim, I would agree.

        18         Q.      All right.      And, yet, this historical,

        19    actuarial analysis is being driven down into the

        20    company at a pretty granular level, correct, while

        21    you were there?

        22                 MS. ZHORDANIA:       Object.     Argumentative.

        23    Misstates prior testimony.

        24         A.      Again, it was driven down to the Director



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 12212-7-2018-000121
                                                                  of 316 PageID #:
                                     7237
                                                                              122


         1    level, and a Director had 250 to 300 claims, so.

         2         Q.      And at the risk of interrupting, and the

         3    Director is the one who is -- has the authority to

         4    sign off on whether a claim's denied; correct?

         5         A.      In part, but it's also the QCC who signs

         6    off on those as well, so it's a dual authority.

         7         Q.      Without going on too much of a side path,

         8    QCCs are not substantively looking at the analysis

         9    of a claim decision; isn't that true?

        10         A.      Not at all.

        11         Q.      Not at all it's not true or not at all

        12    they're not?

        13         A.      It's not true at all.

        14         Q.      They are substantively analyzing whether a

        15    claim was fairly recommended to be denied?

        16         A.      Absolutely.      Their responsibility -- their

        17    main responsibility at least as of the time I left

        18    the company was to review every claim that was sent

        19    to them with a recommendation to deny.              They were

        20    responsible for independently reviewing that claim

        21    from the beginning to the end of the claim file.

        22         Q.      We'll let the QCC's testimony stand on its

        23    own, I guess.

        24                 MS. ZHORDANIA:       Move to strike that comment.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 12312-7-2018-000122
                                                                  of 316 PageID #:
                                     7238
                                                                              123


         1         Q.      The other issue --

         2                 MR. DAWSON:      Yeah, I wouldn't want to read

         3    that to a jury.

         4    BY MR. DAWSON:

         5         Q.      The other issue that comes into play about

         6    your, you know, law of large numbers historical,

         7    actuarial analysis is isn't it necessary to take

         8    into consideration that you're dealing with a closed

         9    block of claims?

        10                 MS. ZHORDANIA:       Object to the preface to

        11    the extent it mischaracterizes witness' testimony

        12    and foundation.

        13                 Go ahead.

        14         A.      The plan information that we were provided

        15    for -- provided with -- excuse me -- was certainly

        16    provided from people and functional areas in the

        17    company who knew that the block of claims was

        18    partially comprised of a closed block.              So I would

        19    assume but don't have personal knowledge that that

        20    was already factored into what they were providing

        21    as far as forecast on what the claim block would

        22    yield in terms of recoveries.

        23         Q.      All right.      To kind of unpack this, by

        24    being a closed block, you don't have new lives coming



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 12412-7-2018-000123
                                                                  of 316 PageID #:
                                     7239
                                                                              124


         1    into this group; correct?

         2                 MS. ZHORDANIA:       Vague.

         3         A.      If you're specifically talking about the

         4    closed block, that's true, but we did --

         5         Q.      Right.     I am.

         6         A.      -- previously say that the -- a given

         7    claim Directors' block was comprised of both closed

         8    and not closed or what Unum called the recently

         9    issued business.

        10         Q.      All right.      Well, let's assume we're

        11    talking about claims like Dr. Biliack's which would

        12    be part of the closed block.           You're aware of that?

        13    You know that Dr. Biliack's claim was comprised of

        14    closed block?

        15         A.      I did not.

        16         Q.      Paul Revere policies issued in 1992, 1993,

        17    own occupation guaranteed renewable, noncancellable,

        18    lifetime benefits, closed block; correct?

        19         A.      Based on --

        20                 MS. ZHORDANIA:       Foundation.

        21         A.      Based on what you just described, just

        22    based on the 1992, '93 time frame, which I did not

        23    previously know, then, yes, it makes sense that that

        24    was part of the closed block.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 12512-7-2018-000124
                                                                  of 316 PageID #:
                                     7240
                                                                              125


         1         Q.      All right.      So if you are going to talk

         2    about the historical analysis of recoveries, you

         3    should be -- one should be talking about the data

         4    relative to the closed block, if we're talking about

         5    this policy; correct?

         6                 MS. ZHORDANIA:       Object to the extent it

         7    calls for expert testimony and foundation.

         8                 Go ahead.

         9         A.      Again, all I can really say is that the

        10    plan information that I was provided monthly did not

        11    break down that between closed block and recently

        12    issued block.       So I presume, again, that the people

        13    providing that information had knowledge of the fact

        14    that the block was comprised of both closed and

        15    recently issued and presumably had knowledge of the

        16    percentage split between the two.

        17         Q.      So you are presuming that the historical

        18    information, which is the basis for the recovery

        19    plan, is factoring in that you have an aging group

        20    of insureds within the closed block; true?

        21         A.      I'm presuming that the people who provided

        22    us with the information, that it was their job to

        23    understand the closed block and the recently issued

        24    block and the various policy provisions and



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 12612-7-2018-000125
                                                                  of 316 PageID #:
                                     7241
                                                                              126


         1    demographics that existed and that that was part of

         2    their role.      That's my understanding of what -- part

         3    of what actuaries do.

         4           Q.    All right.      And you expect with an aging

         5    block, you're going to have increased mortality -- I'm

         6    sorry -- morbidity?

         7                 MS. ZHORDANIA:       Objection.     Calls for

         8    expert testimony.        Foundation.

         9           Q.    Well, you were in underwriting for how

        10    many years, 20 years?

        11           A.    Yes.

        12                 MS. ZHORDANIA:       And foundation.

        13           Q.    It's not within your 30 years of experience

        14    in the company that as you get older, the chances of

        15    becoming sick and disabled go up?

        16           A.    I think that's a fair general statement,

        17    yes.

        18           Q.    Yeah.    And Ms. Wetton knows that this

        19    measure of the actual recovery results compared to

        20    the planned forecast was a factor in how her

        21    incentive compensation was determined; correct?

        22                 MS. ZHORDANIA:       Calls for speculation.

        23                 MR. DAWSON:      Let me reword the question.

        24                 MS. ZHORDANIA:       You said --



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 12712-7-2018-000126
                                                                  of 316 PageID #:
                                     7242
                                                                              127


         1                 MR. DAWSON:      Let me reword the question.

         2    BY MR. DAWSON:

         3         Q.      It is true that the director's measure of

         4    their actual recovery results compared to the

         5    planned forecast was a factor in how the director's

         6    incentive compensation was determined?

         7                 MS. ZHORDANIA:       Asked and answered.

         8         A.      The director's performance in relation to

         9    their actual to expected recoveries was one of many

        10    factors that went into their overall performance

        11    evaluation.      That performance evaluation, in turn,

        12    helped determine the amount of their incentive

        13    compensation.

        14         Q.      All right.      So it's true it was a factor?

        15         A.      One of many.

        16                 MS. ZHORDANIA:       Asked and answered.

        17         Q.      Okay.    And these recovery plans being

        18    provided to Ms. Griffin, from Ms. Griffin to you,

        19    from you to the Director, and then following up with

        20    what the actual are are compared to that, is it your

        21    testimony that -- that that -- that is a practice

        22    that Unum believed, through your eyes, was

        23    appropriate, justified, and I'll leave it at that,

        24    was appropriate and justified?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 12812-7-2018-000127
                                                                  of 316 PageID #:
                                     7243
                                                                              128


         1         A.      The practice of filtering down the

         2    information that you described, you're asking if

         3    that was appropriate.

         4         Q.      Right.     From Vice President to Assistant

         5    Vice President to the Director and then back up what

         6    the actual results are?

         7         A.      I can say that that was the practice

         8    throughout my tenure in the claims organization.

         9    You know, like any large company, we have people

        10    whose responsibility it is to determine what's

        11    appropriate, what's in compliance.

        12         Q.      I'm just asking your opinion.

        13         A.      Yeah, my opinion is that as a recipient of

        14    that information that the company, you know, to do

        15    it for 10 years, my belief is that it was considered

        16    to be perfectly appropriate.

        17         Q.      Why was there such a lack of transparency

        18    with regard to all the communications about these

        19    recovery goals?

        20                 MS. ZHORDANIA:       Foundation.      Argumentative.

        21         A.      I am not sure -- well, I guess could you

        22    clarify what you mean by a "lack of transparency."

        23         Q.      Yeah.    The recovery plan expectations

        24    that were communicated by Ms. Griffin to you, the



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 12912-7-2018-000128
                                                                  of 316 PageID #:
                                     7244
                                                                               129


         1    communication was done orally; correct?

         2         A.      Yes.

         3         Q.      It was done in one-on-one meetings; correct?

         4         A.      Sometimes.

         5         Q.      Most times?

         6         A.      I'll stick with sometimes.

         7         Q.      All right.      I'm -- all right.

         8                 I don't know if you're remembering.             I

         9    don't know if you're giving your best guess, but I

        10    want to make sure is it your testimony that, let's

        11    say, as many times as not, Ms. Griffin would convey

        12    to you the recovery plan expectations in the

        13    presence of other people?

        14         A.      I really don't recall.         Certainly there

        15    were many times when she did it with just her and I

        16    together.      I believe that she also did it when my

        17    peers were present, so other AVPs.             If I had to say,

        18    I would say that more than half the time she did it

        19    with just she and I, but I would say that that

        20    reflected efficiency versus a lack of transparency,

        21    because I didn't need to know the details of

        22    everything for my peers, and they didn't need to

        23    know it for me.

        24         Q.      And you communicated the recovery



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 13012-7-2018-000129
                                                                  of 316 PageID #:
                                     7245
                                                                              130


         1    expectations to your Directors orally; correct?

         2         A.      Yes.

         3         Q.      One-on-one?

         4         A.      Generally.

         5         Q.      Typically behind closed doors?

         6         A.      No.     Actually my office didn't even have a

         7    door.

         8         Q.      What about the pods?

         9         A.      The?

        10         Q.      Pods.     Ms. Wetton said pods.        The doors

        11    were closed.        The door would be closed.

        12         A.      We certainly had meeting rooms with closed

        13    doors, but it -- I didn't seek out rooms with doors

        14    to communicate information.           You know, the way or

        15    the circumstances under which I communicated the

        16    information you're talking about to my Directors

        17    were in conjunction with what we called one-on-one

        18    meetings.      So the purpose of these meetings was

        19    between myself and a given Director.             We would talk

        20    about a variety of topics, relative to the Director,

        21    to their team, to DBS personnel issues, so a variety

        22    of information that, as a general statement, would

        23    be appropriate to talk about behind closed doors.

        24                 So the circumstances of my communicating



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 13112-7-2018-000130
                                                                  of 316 PageID #:
                                     7246
                                                                              131


         1    the recovery expectations were as part of those

         2    meetings, but it -- I guess, I'm distinguishing that

         3    that's the circumstance that resulted in it being in

         4    a room with a door closed as opposed to, you know,

         5    my seeking out a room with a door specifically for

         6    the purpose of communicating the recovery

         7    expectations.

         8         Q.      When Ms. Griffin would give you the

         9    recovery plan expectations orally, you would write

        10    down the numbers; correct?

        11         A.      Yes.

        12         Q.      But you would not keep a written record;

        13    correct?

        14         A.      Keep for what period of time?

        15         Q.      After that month has passed and you're

        16    into the next month; correct?

        17         A.      So the numbers were updated each month,

        18    and so it was generally my practice that as a new

        19    month started I would retain that information

        20    because the information that I had previously been

        21    provided with was now out of date.

        22         Q.      So you wouldn't keep a record; correct?

        23         A.      Not from month to month.          Correct.

        24         Q.      And the Directors were expected to do the



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 13212-7-2018-000131
                                                                  of 316 PageID #:
                                     7247
                                                                              132


         1    same, correct, write down the numbers as you would

         2    give them to them one-on-one and not keep them after

         3    that month passed?

         4                 MS. ZHORDANIA:       Objection.     Argumentative.

         5    Compound and foundation.

         6         A.      I would say that the Directors were

         7    expected to follow the same practice I did, which is

         8    when you receive updated information, there's no

         9    longer a need to keep the outdated information and

        10    so you don't keep it.

        11         Q.      The CIS, the change in status printouts

        12    with reserve dollars that you would get from

        13    Ms. Griffin or her administrative assistant, you

        14    would shred those after each month; correct?

        15         A.      It was our practice to shred any documents

        16    that had any personal or identifying information, so

        17    any document that had a claimant's name or policy

        18    number, or date of birth, Social Security number,

        19    anything that could be, you know, identified to a

        20    particular person, it was our practice, I think the

        21    company's practice that that, you know, the

        22    appropriate way to dispose of that information was

        23    to put it in a bin that was locked and later picked

        24    up for shredding.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 13312-7-2018-000132
                                                                  of 316 PageID #:
                                     7248
                                                                              133


         1         Q.      Well, you keep claim files, don't you?

         2    You don't shred those, do you?

         3         A.      Well, the claim files are electronic.

         4    They were generally for most of my time in the claim

         5    organization, they were not paper files.               They were

         6    electronic files.

         7         Q.      Which raises the question why is this all

         8    verbal?     Why is this not electronic?

         9                 MS. ZHORDANIA:       Why what?

        10                 MR. DAWSON:      Well, what we just have been

        11    talking about.

        12                 MS. ZHORDANIA:       Are you referring to CIS

        13    reports?

        14                 MR. DAWSON:      I am referring to the plan

        15    recovery expectations and the CIS written reports

        16    with reserve information on it.            Well, those are

        17    written; you're shredding, but the recovery plan

        18    expectation reports.         Well, why verbal?

        19                 MS. ZHORDANIA:       Object as to compound and

        20    vague.     I'm not sure I understand the question, but

        21    if you understand it, go ahead.

        22                 THE WITNESS:      I'm not really sure.         I can

        23    only tell you that that's what the practice was

        24    throughout my tenure in claims.            I don't know



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 13412-7-2018-000133
                                                                  of 316 PageID #:
                                     7249
                                                                              134


         1    why -- you know, I can't say for sure why some

         2    information was verbal and some wasn't.

         3    BY MR. DAWSON:

         4         Q.      Well, why did you choose to convey this

         5    information verbally to your Directors?

         6                 MS. ZHORDANIA:       Asked and answered.

         7         A.      I was following the same practice that my

         8    manager took with me.

         9         Q.      Well, were you instructed that that's how

        10    you should do it?

        11         A.      Probably, yes.

        12         Q.      You say you're following the same practice

        13    that your manager had done.           You were following the

        14    practice that you understood to be Unum's policy in

        15    this regard; correct?

        16         A.      I don't know that I --

        17                 MS. ZHORDANIA:       Foundation.

        18         A.      -- had a broader understanding other than

        19    what I was involved with and observed.              So my

        20    manager chose to do it a certain way, to provide the

        21    information a certain way, and I followed suit.                 I'm

        22    not sure what other Vice Presidents did or did not

        23    do, if they did the same thing, if they provided it

        24    in writing, I'm not sure.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 13512-7-2018-000134
                                                                  of 316 PageID #:
                                     7250
                                                                              135


         1           Q.    Well, over your ten years as AVP, did you

         2    ever come to learn or hear of anyone doing it a

         3    different way?

         4           A.    No.    I reported to Ms. Griffin for my

         5    entire tenure, so I never really had exposure to

         6    another Vice President's way of doing it.

         7           Q.    As did other AVPs, they reported to

         8    Ms. Griffin; correct?

         9           A.    Did other AVPs report to Ms. Griffin?

        10    Yes.

        11           Q.    You had something -- you had weekly

        12    tracking documents.        Do you remember those?

        13           A.    I remember that term, yes.

        14           Q.    Yeah, let me ask you about these.

        15                 MR. DAWSON:      We'll mark that.

        16                 (Document was marked Exhibit No. 3 for

        17    identification.)

        18                 MS. ZHORDANIA:       Is this exhibit?

        19                 THE COURT REPORTER:        Three.

        20                 MR. DAWSON:      Three.

        21    BY MR. DAWSON:

        22           Q.    So, if I can find my copy.          Do you have a

        23    Bates label of ten at the bottom of the page number?

        24                 Is there a Bates number?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 13612-7-2018-000135
                                                                  of 316 PageID #:
                                     7251
                                                                              136


         1         A.      I don't see that.

         2         Q.      It's right here.

         3         A.      Oh, okay.     Yes, now I see it.

         4         Q.      And the language right above the Bates

         5    label indicates that "The financial metrics

         6    contained in this report reflect general business

         7    projections based on the company's historical

         8    experience, adjusted for its current business

         9    composition and outlook.          They represent broad

        10    guideposts only, and do not constitute any form of

        11    denial or closure targets.           They may not be used to

        12    determine the outcome of a particular claim, each of

        13    which must be evaluated on its own merits without

        14    regard to any general or specific business plan

        15    projections.        These metrics are intended for those

        16    with managerial accountabilities only and are not

        17    intended for and should not be shared with

        18    Disability Benefits Specialists."

        19                 Did I read that correctly?

        20         A.      I believe so.

        21         Q.      All right.      You would have the weekly

        22    tracking reports available electronically; correct?

        23         A.      Yes.

        24         Q.      And when you would look at the weekly



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 13712-7-2018-000136
                                                                  of 316 PageID #:
                                     7252
                                                                              137


         1    tracking report on the screen, would that language

         2    that I read be obscuring the substance, the data in

         3    the report as it is here?

         4         A.      Would it be obscuring it?

         5         Q.      Obscuring it?       Covering it?

         6         A.      Oh, I see --

         7                 MS. ZHORDANIA:       Foundation.

         8         A.      -- because the type is encroaching on the

         9    report?

        10         Q.      (Nods.)

        11         A.      I don't recall.

        12         Q.      I mean it's more than encroaching on the

        13    report.     It's hiding the last line of information;

        14    correct?

        15                 MS. ZHORDANIA:       Objection.     Argumentative

        16    and foundation.

        17         Q.      Well, I'm not arguing.         I'm asking isn't

        18    that true?

        19         A.      It appears that the statement that you

        20    read is obscuring part of the information on the

        21    report.

        22         Q.      Okay.

        23         A.      I don't -- I presume that when I could

        24    view it online that was not the case, but I have no



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 13812-7-2018-000137
                                                                  of 316 PageID #:
                                     7253
                                                                              138


         1    personal recollection of that.

         2         Q.      Do you believe you would recall if you

         3    went to look at a report and you couldn't read what

         4    you wanted to read because that language was

         5    covering it?

         6                 MS. ZHORDANIA:       Objection.     Argumentative.

         7    Asked and answered.

         8         A.      That makes sense.        I just don't recall.

         9         Q.      When you would view the weekly tracking

        10    document online, was that language that I just read

        11    anywhere on the report?

        12         A.      You know, I presume that this is an

        13    accurate copy of what the report was, so if that

        14    language is appearing on this document, I presume

        15    that it appeared on the screen.            I assume this is a

        16    print of what the screen or the report looked like.

        17         Q.      Do you have a recollection sitting here

        18    today when you would review the weekly tracking

        19    document on the screen of there being that admonishing

        20    language that I read on the document on the screen?

        21         A.      I don't recall one way or the other.

        22         Q.      And then you certainly don't recall if

        23    sometimes it would be in a different place like

        24    overlapping some of the data on the report --



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 13912-7-2018-000138
                                                                  of 316 PageID #:
                                     7254
                                                                              139


         1         A.      Correct.

         2         Q.      -- correct?

         3                 You recall the scorecards, the balance

         4    scorecards?

         5         A.      I remember that term, yes.

         6         Q.      All right.      Do you recall if this same

         7    language was on the scorecards when you looked at

         8    those on the screen?

         9         A.      I don't recall.

        10         Q.      You were expected to be aware of the

        11    actual recovery results, month to month; correct?

        12         A.      Yes.

        13         Q.      And consistency in the results was

        14    preferred; is that fair to say?

        15         A.      Consistency in?

        16         Q.      The recovery results?

        17         A.      As they related to the historical

        18    expectations?

        19         Q.      For month to month.

        20         A.      The expectation was that the achievement

        21    of the results in a given month compared to the

        22    expectations for that month that that ratio or that

        23    percentage would be consistent from month to month

        24    as opposed to the pure results in a given month



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 14012-7-2018-000139
                                                                  of 316 PageID #:
                                     7255
                                                                              140


         1    being consistent from month to month because they

         2    varied from month to month.

         3         Q.      The plan numbers varied from month to

         4    month?

         5         A.      Yes.

         6         Q.      Is it not the case that you were encouraged

         7    to have consistent and predictable operational

         8    results month to month?

         9         A.      Yes, that is true.

        10         Q.      All right.      And part of the operation

        11    results includes the recovery results?

        12         A.      Yes.

        13         Q.      Okay.    And that is because recoveries

        14    affected the report of the company's -- of the

        15    company's monthly and quarterly financial results;

        16    correct?

        17                 MS. ZHORDANIA:       Foundation.

        18         A.      I don't know the details, but my

        19    understanding was that the -- that our performance

        20    in that area was one of many things that impacted

        21    the line of business, and, in turn, the company's

        22    reporting of results, yes.

        23         Q.      All right.      And reporting financial

        24    results, and, you know, the investment community,



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 14112-7-2018-000140
                                                                  of 316 PageID #:
                                     7256
                                                                              141


         1    Wall Street, prefers a degree of predictability?

         2                 MS. ZHORDANIA:       Foundation.

         3         A.      I've been told that, yes.

         4         Q.      All right.      And this concept of consistency

         5    is even part of how your Directors' performance

         6    would be evaluated.        Do you recall that?

         7         A.      Yes.

         8         Q.      This desire for consistency in meeting the

         9    monthly recovery and targets -- well, strike that.

        10                 If you -- if a recovery target has been

        11    made for the current month, and if there are any

        12    additional recoveries that month, that same month,

        13    the recording of those recoveries in Unum's internal

        14    system would sometimes be delayed until the

        15    following month; true?

        16         A.      I would agree with that except to the

        17    extent that you categorized them as targets, and I

        18    would not.

        19         Q.      All right.      If the recovery plan number

        20    had been made for the current month, and if there

        21    are any additional recoveries that month, the

        22    recording of those in Unum's internal system would

        23    sometimes be delayed until the following month; is

        24    that true?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 14212-7-2018-000141
                                                                  of 316 PageID #:
                                     7257
                                                                              142


         1         A.      Yes.

         2         Q.      And that practice would help the paid

         3    recovery metrics to be more consistent from month to

         4    month; correct?

         5         A.      Yes.

         6         Q.      And it would also help with making the

         7    recovery goals and expectations that you had and

         8    Directors underneath you had for the next month;

         9    correct?

        10         A.      If the recording of the recovery in our

        11    internal system was delayed into the following

        12    month, then that would count toward the recovery

        13    plan for that following month.

        14         Q.      Right.     In essence, giving you a head

        15    start on meeting the plan or expectation for the

        16    next month, you'd agree?

        17         A.      Yes.

        18         Q.      Okay.    Now, you were terminated from Unum

        19    in October of 2016?

        20         A.      Yes.

        21

        22

        23

        24



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 14312-7-2018-000142
                                                                  of 316 PageID #:
                                     7258
                                                                              143


         1

         2

         3

         4

         5

         6

         7

         8

         9

        10

        11

        12

        13

        14

        15

        16

        17

        18

        19

        20

        21

        22

        23

        24



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 14412-7-2018-000143
                                                                  of 316 PageID #:
                                     7259
                                                                               144


         1         Q.      All right.      I mean you had been doing it,

         2    delaying the recording under the circumstance we've

         3    discussed, because it would help you meet the

         4    numbers that were given; correct?

         5                 MS. ZHORDANIA:       Objection.     Foundation.

         6         A.      As you stated earlier, we were encouraged

         7    to have consistent and predictable results --

         8         Q.      Yeah.

         9         A.      -- and so one way to help accomplish that

        10    was to smooth out the results from month to month

        11    and so one benefit of delaying the recording of the

        12    claim recovery in our internal system was to help

        13    with that and I want to be clear that I'm speaking

        14    only about the delay in our internal system.                So

        15    there was no delay, no adverse impact to the

        16    claimant in any way.         They received their payment.

        17    They received notification of their claim status.

        18    They received everything that they should have on a

        19    timely basis in realtime.          The only delay was with

        20    respect to how it was recorded in our internal

        21    payment system.

        22         Q.      All right.      With that though, you would

        23    delay the recording in the system that would assist

        24    in meeting the expectations of your superiors;



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 14512-7-2018-000144
                                                                  of 316 PageID #:
                                     7260
                                                                              145


         1    correct?

         2         A.      I think that's a fair statement, yes.

         3         Q.      And this was something that during the

         4    10 years that you were AVP of Claims occurred on a

         5    fairly regular basis; correct?

         6         A.      That's my belief, yes.

         7         Q.      All right.      That practice had been true

         8    throughout your 10 years in the claims organization,

         9    would you agree?

        10         A.      Yes.    Not just by me, but as by peers as

        11    well.

        12         Q.      All right.      How did you originally learn

        13    of the practice?

        14         A.      I can't recall specifically, but I, you

        15    know, I would have to assume that it came from my

        16    manager as far as, you know, I'm starting a new role

        17    and what are the various expectations of that role,

        18    and I think one of the aspects of that would have

        19    been relative to achieving the consistent and

        20    predictable results, and if it was a situation

        21    where -- where in your earlier example, you know, on

        22    the next to last day of the month, the expectation

        23    had been met, that it was acceptable to delay the

        24    recording of the results on the last day of the



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 14612-7-2018-000145
                                                                  of 316 PageID #:
                                     7261
                                                                              146


         1    month to the following month, and that made sense to

         2    me because it was not unlike some things that I had

         3    seen in other areas of the organization.               For

         4    example, when I was in underwriting, you know, the

         5    sales organization would do that sometimes in

         6    respect to their monthly or quarterly or annual

         7    sales expectations, there would be a delay in when

         8    that business was recorded on the books, and so

         9    applying that same logic to my role in claims made

        10    sense to me.

        11         Q.      Okay.    And I'm told I think I have about

        12    nine minutes left, so if you could -- and if you

        13    need long answers to answer my question, then so be

        14    it, but I'd ask that you try to focus just on

        15    answering the question so I could --

        16         A.      Is that nine minutes before the tape

        17    expires or nine minutes before the end of the

        18    deposition?

        19         Q.      Oh, the tape.       Oh, okay.     I thought you

        20    were saying we were out of time.

        21                 MS. ZHORDANIA:       You are out of time.        Nine

        22    minutes.

        23         Q.      I'm glad you asked that question.

        24         A.      Can I vote?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 14712-7-2018-000146
                                                                  of 316 PageID #:
                                     7262
                                                                              147


         1          Q.     I thought that went really fast.

         2          A.     Can I vote on which of the ones it is?

         3    No?     Apparently not.

         4                 MR. DAWSON:      Yeah, I'm so glad we got that

         5    clarified.

         6                 MS. ZHORDANIA:       Whenever it's a convenient

         7    time.

         8                 MR. DAWSON:      Now's a convenient time.

         9                 MS. ZHORDANIA:       Okay.

        10                 MR. DAWSON:      Now that I know that we have

        11    time for a break.        Yeah.

        12                 THE VIDEOGRAPHER:        We are off the record

        13    at 3:19 p.m.

        14                 (Short break taken.)

        15                 THE VIDEOGRAPHER:        We are on the record at

        16    3:29 p.m.

        17    BY MR. DAWSON:

        18          Q.     Mr. Peter, before we took a break, you had

        19    said that you believed that you had learned of the

        20    practice of waiting to record a recovery on the

        21    system the next month under the circumstances we've

        22    already talked about that you believe from your

        23    manager that that's where you would have learned

        24    that; correct?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 14812-7-2018-000147
                                                                  of 316 PageID #:
                                     7263
                                                                              148


         1         A.      I mean that's my recollection.            It

         2    wouldn't be something I would just independently

         3    come up with, so.

         4         Q.      You wouldn't have decided to have just

         5    done that on your own?

         6         A.      No.    Or yes, correct.

         7         Q.      All right.      And the manager at the time we

         8    discussed before was Ms. Griffin; correct?

         9         A.      Yes.

        10         Q.      Did you learn in terms of how to -- how to

        11    do this, and by that, I mean, details of well,

        12    whether should you go ahead and communicate to the

        13    insured that his or her benefits were ending or wait

        14    until the next month to communicate it to them, I

        15    mean were these details explained to you in terms of

        16    how to do this?

        17         A.      I don't recall that being the case, but as

        18    I said earlier, you know, the only delay was in our

        19    own internal system --

        20         Q.      I --

        21         A.      -- so there was no reason to delay anything

        22    with the claimant.

        23         Q.      I understand that you explained how it was

        24    happening, and my question is was it explained to



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 14912-7-2018-000148
                                                                  of 316 PageID #:
                                     7264
                                                                              149


         1    you these kinds of details in terms of how to

         2    execute this or carry it out or were those details

         3    something that you came up with on your own?

         4                 MS. ZHORDANIA:       Vague.

         5         A.      I don't recall, you know, being given

         6    instructions on that level of detail.              I would just

         7    say, you know, the expectation was that we provided

         8    as timely service and decisions as we could, and so,

         9    since we're talking about two separate things, since

        10    one didn't impact the other, meaning the speed at

        11    which we got back to the claimant didn't impact the

        12    internal accounting, if you will, that I don't

        13    recall being instructed, but there would be no

        14    reason to delay anything with the claimant.

        15         Q.      Okay.    When you say you would delay

        16    recording it on the internal system, specifically

        17    what system are you talking about?

        18         A.      I'm talking about our internal claim

        19    payment system that would --

        20         Q.      Is that OMAR or?

        21         A.      I know OMAR was a system.          I honestly

        22    don't remember what the name of the system was.                 I

        23    think it was -- there were different payment systems

        24    I want to say PACE and CAPS were payment systems,



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 15012-7-2018-000149
                                                                  of 316 PageID #:
                                     7265
                                                                              150


         1    but I honestly don't remember what system is

         2    relevant here.

         3         Q.      And when you talked about one of the

         4    things that delaying the recording in the system

         5    would accomplish would be to meet -- help get a jump

         6    start on meeting the recovery plan for the following

         7    month, would it be correct that that would also help

         8    that particular Director get a jump start on meeting

         9    his or her recovery plan for the next month?

        10         A.      Yes.

        11         Q.      Were the Directors aware underneath you

        12    that there would sometimes be a delay in recording

        13    on the internal system the recovery?

        14         A.      They were the ones doing it, so I was not.

        15    I was aware of it, but I didn't personally do

        16    anything with the claim payment systems, so.

        17         Q.      All right.

        18         A.      The fact that the Directors are the ones

        19    who would do that would indicate that they were

        20    aware of it, because they were doing it.

        21         Q.      All right.      Makes sense.

        22                 So was there a -- just an understanding

        23    that amongst the Directors under your supervision

        24    that if the recovery plan numbers had been met at



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 15112-7-2018-000150
                                                                  of 316 PageID #:
                                     7266
                                                                              151


         1    some point in the month, to then delay the recording

         2    of any additional recoveries for that month until

         3    the next month in the system?

         4         A.      I think it was a generally understood

         5    practice, and I think it goes back to what we spoke

         6    about before being the expectation of, you know,

         7    consistent and predictable results and so.

         8         Q.      You're saying that's the reason for the

         9    understanding?

        10         A.      In part, yeah, it's the reason, but it

        11    also is consistent with that in the sense that it

        12    was -- it was known or accepted that -- well, let's

        13    take the example of, you know, let's say that

        14    every -- for the sake of argument, let's say that

        15    every month the recovery expectation was a reserve

        16    release of $2 million, just as a hypothetical.                It

        17    was understood and conveyed through the use of this

        18    consistent and predictable expectation that it was

        19    better to, in that example, achieve $2 million every

        20    month, than it would be to achieve one million this

        21    month and 3 million next month and 4 million the

        22    next month and none the next month.             So the

        23    objective of having it be consistent and predictable

        24    was what was valued.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 15212-7-2018-000151
                                                                  of 316 PageID #:
                                     7267
                                                                              152


         1         Q.      By the company?

         2         A.      That was my understanding, yes, and by my

         3    manager.

         4         Q.      And it would -- there were two aspects of

         5    the measurement of your performance and your

         6    Director's performance that this impacted.               One was

         7    are you having consistent results; correct?

         8         A.      Yes.

         9         Q.      We talked about that actually as in the

        10    performance evaluations consistency and results;

        11    correct?

        12         A.      Yes.

        13         Q.      And the other aspect is and are you -- are

        14    your actual numbers meeting the plan numbers;

        15    correct?     It would impact both of those?

        16                 MS. ZHORDANIA:       Objection.     Foundation.

        17    Misstates prior testimony.

        18                 Go ahead.

        19         A.      I guess I view them as being related, not

        20    two separate things but just two sides of the same

        21    coin.

        22         Q.      Well, or maybe stated differently, if you

        23    are -- if you are meeting one of the measurements,

        24    then you're necessarily meeting the other one.                Is



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 15312-7-2018-000152
                                                                  of 316 PageID #:
                                     7268
                                                                              153


         1    that another way to say it?           If I'm meeting the

         2    measurement that I have consistent -- well, let me

         3    take that back.

         4                 You could have consistent results but

         5    they're falling short of plan; correct?

         6         A.      Sure.

         7         Q.      So you want -- ideally you want to meet

         8    plan expectations and the consistency expectations?

         9         A.      Yes, that's accurate.

        10         Q.      All right.        And so as you believe you

        11    learned this from your manager when you began, did

        12    the Directors learn this underneath you from you?

        13         A.      Probably to some extent, but in many cases

        14    or probably the majority of cases, the Directors who

        15    reported to me had been in that role prior to my

        16    joining the claims organization; so, I don't recall,

        17    you know, instructing them or advising them to do

        18    this so much as it was already part of their

        19    practice because they were already in those roles.

        20         Q.      All right.        And did you have over your

        21    10 years as an AVP in Claims, did you have Directors

        22    come into your -- what would you call your group, an

        23    organization?        A team?

        24         A.      Either.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 15412-7-2018-000153
                                                                  of 316 PageID #:
                                     7269
                                                                              154


         1         Q.      You didn't have a name for it?

         2         A.      I think we called it an AVP team.

         3         Q.      Okay.    Would you have Directors come

         4    into -- I'm sorry -- you had Directors come into

         5    your AVP team who had been working in other AVP

         6    teams?     That's a P.

         7         A.      Yeah, I believe that is true.

         8         Q.      All right.      And those Directors that, you

         9    know, migrated in from other AVP teams, did you ever

        10    have to instruct any of those on this practice of

        11    delaying the recording of a recovery?

        12         A.      I may have.      I don't specifically recall

        13    instructing them, but, again, since it appeared to

        14    be fairly common practice, it didn't seem to be

        15    needed to be instructed.

        16         Q.      All right.      And you mentioned that you

        17    didn't need to instruct the Directors on the

        18    practice because in some instances the Directors had

        19    been in their roles for years before you came in as

        20    AVP in Claims; correct?

        21         A.      Yes.    I don't know if it was years but

        22    some period of time.

        23         Q.      Some period of time, which would tell you

        24    that the Directors had been doing this for some



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 15512-7-2018-000154
                                                                  of 316 PageID #:
                                     7270
                                                                              155


         1    period of time before you came on as AVP; correct?

         2         A.      I think that's a logical assumption.

         3         Q.      All right.      Was there any understanding

         4    that there was a number of claims beyond which you

         5    shouldn't delay recording.           Do you understand what

         6    I'm asking?

         7         A.      No.

         8         Q.      So hypothetically, let's say that

         9    the -- what would be a typical plan recovery number

        10    for your AVP team?

        11         A.      In a given month?

        12         Q.      In a given month.

        13         A.      Let's say 60 claims.

        14         Q.      All right.      Let's say that's your plan

        15    number in a given month, and, in fact, you hit 60

        16    claims, you know, at the halfway point, which means

        17    it looks like this particular month you're going to

        18    be on track to, you know, 90 or 100.             Was there an

        19    understanding that there's a number of claims beyond

        20    which you shouldn't delay recording with that

        21    explanation?

        22                 MS. ZHORDANIA:       Vague.

        23                 MR. DAWSON:      Still?

        24         A.      I guess first I would say, in practice, it



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 15612-7-2018-000155
                                                                  of 316 PageID #:
                                     7271
                                                                              156


         1    didn't happen that, you know, halfway through the

         2    month you were -- you know, it was more --

         3         Q.      Right.     And I was purposely making extreme

         4    examples so you would understand my question.

         5         A.      Yeah, it was more like a day or two before

         6    the end of the month; so, I don't recall there

         7    being -- it sounds like your question is was I

         8    instructed or told that I shouldn't exceed a certain

         9    number of claims?

        10         Q.      For example, yeah.

        11         A.      I don't recall that being the case.

        12         Q.      And same question, and I assume same answer

        13    in terms of dollar amount of reserves?

        14         A.      I guess what I would say again is that

        15    because of the emphasis on consistency and

        16    predictability, there was no benefit to far

        17    exceeding a given month's expectations.              There was a

        18    much greater benefit to carrying that over a couple

        19    of days and having it count toward the following

        20    month.

        21         Q.      All right.      Because it is in the

        22    interest -- it's more in the interest of, for you as

        23    the AVP being evaluated for the Director's performance

        24    evaluations to meet their consistency and plan



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 15712-7-2018-000156
                                                                  of 316 PageID #:
                                     7272
                                                                              157


         1    expectation numbers each month than to exceed them a

         2    lot by one month and then not make them in a month?

         3         A.      Right.     That's the example I was trying to

         4    give before when I said if it was $2 million a

         5    month.     So, again, there was a much greater benefit

         6    to delaying that day or two in carrying it over than

         7    there was to exceeding and not carrying it over; and

         8    again, since there was no detriment to the claimant,

         9    it just seemed to be the practice.

        10         Q.      Was there -- did the practice include --

        11    strike that.

        12                 Did you separately track the actual paid

        13    recoveries for the months in which they happened

        14    even though they may be delayed in being recorded in

        15    the system?

        16                 MS. ZHORDANIA:       Vague.    Foundation.

        17         A.      Can you clarify that.         I just want to make

        18    sure I understand.

        19         Q.      Yes.     So if on the 28th of the month,

        20    you've met the plan number for recoveries, so now

        21    you're going to delay any additional ones to record

        22    in the next month, was there a practice, however,

        23    someplace, somewhere to note the number of

        24    recoveries beyond the 28th in the month that they



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 15812-7-2018-000157
                                                                  of 316 PageID #:
                                     7273
                                                                               158


         1    actually happened?

         2         A.      Not to my recollection, no.

         3         Q.      Okay.    When you were informed of this

         4    practice, was it done in a way as to suggest to you

         5    that you should not disclose that this is happening.

         6    You shouldn't disclose this is happening?

         7         A.      To whom?

         8         Q.      Well, I started to say to others, but we

         9    know you're disclosing it to some Directors.                To

        10    anyone?     When you came to understand this practice

        11    of delaying the recording, did you come to understand

        12    that the expectation is this would not be disclosed

        13    to -- is there anyone you came to understand this

        14    should not be disclosed to?

        15         A.      Really anything to do with the recovery

        16    expectations, be they count or dollar reserve

        17    information or practices surrounding that, the

        18    expectation was that none of that be discussed

        19    directly with the DBSs, and the premise was that,

        20    you know, similar to the wording that you read

        21    earlier about on that report, you know, each claim

        22    should be evaluated on its own merits.              The metrics

        23    were provided as historical guidance and not

        24    intended to be targets and everything else that that



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 15912-7-2018-000158
                                                                  of 316 PageID #:
                                     7274
                                                                              159


         1    wording said.

         2                 So since the DBS's job was to really just

         3    adjudicate their own claims, there was no -- no need

         4    or there was no reason to communicate anything about

         5    any kind of recovery expectations or the methods how

         6    they were accounted for.          There was no reason to

         7    talk to the DBSs about any of that.

         8         Q.      All right.      Well, what about did

         9    Ms. Griffin or anyone else caution you don't let

        10    upper management know that this is going on; for

        11    example, don't let Mr. McGarry know that you're

        12    doing this, that we're doing this?

        13         A.      I don't recall one way or the other her

        14    talking about that.

        15         Q.      Okay.    Or do you recall ever it being

        16    suggested don't let Nancy McGee know that this

        17    practice is happening?

        18         A.      I don't recall either way.

        19         Q.      Over your 10 years as AVP of Claims when

        20    the practice was going on, did you have reason to

        21    assume that management higher than Ms. Griffin were

        22    aware of the practice?

        23                 MS. ZHORDANIA:       Did you say VP of Claims

        24    or AVP of Claims?         I thought you said VP.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 16012-7-2018-000159
                                                                  of 316 PageID #:
                                     7275
                                                                              160


         1                 Oh, okay.     Sorry.

         2         A.      I guess since it seemed to be an accepted

         3    practice, and since the discussion of and

         4    expectations of consistent and predictable results

         5    came not only from Ms. Griffin but from people

         6    higher than her, it made sense to me that they were

         7    well aware of what was going on.

         8         Q.      Was the manner in which you were doing

         9    this delaying the recording of recoveries prior to

        10    your being terminated, was it ever -- were you ever

        11    criticized for it?

        12         A.      Not that I recall.

        13         Q.      Was the practice ever critiqued in any

        14    fashion?

        15         A.      Not that I recall.

        16         Q.      And by that I mean, you know, someone

        17    evaluating your performance that you're doing this

        18    correctly; you're incorrectly?

        19         A.      Not that I recall, and to the contrary, I

        20    would generally receive favorable performance

        21    feedback on the fact that my recovery results were

        22    consistent and predictable from month to month or

        23    quarter to quarter.

        24         Q.      All right.      And you would get that feedback



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 16112-7-2018-000160
                                                                  of 316 PageID #:
                                     7276
                                                                              161


         1    from who or what source?

         2         A.      From my manager, Ms. Griffin.

         3         Q.      All right.      Did anybody else sign off on

         4    your performance evaluations?

         5         A.      Not literally sign off, meaning when I saw

         6    the electronic document, it had only Ms. Griffin's

         7    signature.      Whether she reviewed them with her boss,

         8    that boss didn't literally physically sign off on it

         9    with their signature, but whether they reviewed it

        10    or were aware of it, I can't say.

        11         Q.      All right.      So the goal for consistency

        12    was something that was -- was a goal that was shared

        13    by I think we've discussed the Directors underneath

        14    you; correct?        I don't want to make this a long,

        15    compound question.

        16         A.      It was not shared by them to their team,

        17    but it was shared in that they were aware of it.

        18         Q.      Okay.     What I'm asking is the goal of

        19    having consistent recovery metrics was a goal of the

        20    Directors?

        21         A.      Yes.

        22         Q.      And it was a goal of the Vice President of

        23    Individual Disability Claims as well; correct?

        24         A.      Yes.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 16212-7-2018-000161
                                                                  of 316 PageID #:
                                     7277
                                                                              162


         1         Q.      And it was a goal above her position as

         2    well?

         3                 MS. ZHORDANIA:       Calls for speculation.

         4    Foundation.

         5         A.      I don't know, but I presume so.

         6         Q.      Okay.    It was a goal for other AVPs of

         7    Claims as well?

         8         A.      Yes.    I think the standards that I was

         9    evaluated against were consistent for anybody at the

        10    same level as I was, so any other AVP.

        11         Q.      In the performance evaluations, where one

        12    will see, you know, mention of having consistent

        13    results, would I be correct that that particular

        14    measurement is coming from higher than your

        15    position?

        16                 MS. ZHORDANIA:       Foundation.      Calls for

        17    speculation.

        18         Q.      You are not the one to decide, you know, I

        19    think I'll put in the performance evaluation of my

        20    Directors that we want consistency in the operational

        21    metrics?

        22         A.      Correct.     I did not put that in.

        23         Q.      It came from higher than you?

        24         A.      Yes.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 16312-7-2018-000162
                                                                  of 316 PageID #:
                                     7278
                                                                              163


         1          Q.     Okay.    Was the practice, you know, delaying

         2    recording recoveries until the next month ever a

         3    subject of discussion in any meetings you were at?

         4          A.     It may have been.        I can't recall

         5    specifically whether it was or was not.

         6          Q.     Okay.    You knew that this practice

         7    was -- you were necessarily involved in manipulating

         8    the numbers; correct?

         9                 MS. ZHORDANIA:       Misstates prior testimony.

        10          A.     I don't want to say "manipulated."             I

        11    would say just to be consistent that it was a delay

        12    in recording them on our internal system, so.

        13          Q.     Well, manipulating in the sense that when

        14    this was done, if somebody had looked at the month

        15    of November and saw there's "X" number of recoveries

        16    that month, but, in fact, because of the practice,

        17    there was not "X" number of recoveries, it's in that

        18    sense the number that one's looking at has been

        19    altered, manipulated.         I'm not looking for a

        20    pejorative term.        I just don't know how else to put

        21    it.

        22          A.     Yeah, I guess, manipulated, and maybe this

        23    is my own bias, but manipulated to me implies some

        24    type of intent to deceive, and so that's why I'm



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 16412-7-2018-000163
                                                                  of 316 PageID #:
                                     7279
                                                                              164


         1    objecting to the term; but so it was altered, I

         2    think is a fair term, but not done in such a way as

         3    to deceive anyone, and, in fact, done in a way that

         4    was consistent with how it was generally done.

         5         Q.      All right.      But it was done with an intent

         6    to make the numbers look better in terms of a

         7    consistent -- on a consistent level; correct?

         8                 MS. ZHORDANIA:       Foundation and -- actually

         9    withdraw that objection.

        10                 Go ahead.

        11         A.      It was done with an intent to what I would

        12    say smooth out and help achieve the numbers from

        13    month to month.

        14         Q.      All right.      The intent was to smooth the

        15    numbers over time, the results over time?

        16         A.      In order to achieve the expectation that

        17    they be consistent and predictable.

        18         Q.      Did it strike you or does it strike you

        19    sitting here today that even though you didn't do

        20    this with the intent of I think you said deceiving

        21    anyone or hurting any insured, that it was, in fact,

        22    not an honest accounting of the numbers?

        23         A.      Well, first of all, not only was it not

        24    done with the intent to hurt an insured, but, in



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 16512-7-2018-000164
                                                                  of 316 PageID #:
                                     7280
                                                                              165


         1    fact, it did not hurt an insured.             So I just want to

         2    clarify that.

         3                 But as to whether it was honest or not, I

         4    guess I didn't think a lot about that, and the

         5    example I gave previously that other areas of the

         6    company, such as the sales organization, having

         7    familiarity with them during my time in underwriting,

         8    so I don't know that I'd characterize it as honest

         9    or dishonest as compared to just the way the

        10    business was done.

        11         Q.      Well, and it's the way business was done

        12    in an effort as to meet the expectations and the

        13    plan numbers?

        14         A.      I mean, as I said, it was beneficial to

        15    help achieve the consistent, predictable results to

        16    sometimes carry forward the recovery in the internal

        17    system to the following month.            It was more beneficial

        18    to do that than to not.

        19         Q.      In doing this, you necessarily would know

        20    that the recovery numbers that are added into the

        21    following month -- well, the recovery numbers taken

        22    from the existing month that you're not going to end

        23    up with -- one's not going to be looking at accurate

        24    numbers in terms of when recoveries actually



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 16612-7-2018-000165
                                                                  of 316 PageID #:
                                     7281
                                                                              166


         1    happened; correct?

         2         A.      I would say it's, you know, since the

         3    practice was consistent, then I would argue that

         4    the -- you're looking at when they actually happened

         5    as in when they were actually recorded --

         6         Q.      Right.

         7         A.      -- not when they actually occurred as in

         8    the communication to the insured, but since the

         9    practice was consistent from month to month and over

        10    time, I think it was an accurate representation

        11    because it wasn't a situation where people, you

        12    know, did it one way one month and a different way

        13    the next month and yet another way the third month.

        14    It was done consistently, so the information from

        15    that standpoint was accurate.

        16         Q.      Because consistently on a widespread

        17    basis, it was done the same way over time; is that

        18    what you're saying?

        19         A.      That's what I believe, yes.

        20         Q.      All right.      Can you think of any reason

        21    that upper management would not have known it was

        22    being done?

        23                 MS. ZHORDANIA:       I guess vague as to which

        24    upper management, but go ahead.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 16712-7-2018-000166
                                                                  of 316 PageID #:
                                     7282
                                                                              167


         1           Q.    Fair enough.      And just to be more specific,

         2    can you think of any reason that management at the

         3    Mr. McGarry level and/or above would not know that

         4    this was being done?

         5           A.    Well, as I said, the practice existed

         6    prior to my joining the organization.              Some of the

         7    upper level management that you're speaking of were

         8    upper management in claims during the time that

         9    preceded my joining the organization in 2006.

        10                 While I can't speak to what they did or

        11    didn't know, it would seem unlikely to me and naive

        12    of them to think that this wasn't occurring or that

        13    their messaging of consistent and predictable

        14    results would not, in turn, have the effect that it

        15    had.

        16           Q.    The effect of?

        17           A.    Of delaying the recording of the results.

        18           Q.    To meet the goals and expectations that

        19    were on everybody in the claims operation, and I say

        20    everybody loosely?

        21           A.    Yeah, what I'm saying is it seems unlikely

        22    to me without having personal knowledge of what they

        23    did or didn't know, it seems unlikely to me that

        24    they would not be aware that that was occurring on



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 16812-7-2018-000167
                                                                  of 316 PageID #:
                                     7283
                                                                              168


         1    some basis.      It seems unlikely to me that they would

         2    not understand that the achievement of the

         3    consistent and predictable results was, in part, due

         4    to the fact that that was the objective.               So it

         5    seems naive for me to think that they would have

         6    this expectation and not understand the implications

         7    of how that meant the business was run.

         8         Q.      Right.     So if an expectation or a goal is

         9    placed on the Vice President of Individual Claims,

        10    the AVPs of Claims and the Directors of Claims to

        11    meet the plan results and to do so consistently,

        12    that that goal or expectation, if I'm understanding

        13    what you're saying, is what's driving this reporting

        14    practice?

        15         A.      I'm saying that, in my opinion, it would

        16    be naive for the senior management to not have an

        17    understanding that what they communicated for goals

        18    and objectives did not -- did not result in this

        19    behavior.

        20         Q.      And -- okay.      Okay.    So what's your

        21    understanding as to why you were fired?

        22

        23                 MS. ZHORDANIA:       Asked and answered.

        24                 Go ahead.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 16912-7-2018-000168
                                                                  of 316 PageID #:
                                     7284
                                                                                169


         1

         2

         3

         4

         5

         6

         7

         8

         9

        10

        11

        12         Q.      Do you know was Mr. Zabel, was he within

        13    the Benefits Operation?

        14         A.      As I said, I forget his exact title.             I

        15    want to say he was President of a particular

        16    division, whether that was closed block or what, I'm

        17    not -- I don't recall.

        18

        19

        20

        21

        22

        23

        24



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 17012-7-2018-000169
                                                                  of 316 PageID #:
                                     7285
                                                                              170


         1

         2

         3

         4

         5

         6

         7

         8

         9

        10

        11

        12

        13

        14

        15

        16         Q.      Yeah, I'm going to interrupt you for a

        17    second.     Was that unusual that the internal audit

        18    department would review some --

        19         A.      I would say so.       Yes, it was unusual.

        20         Q.      Okay.

        21         A.      Well, let me clarify.         I suspect that as

        22    part of their normal duties that they routinely

        23    reviewed practices, but I would say what was unusual

        24    was that I was aware of it specifically about in



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 17112-7-2018-000170
                                                                  of 316 PageID #:
                                     7286
                                                                              171


         1    that time frame and what they were doing.               I was not

         2    typically involved or aware of what they were or

         3    weren't doing.

         4

         5

         6

         7

         8

         9

        10

        11

        12

        13

        14

        15

        16

        17

        18

        19

        20

        21

        22

        23

        24                 MS. ZHORDANIA:       All right.     I'm going to



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 17212-7-2018-000171
                                                                  of 316 PageID #:
                                     7287
                                                                              172


         1    instruct you not to answer anything where you were

         2    told by attorneys, your own or one that represented

         3    you, attorneys on behalf of Unum, any advice you

         4    received from attorneys.          So if you can answer that

         5    question without disclosing privileged information,

         6    go ahead.

         7                 MR. DAWSON:      Well, let me understand what

         8    you're instructing him.

         9                 MS. ZHORDANIA:       I'm instructing him not to

        10    disclose privileged information.             I hope that's not

        11    a surprise.

        12                 MR. DAWSON:      Well, what I'm trying to

        13    clarify is part of what you said is don't reveal any

        14    instructions from attorneys.

        15                 MS. ZHORDANIA:       Correct.     Because

        16    privilege would be also held by Unum.              So I'm not

        17    understanding the circumstances under which he was

        18    terminated, but to the extent that any attorney as

        19    part of investigation spoke with him, Unum would

        20    claim privilege as to those as well as anything that

        21    Mr. Peter received from his own attorneys.

        22    BY MR. DAWSON:

        23         Q.      All right.      We don't need to mark this.

        24    This was Exhibit 3, if I'm reading that number



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 17312-7-2018-000172
                                                                  of 316 PageID #:
                                     7288
                                                                              173


         1    correctly, of Mr. Birch's deposition.

         2                 And this is an Upjohn warning that bears

         3    the signature of Timothy Loftus.            Do you see that?

         4         A.      Yes.

         5         Q.      And was Mr. Loftus terminated also?

         6         A.      He was terminated, I believe, after I was

         7    terminated.      So on the day I was terminated, there

         8    were several other people who were also terminated.

         9    I believe Mr. Loftus was terminated after that.

        10         Q.      All right.      Did you have an understanding

        11    that he was terminated for essentially the same

        12    basis?

        13                 MS. ZHORDANIA:       Calls for speculation.

        14         A.      I did not have specific knowledge as to

        15    why he was terminated.         That, again, happened after

        16    I left, and so I'm not sure.

        17         Q.      All right.      Looking at Exhibit 3, which is

        18    an Upjohn warning, were you asked to sign a document

        19    like this?

        20

        21

        22

        23

        24         Q.      Approximately when?        Either how much prior



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 17412-7-2018-000173
                                                                  of 316 PageID #:
                                     7289
                                                                              174


         1    or the date, if you recall it?

         2         A.      It was a few weeks prior.          That's about as

         3    specific as I can get.

         4         Q.      All right.      And at that time, reading this

         5    document, were you interviewed by an attorney for

         6    Unum?

         7                 MS. ZHORDANIA:       I'm going to object and

         8    instruct the witness not to disclose anything that

         9    could potentially be privileged.            Again, I don't

        10    know the circumstances, but I'll leave it up to you

        11    to --

        12         Q.      Well, thus far my question just calls for

        13    a yes or no.        It's not asking for any information.

        14    It's just simply asking were you interviewed by an

        15    attorney for Unum?

        16         A.      Yes.

        17         Q.      Okay.     And was that one attorney or multiple

        18    people at the time?

        19         A.      As far as I recall, it was one.

        20         Q.      And who was the attorney?

        21         A.      I don't remember.

        22         Q.      Was it anybody that you had known

        23    previously?

        24         A.      It was someone whose name I knew but not



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 17512-7-2018-000174
                                                                  of 316 PageID #:
                                     7290
                                                                              175


         1    someone I traditionally worked with.

         2         Q.      Okay.    Was the Upjohn warning that you

         3    signed, did it contain the same four bullet points

         4    as on the one Mr. Loftus was provided here?

         5                 MS. ZHORDANIA:       Foundation.

         6         A.      I certainly recall signing something that

         7    was called an Upjohn warning.           Whether it was

         8    identical to this or not, I don't know.

         9

        10

        11

        12

        13

        14

        15

        16

        17

        18

        19

        20

        21

        22

        23

        24



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 17612-7-2018-000175
                                                                  of 316 PageID #:
                                     7291
                                                                              176


         1

         2

         3

         4

         5         Q.      Okay.     On the same day that you were

         6    terminated, you said there were several other

         7    terminations.        And who were they?

         8         A.      As far as I remember, both of the other

         9    AVPs in claims were terminated.            So I previously

        10    mentioned Holly Crawford and Anthony Scuderi, my

        11    manager Maureen Griffin, and her manager Nancy

        12    McGee.     I believe that's everyone who was terminated

        13    on that day.

        14

        15

        16

        17

        18

        19

        20

        21

        22

        23

        24



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 17712-7-2018-000176
                                                                  of 316 PageID #:
                                     7292
                                                                              177


         1

         2

         3

         4

         5

         6

         7

         8

         9

        10

        11

        12

        13

        14

        15

        16

        17         Q.      Did you seek advice of your own counsel

        18    about it?

        19         A.      Yes.

        20

        21

        22

        23

        24



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 17812-7-2018-000177
                                                                  of 316 PageID #:
                                     7293
                                                                              178


         1

         2

         3

         4

         5

         6

         7

         8

         9

        10

        11

        12

        13

        14

        15

        16

        17

        18

        19

        20

        21

        22

        23

        24



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 17912-7-2018-000178
                                                                  of 316 PageID #:
                                     7294
                                                                              179


         1

         2

         3

         4

         5

         6

         7

         8

         9

        10

        11

        12

        13

        14

        15

        16

        17

        18

        19

        20

        21

        22

        23

        24



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 18012-7-2018-000179
                                                                  of 316 PageID #:
                                     7295
                                                                              180


         1

         2

         3

         4

         5

         6

         7

         8

         9

        10

        11

        12

        13

        14

        15

        16

        17

        18

        19

        20

        21

        22

        23

        24



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 18112-7-2018-000180
                                                                  of 316 PageID #:
                                     7296
                                                                              181


         1

         2

         3

         4

         5

         6

         7

         8

         9

        10

        11

        12

        13

        14

        15

        16         Q.      All right.      I'm going to ask you about a

        17    couple of just miscellaneous things here, so.                One

        18    is you moved over to claims soon after the company

        19    had entered into the Regulatory Settlement

        20    Agreement; correct?

        21         A.      Yes.

        22         Q.      And just to get so whoever might be seeing

        23    the testimony reading it, the Regulatory Settlement

        24    Agreements were entered into in 2004 and 2005.                Does



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 18212-7-2018-000181
                                                                  of 316 PageID #:
                                     7297
                                                                              182


         1    that comport with your memory?

         2         A.      It sounds about right.

         3         Q.      All right.      You go into APV of Claims in

         4    2006; right?

         5         A.      Yes.

         6         Q.      At the time you went into claims, the

         7    claim reassessment process was under way; correct?

         8         A.      Yes.

         9         Q.      Did you have any involvement in the claim

        10    reassessment process?

        11         A.      No.

        12         Q.      The Regulatory Settlement Agreement

        13    required Unum to incorporate certain provisions or

        14    dictates within the agreement; correct?

        15         A.      Can you repeat that.

        16         Q.      Maybe I need a different question.

        17         A.      Okay.

        18         Q.      Let me ask this question:          Were you

        19    involved in any planning discussions about the

        20    incorporation of the RSA findings and agreements

        21    into the claims operation?

        22         A.      No.

        23         Q.      Did you have responsibility for

        24    incorporating any of the RSA findings and agreements



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 18312-7-2018-000182
                                                                  of 316 PageID #:
                                     7298
                                                                              183


         1    into how claims were being handled?

         2         A.      I had responsibility for understanding any

         3    changes that were brought about as a result of the

         4    Regulatory Settlement Agreement in terms of claim

         5    practices, and I was responsible for having a

         6    knowledge of claim practices whether they were

         7    already existing or whether they had changed as a

         8    result of the RSA.        I did not have any involvement

         9    in drafting them.        I was only involved from the

        10    standpoint of being responsible for implementing

        11    them appropriately.

        12         Q.      All right.      So, for example, in 2005,

        13    there was an amendment to the RSA that required

        14    that the company extend significant weight to the

        15    opinions of treating doctors.           Do you know what I'm

        16    referring to?

        17         A.      Yes.

        18         Q.      Did you take any steps to see that that

        19    was happening?

        20         A.      Yes.    That was part of my review of claims

        21    that I was asked to review or to weigh in on.

        22         Q.      Explain what you're saying there.

        23         A.      So you asked if the requirement that Unum

        24    give significant weight to the findings of a



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 18412-7-2018-000183
                                                                  of 316 PageID #:
                                     7299
                                                                               184


         1    claimant's attending physician was something that I

         2    was aware of and put into practice in my review of

         3    claims, and I'm saying that, yes, so if I were

         4    reviewing a claim, and that was a relevant factor

         5    for why I was reviewing it, then I would take that

         6    into account as the RSA and as our claim guidelines

         7    required.

         8         Q.      All right.      Did you take any steps to try

         9    to see that others making decisions on claims were

        10    applying the significant weight amendment language?

        11         A.      Others who reported to me, yes.            Others

        12    who did not report to me, I would not have had

        13    involvement with.

        14         Q.      So Directors that reported to you, what

        15    did you do to try to ensure that they were complying

        16    with the 2005 amendment about significant weight?

        17         A.      I would say primarily two things.             The

        18    first would be, again, if I had occasion to review a

        19    claim as part of my responsibilities, then that, you

        20    know, that would be one of the aspects that I would

        21    look at.     And, secondly, one of the primary functions

        22    of the QCC that we've talked about whose role was to

        23    review claims that the Director was recommending for

        24    denial, one of the important roles of the QCC was to



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 18512-7-2018-000184
                                                                  of 316 PageID #:
                                     7300
                                                                              185


         1    evaluate the recommended decision against the

         2    requirements of the RSA and the company's guidelines

         3    to make sure that they were -- that the decision was

         4    compliant with that, which would include, among

         5    other things, giving significant weight to an

         6    attending physician's decision -- or opinion.                Excuse

         7    me.

         8          Q.     So do you believe that the Director,

         9    Directors underneath you that would be authorizing a

        10    denial or termination of benefits to have the claims

        11    then sent on to the QCC, that those Directors

        12    should, in the first instance, be applying the

        13    significant weight standard of the amendment?

        14          A.     Yes, it was their responsibility to ensure

        15    that the claim was being handled in accordance with

        16    Unum's guidelines and practices, which incorporated

        17    the aspects of the RSA and so the Director was

        18    responsible for ensuring that if it was applicable

        19    to a given claim, that significant weight had, in

        20    fact, been given to the attending physician's

        21    opinion.

        22          Q.     And was the Director responsible for

        23    having the significant weight language from the

        24    amendment in mind as they got back the reports from



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 18612-7-2018-000185
                                                                  of 316 PageID #:
                                     7301
                                                                              186


         1    the OSP and/or the DMO?

         2         A.      I would say yes.

         3         Q.      All right.      Do you know if the on-site

         4    physician and/or the dedicated medical officer would

         5    be charged with being familiar with the significant

         6    weight standard in the amendment?

         7         A.      None of them reported to me, but my

         8    understanding is that they would, in fact, be aware

         9    of that, yes.

        10         Q.      All right.      So the Director would be aware

        11    of it, the OSP and the DMO, and then sort of the

        12    final fail safe would be the QCC, in terms of

        13    signing off of an adverse claim decision; is that

        14    correct?

        15         A.      Right.     I would say that all personnel

        16    handling claims, including all the functions that

        17    you just mentioned, would be expected to have an

        18    awareness of the guidelines and practices and apply

        19    them appropriately.

        20         Q.      They should be aware of it?

        21         A.      That was the expectation.

        22         Q.      One of your on-site physicians, Dr. Philbin,

        23    testified that he was unaware of the RSA 2005

        24    amendment language.        He testified in June 2015 to



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 18712-7-2018-000186
                                                                  of 316 PageID #:
                                     7302
                                                                              187


         1    that effect.      Would that surprise you?

         2                 MS. ZHORDANIA:       Objection.     Misstates

         3    Dr. Philbin's testimony and argumentative.

         4                 Go ahead.

         5         A.      It would surprise me that Dr. Philbin or

         6    any company physician involved in claims was not

         7    aware of the RSA language.

         8         Q.      Was there concern in the company with the

         9    impact that literal compliance with the 2005

        10    significant weight amendment would have on claims

        11    decisions?

        12         A.      I don't know.

        13         Q.      You were not aware of any concern?

        14         A.      Correct.     So I -- if you're asking was

        15    there concern, I don't know.           I was not aware of

        16    concern or none was expressed to me that I recall.

        17         Q.      When you came in to claims in 2006 and had

        18    responsibility for -- I'm sorry.            I forget how you

        19    worded it, but implementing the RSA standards in the

        20    claims handling, did -- well, did you actually see

        21    the documents, the Regulatory Settlement Agreement

        22    documents?

        23         A.      I don't know if I saw the actual RSA

        24    documents as opposed to just seeing the claim



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 18812-7-2018-000187
                                                                  of 316 PageID #:
                                     7303
                                                                               188


         1    guidelines and practices and any revisions that were

         2    a response to the RSA.         I don't recall if I saw the

         3    actual RSA document.

         4         Q.      Well, for example, I mean, did you become

         5    aware that Unum, you know, essentially had gotten in

         6    trouble with the various Departments of Insurance

         7    for unfair claims practices?

         8         A.      So the settlement agreement, the regulatory

         9    settlement agreement and the allegations of unfair

        10    practices occurred prior to my joining claims --

        11         Q.      Right.

        12         A.      -- and so I had an awareness that those

        13    were the allegations.         I had an awareness that the

        14    company had entered into this agreement.               Whether

        15    the company admitted or not the allegations, I don't

        16    know.

        17         Q.      Do you know the company was fined?

        18         A.      I'm aware that there was a fine, yes.

        19         Q.      Okay.    Are you aware that the Multistate

        20    Market Conduct Examination included findings that

        21    Unum was, for example, ignoring evidence that

        22    supported payment of a claim?

        23                 MS. ZHORDANIA:       Foundation.

        24         A.      I know that there were various allegations



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 18912-7-2018-000188
                                                                  of 316 PageID #:
                                     7304
                                                                              189


         1    related to claim handling practices, but not

         2    specifically what they were or not specifically

         3    that.     So that could have been one of the allegations.

         4    I just don't know.

         5         Q.      Do you recall of one of the allegations

         6    being Unum not giving appropriate weight to Social

         7    Security findings of disability?

         8         A.      I don't recall that being one of the

         9    allegations, but it's logical to me that if that was

        10    a change in practice that was implemented after the

        11    RSA, where it was stipulated that now significant

        12    weight had to be given to the Social Security

        13    Administration findings, it makes sense to me that

        14    that would have been one of the allegations.

        15         Q.      Sorry.     I'm not understanding that.          You

        16    say that if that was a change in practice that was

        17    implemented after the RSA.           Do you know was it a

        18    change in practice implemented after the RSA?

        19                 MS. ZHORDANIA:       Foundation.

        20         A.      I believe it was, yes.

        21         Q.      Okay.    And do you know that the Multistate

        22    Conduct Examination was critical of Unum not using

        23    independent medical examinations when an on-site

        24    doctor disagreed with an attending physician?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 19012-7-2018-000189
                                                                  of 316 PageID #:
                                     7305
                                                                              190


         1         A.      I have some vague knowledge that that was

         2    the case but not the specifics.

         3         Q.      Did you have input into what sort of the

         4    general policy would be on your AVT team -- AVP team

         5    in terms of when IMEs would be used and when they

         6    wouldn't?

         7         A.      Typically, no.        That was a decision that

         8    was made at the time of the review by the OSP or

         9    on-site physician.

        10         Q.      Whether a claim is going to recover, the

        11    on-site physician will have a significant amount to

        12    do with that, would you agree?

        13         A.      Whether a claim recovers?

        14                 MS. ZHORDANIA:        Vague.

        15         Q.      Right.

        16         A.      I guess just to clarify, I would say that

        17    whether a claim is denied or not.

        18         Q.      Denied or terminated?

        19         A.      Yes.     Because there are other types of

        20    recoveries that people recover on their own and go

        21    back to work.

        22         Q.      All right.        I thought those were

        23    resolutions, but anyway.

        24         A.      Yeah.     Okay.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 19112-7-2018-000190
                                                                  of 316 PageID #:
                                     7306
                                                                              191


         1         Q.      So if there's going to be an adverse

         2    decision on a claim?

         3         A.      And if the reason is medically related,

         4    which is generally the case, then, yes, the OSP

         5    would have significant involvement in that.

         6         Q.      And in terms of being accountable or

         7    having responsibility for meeting the recovery plan,

         8    did you have any influence over what the OSPs were

         9    doing?

        10         A.      No, not really.       I might have influence

        11    over how they might prioritize their work.               In other

        12    words, if there would be occasion where, let's say,

        13    a particular claimant was especially adamant that

        14    they wanted a decision as soon as possible and

        15    might -- that might prompt me to contact the OSP and

        16    ask if he could -- he or she could prioritize that,

        17    but I didn't have any influence with regard to their

        18    decision.

        19         Q.      OSPs would sometimes partner with or shadow

        20    someone in claims management.           Are you aware of

        21    that?

        22         A.      No.

        23                 MS. ZHORDANIA:       Vague.    Foundation.      And,

        24    Steve, can I just ask you how much longer do you



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 19212-7-2018-000191
                                                                  of 316 PageID #:
                                     7307
                                                                              192


         1    think you're going to be.          I want to text my

         2    secretary.

         3                 MR. DAWSON:      It's a fair question.         I

         4    think I'm down to one area.

         5                 MS. ZHORDANIA:       Okay.

         6                 MR. DAWSON:      I'm going to guess 15 minutes.

         7                 MS. ZHORDANIA:       Okay.    Thanks.

         8                 MR. DAWSON:      What time is it?

         9                 MS. ZHORDANIA:       4:34.

        10                 THE VIDEOGRAPHER:        What time is it?

        11                 MS. ROSENTHAL:       4:30.

        12                 MR. DAWSON:      Okay.

        13    BY MR. DAWSON:

        14         Q.      You mentioned that you could have some

        15    input, I believe is what you said, with the OSP

        16    about maybe prioritizing, getting to certain claims

        17    sooner than others; is that correct?

        18         A.      Yes.

        19         Q.      Could you do that with regard to claims

        20    that were on the change in status list where their

        21    status was expected to change to recovery?

        22         A.      I could have, but I don't recall doing it.

        23         Q.      Okay.    Do you know if anyone did or had

        24    the option to let an OSP know to prioritize such



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 19312-7-2018-000192
                                                                  of 316 PageID #:
                                     7308
                                                                              193


         1    claims?

         2         A.      It's possible.       I'm not sure.

         3         Q.      Okay.    Switch gears for a moment.           Is it

         4    correct that the claim file in a claim should reflect

         5    all pertinent, relevant activity that's done on a

         6    claim?

         7         A.      Yes.

         8         Q.      And, in fact, you know that's typically

         9    required by most Departments of Insurance?

        10         A.      I didn't know that, but that makes sense.

        11         Q.      All right.      And you agree that's something

        12    that everyone should know and should do who's

        13    working on a claim to document pertinent activities?

        14         A.      Yes.

        15         Q.      And would you expect that would be no less

        16    true for on-site physicians or DMOs who are working

        17    on a claim file?

        18         A.      I think it would equally apply to anyone

        19    involved in the claim.

        20         Q.      Okay.    And it is the case, it is the

        21    practice that what is given to an on-site physician

        22    to review on a claim, that itself is documented;

        23    correct?

        24                 MS. ZHORDANIA:       Incomplete hypothetical.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 19412-7-2018-000193
                                                                  of 316 PageID #:
                                     7309
                                                                              194


         1    Foundation.

         2          Q.      What records that they're asking -- being

         3    asked to review or that they're being given?

         4          A.      I mean I think there's some.          I don't

         5    recall exactly what a DBS might put in their referral

         6    to the OSP, but I would think that the OSP is

         7    expected to review anything pertinent to the medical

         8    decision they're being asked to weigh in on.

         9          Q.      All right.     And you would expect that

        10    anything that is being provided to the OSP to review

        11    for a claim, one could pick up the file and see what

        12    those things are?

        13                  MS. ZHORDANIA:      Foundation.

        14          A.      Right.    Again, as far as what's provided

        15    to the OSP, my understanding is that the file is

        16    provided to the OSP, not just particular parts of

        17    it.     So by that anything that's in the file, which

        18    we've established should be anything pertinent or

        19    relevant, the OSP should have access to.

        20          Q.      All right.     And then the OSP will do a

        21    report based upon their -- based upon what they've

        22    done.      Let me leave it at that.        Correct?

        23          A.      They will provide a written response,

        24    summarizing their review and their findings and



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 19512-7-2018-000194
                                                                  of 316 PageID #:
                                     7310
                                                                              195


         1    their opinion on the case.

         2         Q.      All right.      For example, I've reviewed

         3    doctor so and so's records and the specialist

         4    records and?

         5                 MS. ZHORDANIA:       Foundation.

         6         A.      I think that would be fairly common, yeah.

         7         Q.      Okay.    And so I guess what I'm asking is

         8    what the OSP actually then looks at in his or her

         9    review, that should be -- will be documented in the

        10    file; correct?

        11                 MS. ZHORDANIA:       Foundation.      Asked and

        12    answered.      Incomplete hypothetical.

        13         A.      You asked if what they review should be

        14    documented?

        15         Q.      Yes.

        16         A.      In other words --

        17         Q.      In their report.        Here's what I looked at.

        18    Here's my answer to your questions, and here's my

        19    opinion.

        20         A.      I think generally, yes, I can't say for

        21    sure that every single document or piece of paper

        22    that the OSP looks at would be listed in their

        23    report, but the expectation would be that they

        24    review everything pertinent to the medical situation,



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 19612-7-2018-000195
                                                                  of 316 PageID #:
                                     7311
                                                                              196


         1    but they may not list every test result that they

         2    look at or every finding or.

         3         Q.      Would you agree that everything they look

         4    at that is material to their opinions and conclusions

         5    would be -- should be listed in their report?

         6                 MS. ZHORDANIA:       Asked and answered.

         7    Foundation.      Incomplete hypothetical.

         8         A.      Again, I would expect that they at least

         9    generally summarize the material they looked at.

        10    So, for example, if they looked at 100 pages of a

        11    medical report that contained, you know, 60 pages of

        12    narrative and 40 pages of test results, I would not

        13    expect that they would individually list every EKG

        14    or X-ray or MRI or whatever the case may be, but I

        15    would expect that they would indicate that they

        16    have, in fact, reviewed the entire file, inclusive

        17    of the various test results.

        18         Q.      All right.      And in speaking of that and

        19    what they have reviewed should be within the file;

        20    correct?

        21                 MS. ZHORDANIA:       Objection.     Foundation.

        22    Incomplete hypothetical.

        23         A.      The claim file should contain anything

        24    that's pertinent or relevant to the claim; so, they



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 19712-7-2018-000196
                                                                  of 316 PageID #:
                                     7312
                                                                              197


         1    should be reviewing everything that's in the claim

         2    file, and I don't see what -- I can't think of what

         3    they might be reviewing that isn't in the claim

         4    file.

         5         Q.      All right.      But certainly if they're

         6    reviewing something that's not in the claim file

         7    that's pertinent, you know, comment should be made

         8    somewhere, so somebody picking up that file knows

         9    that; correct?

        10                 MS. ZHORDANIA:       Objection.     Asked and

        11    answered.      Foundation.     Incomplete hypothetical.

        12         A.      If that were the case, I guess that's

        13    true, but, again, I can't think of an example of

        14    something that they would be reviewing that isn't

        15    already in the file.

        16         Q.      Well, for example, if the OSP -- OSPs will

        17    often review surveillance video footage; correct?

        18         A.      Yes.

        19         Q.      And the surveillance footage is part of

        20    the file; correct?

        21         A.      It is.     I want to say that, you know,

        22    because it's a physical sometimes a physical disk or

        23    whatever, that sometimes it was kept maybe

        24    separately, but there was reference in the claim



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 19812-7-2018-000197
                                                                  of 316 PageID #:
                                     7313
                                                                              198


         1    file to its existence.

         2         Q.      That's what I mean whether there's a link

         3    to get to it or a reference that there's surveillance

         4    video, so somebody knows whatever file cabinet

         5    they're kept in, that the file is self-contained

         6    enough to at least convey that; correct?

         7         A.      Yes.

         8         Q.      Okay.    If an OSP is going to review a

         9    prior claim of an insured's from 20 years earlier,

        10    should there be either a reference to that fact by

        11    the OSP or should that prior claim information now

        12    be part of this claim file?

        13                 MS. ZHORDANIA:       Foundation.      Incomplete

        14    hypothetical, and I also renew my objection

        15    regarding a former employee whose testimony would

        16    not be binding on defendants on this subject matter.

        17                 Go ahead.

        18         A.      I don't think an OSP reviewing a prior

        19    claim file would be specifically listed in the

        20    documents that they reviewed, but what I would

        21    expect, what typically occurred, I believe, is that

        22    I have mentioned earlier that the claim files were

        23    electronic as opposed to paper, and so typically

        24    what would happen is that the prior claim file, so,



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 19912-7-2018-000198
                                                                  of 316 PageID #:
                                     7314
                                                                              199


         1    in your example, the 20-year old claim file, an

         2    electronic photocopy would be included in the

         3    current claim file and become part of that file.

         4         Q.      All right.      And does it happen sometimes

         5    that in a current claim, an older file that was

         6    closed years earlier might be retrieved for whatever

         7    relevant information in the current claim?

         8         A.      I would say more often than not if there

         9    are prior files or prior claims, those should be

        10    reviewed and incorporated into the current claim.

        11         Q.      All right.      And, again, if one picks up

        12    the claim file, they can see that that was done?

        13         A.      That should be the case, yes.

        14         Q.      Okay.

        15         A.      There might be some exceptions, but

        16    generally, yes.

        17         Q.      All right.      We had testimony yesterday

        18    from the OSP on Dr. Biliack's claim that he had

        19    reviewed a prior claim of Dr. Biliack's from many

        20    years ago, 18 actually.          Again, if that was true,

        21    consistent with your testimony, you should see

        22    reference somehow of that in the file?

        23                 MS. ZHORDANIA:       Objection.     Mischaracterizes

        24    Dr. Philbin's testimony and calls for speculation.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 20012-7-2018-000199
                                                                  of 316 PageID #:
                                     7315
                                                                              200


         1    Lacks foundation.

         2                 Go ahead.

         3         A.      I would not necessarily expect the OSP to

         4    have listed, itemized that he reviewed the prior

         5    file, but I would expect that a copy of the prior

         6    file generally be included in the current claim

         7    file, and therefore, since the expectation is that

         8    the OSP review any pertinent medical information,

         9    that by extension, the pertinent medical information

        10    in the 18-year-old claim file should be included as

        11    well?

        12         Q.      All right.      If the OSP chooses to review

        13    surveillance from the 18-year-old claim file and

        14    believes that the surveillance from 18 years earlier

        15    is material or pertinent to the OSP's opinions,

        16    would you agree there should be reference to the

        17    fact that that has happened?

        18                 MS. ZHORDANIA:       Incomplete hypothetical.

        19    Calls for speculation.

        20                 Go ahead.

        21         A.      Same answer as I gave previously that I

        22    would not necessarily expect the OSP to list that as

        23    something that they reviewed.           They may or may not,

        24    but I would expect that that information be either



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 20112-7-2018-000200
                                                                  of 316 PageID #:
                                     7316
                                                                              201


         1    included in or referenced in the current claim file.

         2         Q.      So to understand your answer, you're

         3    saying that you would expect that the prior

         4    surveillance be part of the current claim file;

         5    correct?

         6                 MS. ZHORDANIA:       Same objection.

         7         A.      If it was relevant, yes.

         8                 MS. ZHORDANIA:       Same objection.

         9         Q.      Okay.    Though you might not expect the OSP

        10    if he has reviewed the surveillance to note that he

        11    had reviewed the surveillance?

        12         A.      Correct.

        13         Q.      If the OSP reviewed the prior surveillance

        14    and in doing so, influenced his opinion on the

        15    current claim, would you not then expect the OSP to

        16    note that as part of his review?

        17                 MS. ZHORDANIA:       Objection.     Asked and

        18    answered.      Incomplete hypothetical.         Foundation.

        19    Lacks foundation.

        20         A.      I'm not sure, but I think it's reasonable

        21    that if the OSP is relying on the prior surveillance

        22    as a significant part of the rationale for his or

        23    her decision, that there be some reference to it,

        24    but I don't know if that's required.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 20212-7-2018-000201
                                                                  of 316 PageID #:
                                     7317
                                                                              202


         1         Q.      Well, wouldn't it especially be important

         2    if the OSP is relying upon the prior surveillance as

         3    part of his rationale for his decision that it be

         4    noted somewhere because the next step is a DMO is

         5    going to review what the OSP has done and decide

         6    between the OSP's rationale and the treating

         7    doctor --

         8                 MS. ZHORDANIA:       Objection.

         9         Q.      -- correct?

        10                 MS. ZHORDANIA:       Lacks proper foundation

        11    and compound also and assumes facts not in evidence.

        12                 Go ahead.

        13         A.      I'm sorry.      Could you repeat that.

        14         Q.      Yeah.    So if an OSP concludes that an

        15    insured's restrictions and limitations are not

        16    supported, then before that there's an adverse

        17    decision on that claim, under the current -- or the

        18    practice at Unum at least when you were last there,

        19    that would go to a DMO for review first; correct?

        20         A.      My recollection is sometimes a DMO and

        21    sometimes an independent medical examiner.

        22         Q.      One or the other?

        23         A.      Right.

        24         Q.      If it goes to a DMO to review the OSP's



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 20312-7-2018-000202
                                                                  of 316 PageID #:
                                     7318
                                                                                203


         1    decision, what's your understanding of what the

         2    DMO's doing?        What are they being asked to do?

         3           A.       They're being asked to review all the

         4    pertinent information in the claim and make a

         5    decision as to whether the OSP's decision or -- is

         6    appropriate.        Typically the DMO has a -- well, maybe

         7    I shouldn't say typically.           Often the DMO has a

         8    higher level of expertise in a particular medical

         9    specialty that is in question for the claim.                So,

        10    whereas, the OSP might be more of a generalist,

        11    let's say, the DMO many times is a specialist in a

        12    certain area, whether that's, you know, orthopedic

        13    or cancer or whatever medical discipline we want to

        14    say.        So the DMO would be expected to use his or her

        15    expertise to indicate whether they agree with the

        16    recommendation made by the OSP.

        17           Q.       All right.   And in doing so, the DMO would

        18    necessarily need to know what was it the OSP was

        19    looking at and relied upon for his or her opinion or

        20    do you agree?

        21                    MS. ZHORDANIA:    Foundation.      Incomplete

        22    hypothetical.

        23           A.       Again, my understanding is that the DMO is

        24    responsible for reviewing the file and the



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 20412-7-2018-000203
                                                                  of 316 PageID #:
                                     7319
                                                                              204


         1    information contained in it.           I don't think that the

         2    DMO should be limited to only what the OSP lists as

         3    what they reviewed.        I think that's a helpful

         4    guidance and provides some information, but I don't

         5    think it should be considered all inclusive.

         6         Q.      And I didn't mean to suggest that.             Just

         7    the opposite and that is that the DMO should start

         8    with at least what the OSP had.            Would you agree

         9    with that?

        10                 MS. ZHORDANIA:       Asked and answered.

        11         A.      I'm not sure what their process was as far

        12    as what they started with, but I would say that, you

        13    know, presumably the OSP is reviewing all the

        14    pertinent information in the file, whether it be

        15    medical or surveillance.          It's my understanding it

        16    is the DMO's responsibility to do the same thing and

        17    conduct their own review.

        18         Q.      Stated differently, if the OSP had the

        19    whole file available to him, the DMO should have the

        20    whole file available to him or her?

        21         A.      Yes.    That was the practice.

        22         Q.      Okay.    If the OSP had prior surveillance

        23    available to him, the DMO should have the prior

        24    surveillance available to him or her?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 20512-7-2018-000204
                                                                  of 316 PageID #:
                                     7320
                                                                              205


         1         A.      Yes.

         2         Q.      Okay.    In the claim file, this claim

         3    file -- and I had hard copies before I lost

         4    them -- this is Bates 415.

         5                 MS. ROSENTHAL:       Yeah.

         6         Q.      In fact, you have the claim file there.

         7    If you find 415.

         8                 THE WITNESS:      Which one am I looking at?

         9    The bottom?

        10                 MS. ZHORDANIA:       Yes.

        11                 THE WITNESS:      415.

        12                 MS. ZHORDANIA:       Mm-hmm.

        13                 THE WITNESS:      Okay.

        14    BY MR. DAWSON:

        15         Q.      You see at the top it says "Claim

        16    Document"?

        17         A.      Yes.

        18         Q.      And it's a "Note to File."          The note says,

        19    "I requested claim 001 (both policies).              We paid

        20    benefits on claim 001 for the period of 2/4/98 to

        21    5/5/2000, less 90-day EP," elimination period.

        22                 Do you see where I'm referencing?

        23         A.      Yes.

        24         Q.      "However, I did get a call from Cindy



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 20612-7-2018-000205
                                                                  of 316 PageID #:
                                     7321
                                                                              206


         1    Boucher in Records Operations.            Cindy advised that

         2    the insured's prior claim file was destroyed as it

         3    has been over seven years old."

         4                 Do you see that?

         5         A.      Yes.

         6         Q.      If at a later time in the handling of

         7    Dr. Biliack's claim in 2015 this prior claim file is

         8    searched for again and is found and is going to be

         9    used, would you expect there to be some sort of

        10    comparable note reflecting that?

        11                 MS. ZHORDANIA:       Calls for speculation.

        12         A.      I don't think so.        I would expect since

        13    the normal course of events is that the prior file

        14    is included, I'm not surprised to see a notation

        15    when that's not the case, but I might be surprised

        16    to see a notation when what is normally the case is

        17    the case.

        18                 So in other words, you document an

        19    aberration to a practice, not the practice itself.

        20         Q.      You would expect the older file to be

        21    included in the current file if the older file is

        22    found; correct?

        23                 MS. ZHORDANIA:       Incomplete hypothetical.

        24    Calls for speculation.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 20712-7-2018-000206
                                                                  of 316 PageID #:
                                     7322
                                                                              207


         1         A.      If the older file is found -- and just to

         2    clarify, I'm not a records retention expert, but

         3    there are people at the company who are who

         4    stipulate and determine how long records should be

         5    kept.     The seven-year time frame rings a bell as

         6    something that is a generally accepted not only Unum

         7    practice but probably industry, and I suspect there's

         8    some relevance to what insurance departments expect,

         9    but in any event, if a prior file exists and can be

        10    found, since some of the older files are paper, then

        11    that file should be incorporated into the current

        12    claim file, either by virtue of an electronic copy

        13    or virtue of a reference to a paper file that exists

        14    and is accessible.

        15         Q.      All right.      So the prior file, you would

        16    expect, would be incorporated into the current file,

        17    and the current file is going to reflect that either

        18    by virtue of there's the prior file or reference to

        19    the prior file.       Am I understanding correctly?

        20         A.      Yes.

        21         Q.      And that would include if you were going

        22    to incorporate include surveillance from the

        23    18-year-old claim, either the surveillance should be

        24    there, or there should be a reference of the



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 20812-7-2018-000207
                                                                  of 316 PageID #:
                                     7323
                                                                              208


         1    surveillance just as there is for the current

         2    surveillance?

         3                 MS. ZHORDANIA:       Calls for speculation.

         4          A.     Generally, I think that makes sense.

         5                 MR. DAWSON:      Your turn?

         6                 MS. ZHORDANIA:       Do you need a break?

         7                 THE WITNESS:      How long are you going to

         8    be?

         9                 MS. ZHORDANIA:       Probably longer than

        10    30 minutes.

        11                 THE WITNESS:      A break sounds good.

        12                 MS. ZHORDANIA:       Okay.

        13                 THE VIDEOGRAPHER:        We are off the record

        14    at 4:57 p.m.

        15                 (Short break taken.)

        16                 THE VIDEOGRAPHER:        We are on the record at

        17    5:04 p.m.

        18                           CROSS-EXAMINATION

        19    BY MS. ZHORDANIA:

        20          Q.     Mr. Peter, I don't know if you were asked

        21    this before, but do you understand you are

        22    testifying under oath today?

        23          A.     Yes.

        24          Q.     You understand it's important to tell the



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 20912-7-2018-000208
                                                                  of 316 PageID #:
                                     7324
                                                                              209


         1    truth?

         2         A.      Of course.

         3         Q.      And in your separation agreement with

         4    Unum, did you agree to anything that would prevent

         5    you from telling the truth today?

         6         A.      No.

         7         Q.      You were subpoenaed to appear for deposition

         8    today by plaintiff's counsel.           Did you understand

         9    that?

        10         A.      Yes.

        11         Q.      In other words, it was Dr. Biliack's

        12    attorneys who asked you to appear today and testify?

        13         A.      Yes.

        14         Q.      Unum did not ask you to appear and testify

        15    in this case?

        16         A.      Correct.

        17         Q.      And this case is not your first encounter

        18    with Dr. Biliack's attorney; is that correct?

        19         A.      It's my first encounter with him deposing

        20    me, but I had spoken to him on the phone once before

        21    in my capacity as a consultant.

        22         Q.      And who are you referring to?

        23         A.      Steve Dawson.

        24         Q.      And why did you -- strike that.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 21012-7-2018-000209
                                                                  of 316 PageID #:
                                     7325
                                                                              210


         1                 Under what circumstances did you -- strike

         2    that again.

         3                 So did you contact Mr. Dawson or did he

         4    contact you regarding your services?

         5         A.      Well, initially when I began pursuing the

         6    consulting work, I contacted various attorneys, and

         7    I believe Mr. Dawson was one of the attorneys or

         8    firms that I e-mailed or called.

         9                 Subsequent to that, maybe a few months

        10    later, I'm not sure, he contacted me to discuss a

        11    case that I think he was working on, and we talked

        12    about the case for maybe half an hour or so, and it

        13    was determined that -- I don't remember the specifics,

        14    but I want to say that it was a very specialized

        15    case, and I did not have the particular expertise

        16    that he was looking for.          So we -- that became

        17    apparent after we kind of, you know, talked in

        18    general terms about the details of the case.

        19         Q.      So Mr. Dawson contacted you in connection

        20    with potentially retaining you in another case as a

        21    consultant.      Did I get that right?

        22                 MR. DAWSON:      Objection.      Leading.

        23         A.      Mr. Dawson contacted me to talk about a

        24    case, and my understanding was that if I had the



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 21112-7-2018-000210
                                                                  of 316 PageID #:
                                     7326
                                                                              211


         1    necessary expertise that he would have considered

         2    hiring me.      I don't know if that was his intention,

         3    but that was my understanding.

         4         Q.      During your employment at Unum Group, did

         5    you directly supervise any of the on-site physicians?

         6         A.      No.

         7         Q.      Did you supervise any Designated Medical

         8    Officers, also referred to as DMOs?

         9         A.      No.

        10         Q.      You mentioned that surveillance reports

        11    were kept separately or something to that effect.

        12    Do you recall that?

        13         A.      I think I said sometimes they

        14    were -- there was -- I think sometimes they were

        15    part of the claim file and sometimes there was a

        16    reference in the file that there was a separate

        17    surveillance disk or CD or whatever it was called

        18    that existed, but it was because it was a physical

        19    thing as opposed to an electronic document, it was

        20    housed separately.

        21         Q.      Are you aware of any Unum policy

        22    that -- written policy that required an on-site

        23    physician who reviewed maybe surveillance from a

        24    prior claim for him to have to incorporate it into



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 21212-7-2018-000211
                                                                  of 316 PageID #:
                                     7327
                                                                              212


         1    the existing claim file?

         2         A.      No, I'm not.

         3         Q.      Do you know what OSPs' general

         4    practice -- OSPs' general practice was with respect

         5    to reviewing surveillance from other previous claim

         6    files and what they did with surveillance after

         7    reviewing them?

         8         A.      Not specifically, no.

         9         Q.      From time to time -- strike that.

        10                 You testified that based on your

        11    understanding, on-site physicians did not always

        12    list everything they reviewed in connection with the

        13    claim.     Did I get that testimony correctly?

        14         A.      That was my testimony.         That's my

        15    understanding, yes.

        16         Q.      And do you understand why that is?

        17         A.      Well, many of the claim files are very

        18    large.     I mean, some of them, you know, if they were

        19    printed would be thousands of pages, and so I think

        20    the example I gave was that, you know, if there were

        21    100 pages of medical records, and 60 of them were

        22    narrative notes, and 40 of them were various test

        23    results that it would be cumbersome and time-consuming

        24    to literally list every single page and report and



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 21312-7-2018-000212
                                                                  of 316 PageID #:
                                     7328
                                                                              213


         1    everything; so, it seems to make sense that as a

         2    matter of practice, someone might reference, you

         3    know, the test results as opposed to listing every

         4    single test that comprised those results.

         5         Q.      And you mentioned that you were terminated

         6    by Unum Group sometime in 2016.            When in 2016 were

         7    you terminated?

         8         A.      October.

         9         Q.      Do you know what Unum's general practices

        10    or procedures have been since October 2016 to the

        11    present?

        12         A.      No.

        13         Q.      Let's talk about the Biliack case.             Do you

        14    recall Dr. Biliack's claim at all?

        15         A.      No.

        16         Q.      Do you recall having any conversations

        17    with Liz Wetton regarding Dr. Biliack's disability

        18    claim?

        19         A.      No.

        20         Q.      Do you recall reviewing the claim file

        21    pertaining to Dr. Biliack's disability claim at all?

        22         A.      No.

        23         Q.      You testified about so-called CIS reports

        24    earlier today.       Do you recall that?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 21412-7-2018-000213
                                                                  of 316 PageID #:
                                     7329
                                                                              214


         1         A.      Yes.

         2         Q.      You stated that Directors would input

         3    certain information in order for a CIS report to be

         4    generated.      Did I get that right?

         5         A.      Yes.

         6         Q.      Can you tell me what is your understanding

         7    as to what report or paperwork did it -- would a

         8    Director fill out in order for a CIS report to be

         9    generated for your purposes?

        10         A.      My recollection is that there wasn't

        11    necessarily paperwork.         It was an online system or

        12    database, and in the course of their duties as a

        13    Director when they were reviewing a claim file or

        14    working with a DBS on a claim file, if it appeared

        15    that a change in status was upcoming, and the change

        16    in status could be a recovery, it could be that the

        17    claim was moving from active to inactive management.

        18    It could be a claim that was moving from residual to

        19    total or vice versa, any type of change in status

        20    that the Director became aware of, they were

        21    expected to enter that information into this online

        22    system.     I don't remember everything that it

        23    included, but it was basically, you know, claimant's

        24    name, policy number, the date that they -- or the



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 21512-7-2018-000214
                                                                  of 316 PageID #:
                                     7330
                                                                              215


         1    month that they expected the change in status,

         2    something like that.

         3         Q.      Now, Ms. Wetton testified in this case

         4    that she did not input Dr. Biliack's claim into a

         5    CIS report.

         6         A.      Okay.

         7         Q.      If you assume that Dr. Biliack's claim

         8    wasn't input in that system you just talked about,

         9    would you expect to see Dr. Biliack's claim on the

        10    CIS report that you received?

        11         A.      No.     The report that I saw was based on

        12    the data or the information that the Directors

        13    input.

        14         Q.      And if Dr. Biliack's claim wasn't on the

        15    CIS report, would his claim be one of the claims

        16    you'd be following up with Ms. Wetton on?

        17         A.      Typically, no.       I wouldn't be aware of it.

        18         Q.      Based on your ten-year employment history

        19    as AVP of Claims, can you tell me what procedures

        20    were in place to ensure that a particular claim was

        21    adjusted and handled fairly.

        22         A.      Sure.     I mean the expectation --

        23                 MR. DAWSON:      Objection.      Assumes facts not

        24    in evidence.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 21612-7-2018-000215
                                                                  of 316 PageID #:
                                     7331
                                                                              216


         1         Q.      Go ahead.

         2         A.      I think as we've talked about before, the

         3    expectation was that every claim be handled on its

         4    own merits and every claim be handled fairly.

         5                 There were several safeguards in place to

         6    help assure that.        One would be the Director

         7    themselves who was responsible for the reviewing the

         8    work of their DBSs.        We've talked about in the case

         9    of a recommended claim denial how it was not only

        10    the Director but also the QCC who had to sign off.

        11    In addition to that, there were ongoing quality

        12    audits of claims.        Each Director had -- excuse

        13    me -- each DBS had a certain number of claims

        14    reviewed over the course of a year, and those

        15    reviews were done by an outside -- not outside Unum

        16    but outside of claim operations area.              There was a

        17    specific area that did the quality reviews, and

        18    that's all that those individuals did.              They didn't

        19    handle actual claims.         They just did the quality

        20    reviews, and so whenever those reviews were done,

        21    the findings would be shared with the Directors, and

        22    the Directors were expected to, you know, discuss

        23    the findings with their DBSs and compliment them on

        24    things they had done well and help coach and mentor



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 21712-7-2018-000216
                                                                  of 316 PageID #:
                                     7332
                                                                              217


         1    them on areas for improvement.

         2         Q.      And you mentioned earlier today that there

         3    was also an Appeals Department?

         4         A.      Yes.

         5         Q.      And what was their role of an Appeals

         6    Department with respect to denial of claims?

         7         A.      So, again, there were -- every claimant

         8    had the opportunity to appeal the decision to deny

         9    their claim.        I think what I said was that in some

        10    cases the appeal would be without the claimant

        11    submitting any new information and sometimes the

        12    claimant would submit new information, but in any

        13    event, the appeal was conducted independently of the

        14    DBS or the Director or the QCC who had been involved

        15    in the claim, so it was a totally new, separate

        16    review, and I think one of the documents that I was

        17    provided with was an e-mail from one of the appeals

        18    specialists, and so that was one way that the

        19    Director and myself as an AVP would kind of keep

        20    track of the quality of work that was done by a DBS.

        21    So it would be relevant if a DBS had a claim that

        22    they had denied where the decision was overturned on

        23    appeal.

        24                 If the decision to overturn it on appeal



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 21812-7-2018-000217
                                                                  of 316 PageID #:
                                     7333
                                                                              218


         1    was based on new information that the DBS did not

         2    have access to, then generally you wouldn't fault

         3    the DBS, because they didn't have that information,

         4    but if the appeal was overturned based on no new

         5    information, so this is an independent person

         6    reviewing the claim file in comparison to our

         7    practices and procedures, if that appeals specialist

         8    indicated in their review, and these were generally

         9    long-tenured, highly experienced people who were

        10    doing the appeals reviews, then if the situation

        11    were that the appeals specialist indicated that the

        12    decision should be overturned without any new

        13    information, then that would, you know, give

        14    occasion for the Director to discuss with the DBS

        15    why that was the case, and if it was determined that

        16    some policy or practice had not been followed

        17    appropriately, then that would be utilized as a

        18    learning tool for the team.

        19         Q.      During your 10-year experience in claims

        20    as AVP, did you ever suspect anyone you supervised,

        21    either a DBS or a Director, of improperly denying

        22    claims?

        23         A.      No, I didn't, and as we've just talked

        24    about, we had quite a few safeguards in place that



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 21912-7-2018-000218
                                                                  of 316 PageID #:
                                     7334
                                                                              219


         1    would give us a heads up or make us aware of that.

         2         Q.      During your 10-year -- during your work as

         3    AVP of Claims for Unum Group, did you ever suspect

         4    any Director of improperly denying or closing claims

         5    in order to meet certain metrics?

         6         A.      No.

         7         Q.      If you had suspected that any Director was

         8    engaged in such conduct, what would you have done?

         9         A.      Well, to start with, I would have, you

        10    know, not only reviewed that -- the file that caused

        11    me to have the concern, but I would probably have

        12    reviewed a wider sampling of the Director's work.

        13                 Depending on the situation, I may or may

        14    not have asked for assistance from our Quality

        15    Review Department.        I probably would have made my

        16    manager aware of it.         I probably would have spoken

        17    with the Director about it once the evaluation was

        18    complete.      So it's hard to say everything, but

        19    that's kind of what comes into mind as what I would

        20    likely have done.

        21         Q.      You supervised Elysabeth Wetton?

        22         A.      Yes.

        23         Q.      For how long?

        24         A.      My recollection is that she reported to me



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 22012-7-2018-000219
                                                                  of 316 PageID #:
                                     7335
                                                                              220


         1    a couple of different times.           So, in aggregate, I

         2    want to say three or four years maybe.

         3         Q.      And during those times, did you ever

         4    suspect Ms. Wetton of denying or closing a claim to

         5    meet performance metrics or any other improper reason?

         6         A.      No, I didn't suspect that, and I received

         7    no metrics or information that would have made me

         8    think that.

         9         Q.      How would you describe Liz Wetton?

        10         A.      I would describe her as a dedicated,

        11    hard-working Director.         She had the respect of the

        12    DBSs who worked for her.          She had my respect.        She

        13    was very level-headed, very practical, I would say,

        14    logical, you know, good critical thinking skills.

        15    She was a good Director.

        16         Q.      Did Ms. Wetton ever tell you anything that

        17    led you to suspect that she -- strike that.

        18                 Did Ms. Wetton ever tell you anything that

        19    made you suspicious or concerned about the way --

        20    about the manner in which she was approving denials

        21    of claims?

        22         A.      No, not that I recall.

        23         Q.      Do you know -- do you recall a DBS by the

        24    name of Jodi Bishop?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 22112-7-2018-000220
                                                                  of 316 PageID #:
                                     7336
                                                                              221


         1         A.      Yes.

         2         Q.      How often did you interact with her?

         3         A.      I mean she didn't report to me directly.

         4    She reported to a Director who reported to me, so I

         5    would say it was, you know, regular, but infrequent,

         6    you know.      I would see her in the hallway.           I would

         7    ask her how things were going and talk to her and,

         8    you know, periodically I would meet with the DBSs to

         9    we call them skip level one-on-ones, so instead of

        10    meeting with their Director, who's my direct report,

        11    I'd meet -- you know, I'd skip a level and meet

        12    directly with the DBS, and so I'm sure I did it with

        13    Jodi, as I did it with all of them from time to

        14    time, and, you know, I didn't have any reason to

        15    think anything other than that she was a good DBS.

        16         Q.      Did you ever suspect any improper claims

        17    handling on behalf of Jodi Bishop?

        18         A.      No.

        19         Q.      You talked about managerial meetings, I

        20    believe.     Does that sound right?

        21         A.      Yes.

        22         Q.      Can you tell me what types of things you

        23    would discuss with your Directors during those

        24    managerial meetings?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 22212-7-2018-000221
                                                                  of 316 PageID #:
                                     7337
                                                                                222


         1         A.      Sure.     So we had a standing weekly staff

         2    meeting for my team.         We didn't always have them, so

         3    in a given month, we might have a couple or three

         4    maybe.     We would speak about whatever issues were

         5    going on at the time; so anything to do with the

         6    operation of the business.           It could be related to a

         7    staffing situation where, you know, the workload was

         8    high, and there was a need to, you know, move it

         9    around outside the traditional team function.                It

        10    could be a situation where a DBS had given their

        11    notice and was, you know, leaving the company, and

        12    we wanted to talk about how we were going to reassign

        13    their claims.        It could be let's say we had had a

        14    bunch of recent quality reviews, and there were some

        15    themes and trends that we wanted to talk about and

        16    make sure people were aware of any pertinent issues,

        17    we would talk about that.

        18                 So, you know, I can't list everything, but

        19    it was just things that I would describe as kind of,

        20    you know, routine management items that would come

        21    up in the day-to-day events of managing the team.

        22         Q.      Now, you evaluated the performance of

        23    Ms. Wetton?

        24         A.      Yes.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 22312-7-2018-000222
                                                                  of 316 PageID #:
                                     7338
                                                                              223


         1         Q.      Can you tell me what criteria you took

         2    into account when evaluating the performance of

         3    Ms. Wetton?

         4         A.      Sure.    As I think I referenced in other

         5    answers, you know, there were a variety of criteria

         6    that went into the performance review of any Director,

         7    and those would include certainly the where they

         8    were in relation to their plan expectations that

         9    we've talked about a lot, but a lot of things we

        10    haven't talked about in terms of, you know, each

        11    Director was reviewed based on the quality of the

        12    decisions that their team had made.             So I said

        13    earlier that each DBS had various quality reviews

        14    done and so, in turn, a given Director was evaluated

        15    against how their team did collectively in those

        16    reviews.     Appeal rates were a factor, so if a given

        17    Director had a lot of appeal overturns, that would

        18    be a factor.

        19                 How they worked with their team?            How did

        20    they coach and mentor and develop their team?                What

        21    did their team think of them?           What did their peers

        22    think of them in terms of being knowledgeable, in

        23    terms of being helpful team players?             You know,

        24    there's a really a whole litany of factors that



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 22412-7-2018-000223
                                                                  of 316 PageID #:
                                     7339
                                                                              224


         1    would go into an evaluation.

         2         Q.      When you evaluated your Directors,

         3    including Ms. Wetton, did you put more emphasis on

         4    one factor or one criteria such as paid recoveries

         5    versus other factor or criteria such as quality?

         6         A.      I think the three major factors, you know,

         7    if I had to list them would be the paid recoveries,

         8    quality, and then any kind of customer service

         9    issues, so timeliness of decisions, any feedback

        10    that the customers gave us, either directly or as

        11    part of a survey that the company would do.

        12                 So I think those three areas:           the

        13    recoveries, the quality of the decision, and the

        14    overall customer service and timeliness were all

        15    relevant, equally relevant factors, and then there

        16    were some of the other things I mentioned that would

        17    play a part, but I probably would maybe not give

        18    them the exact same weight.

        19         Q.      Based on your experience in working with

        20    Ms. Wetton, did she always meet the quality standards?

        21         A.      I'm not sure any Director always met them.

        22    I would say that the vast majority of times she did.

        23    You know, I think over the course of time, you know,

        24    in a given reporting period, month or quarter or



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 22512-7-2018-000224
                                                                  of 316 PageID #:
                                     7340
                                                                              225


         1    something, there might be a Director who fell short

         2    of the quality expectations, but all of them who

         3    reported to me, including Ms. Wetton, you know, on

         4    average, the vast majority of the time met or exceeded

         5    the quality standards.

         6         Q.      What about customer service standards?

         7         A.      Same thing.      Occasionally there would be

         8    something that, you know, was an aberration, but we

         9    had a, you know, a variety of metrics to measure

        10    various aspects of customer service and timeliness,

        11    and I guess a similar answer that, you know, any

        12    Director would have the occasional aberration, but

        13    Ms. Wetton and the rest of my team in the vast

        14    majority of situations met or exceeded the service

        15    aspects.

        16         Q.      Did Ms. Wetton always meet the paid

        17    recovery metric or expectation, monthly expectation?

        18         A.      I would say that neither she nor any

        19    Director that I can recall always met the

        20    expectation.

        21                 You know, we tried to look at it, although

        22    the information and the evaluation was done monthly,

        23    we tried to look at it over a longer period of time,

        24    because a month -- almost anything could happen in a



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 22612-7-2018-000225
                                                                  of 316 PageID #:
                                     7341
                                                                              226


         1    given month, but if you look at a larger sample size,

         2    if you look at it quarterly, for example, things

         3    should kind of even out over time, and so, there

         4    were -- I'm sure there were months when Ms. Wetton

         5    did not meet what you just asked about, but I think

         6    that's also true of all of the other Directors who

         7    reported to me, and I'm probably -- I don't know

         8    for sure because I didn't have access to their

         9    information, but I think it's probably true of any

        10    Director in the department.

        11         Q.      You testified earlier that the number of

        12    claims that were expected to close and the number

        13    of -- the amount of recoveries that were expected to

        14    be released by the end of the month was based on

        15    historical performance.          Did I get that correctly?

        16         A.      Yeah, I think it was -- I would say it was

        17    based on historical performance with weight given to

        18    the current makeup of their block of claims.

        19         Q.      And how did you personally refer to these

        20    numbers that you would receive from Ms. Griffin and

        21    communicated to Ms. Wetton?

        22         A.      I think probably most commonly is the

        23    monthly plan expectation.

        24         Q.      And did you understand that the numbers



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 22712-7-2018-000226
                                                                  of 316 PageID #:
                                     7342
                                                                              227


         1    that were provided to you by Ms. Griffin were actual

         2    targets for closures?

         3         A.      I don't recall the word "target" ever

         4    being used.      I think the way they were phrased was,

         5    you know, this is the -- I recall the word "guidance"

         6    being used.      So, again, based on historical

         7    expectation or excuse me historical performance,

         8    that these were the, you know, plan expectations for

         9    that month.

        10         Q.      Did the company refer to paid recoveries

        11    in reports?

        12                 MR. DAWSON:      Objection.      Vague.

        13         A.      I think there were some reports that

        14    referenced paid recoveries, yes.

        15         Q.      I think earlier today you looked at Weekly

        16    Tracking Quarterly View.          I believe it was

        17    Exhibit 3?

        18         A.      Yes.

        19         Q.      Does the Weekly Tracking Quarterly Review

        20    include paid recoveries?

        21         A.      Yes.

        22         Q.      So was it -- strike that.

        23                 Did the company somehow keep it a secret

        24    that it was tracking paid recoveries?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 22812-7-2018-000227
                                                                  of 316 PageID #:
                                     7343
                                                                                228


         1                 MR. DAWSON:      Objection.      Foundation.

         2    Vague.

         3         A.      Not to my knowledge, no.

         4         Q.      Do you recall any other reports that refer

         5    to paid recoveries other than the weekly tracking?

         6         A.      I think there were others.          At this point

         7    after a couple years, I can't identify what they're

         8    called, but I think it's reasonable to say that this

         9    was not the only one.

        10         Q.      If you look at Exhibit -- the Upjohn

        11    warning -- I don't recall which exhibit it was.

        12    There are four bullet points on that exhibit.                Do

        13    you see that?

        14         A.      Yes.

        15         Q.      The first one is "Improperly coding claim

        16    closures to achieve performance metrics and/or plan

        17    forecasts."

        18                 Do you see that?

        19         A.      Yes.

        20         Q.      Can you tell me what do you understand --

        21    strike that.

        22                 The first bullet point that I just read,

        23    can you tell me what you understand that is -- what

        24    is that referring to, based on your understanding?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 22912-7-2018-000228
                                                                  of 316 PageID #:
                                     7344
                                                                              229


         1         A.      I think it's referring to what we've spent

         2    a fair amount of time talking about which is the

         3    delaying of the coding of the claim closure in the

         4    internal system to, in some cases, cross the month,

         5    in order to help achieve what we have previously

         6    talked about being the consistent and predictable

         7    results.

         8         Q.      Based on your understanding, how did

         9    improperly coding claim closures to achieve

        10    performance metrics and/or plan forecasts affected

        11    insureds?

        12         A.      It didn't.      As I've said, the delay was

        13    simply in our internal system.            There was no delay

        14    to anything having to do with the claimant any type

        15    of phone call or letter or any notification or

        16    decision, those were all done when they should have

        17    been done.      The only delay was in the internal

        18    system, which had no impact one way or another on

        19    the claimant.

        20         Q.      The second bullet point says, "Paying

        21    benefits on an under reservation of rights or an

        22    'exceptional basis to be of service to the claimant'

        23    to achieve 'paid recovery' performance metrics."

        24                 Did I read that correctly?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 23012-7-2018-000229
                                                                  of 316 PageID #:
                                     7345
                                                                              230


         1         A.      I think so.

         2         Q.      Based on your understanding, what does

         3    that bullet point refer to?

         4         A.      So there were situations where some claims

         5    would be paid under a what was known as a reservation

         6    of rights or ROR, and the idea behind that was that

         7    there were certain claims that appeared to be headed

         8    toward a decision that they would be payable claims,

         9    but we didn't quite have all the information that we

        10    needed.     Sometimes there was a delay, let's say, in

        11    receiving information from a physician.              So if the

        12    Director and DBS felt that it was likely when the

        13    information was received that the claim would be

        14    payable, they would pay it under this so-called

        15    reservation of rights, and it was a way to designate

        16    a situation where we were making a payment in order

        17    to provide service to the customer.             So, again, you

        18    have customers who are claiming disability.                They're

        19    not able to work.        Many people, probably the majority

        20    of people, you know, only have a limited time period

        21    where they can sustain themselves and their expenses

        22    without any income coming in.

        23                 So in situations where it seemed likely

        24    that the claim would be payable once we had the



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 23112-7-2018-000230
                                                                  of 316 PageID #:
                                     7346
                                                                              231


         1    information we needed, sometimes payments would be

         2    made under this reservation of rights and really

         3    what we were -- the rights we were reserving was

         4    that if it turned out that something changed, and we

         5    obtained -- that the -- that the information we were

         6    waiting for when we did obtain it, if that maybe

         7    contradicted what we thought we knew or provided

         8    something additional, that we, by making this payment

         9    under reservation of rights, we weren't forever

        10    saying your claim is approved.            We're saying based

        11    on what we have now, it's approved.             Here's your

        12    payment, but we reserve the right to change that if

        13    we subsequently get information that changes our

        14    position.

        15         Q.      And based on your understanding, if at

        16    least some Directors at Unum paid benefits on an

        17    under reservation of rights or an exceptional

        18    basis --

        19                 THE COURT REPORTER:        I'm sorry.

        20         Q.      Based on your understanding, if some

        21    Directors at Unum, in fact, paid benefits on an

        22    under reservation of rights or an exceptional basis

        23    to be of service to the claimant to achieve paid

        24    recovery performance metrics, how would that



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 23212-7-2018-000231
                                                                  of 316 PageID #:
                                     7347
                                                                              232


         1    affect -- how would that have affected the insureds?

         2         A.      I guess I would say that in the situation

         3    or the example I described previously about what

         4    reservation of rights payment was, you know, I

         5    described a perfectly appropriate situation that a

         6    reservation of rights payment would be made.

         7                 If the payment was only made for the

         8    purpose of achieving the paid recovery performance

         9    metrics, then that would not be appropriate, but in

        10    either way, the claimant was not disadvantaged in

        11    any way.     If anything, they received money that they

        12    might otherwise not have received or been entitled

        13    to; so not only was there no detriment to the

        14    claimant, you could argue that they benefitted.

        15         Q.      And the third bullet point says "Paying

        16    benefits without disability or eligibility being

        17    fully evaluated."

        18                 Did I read that correctly?

        19         A.      Yes.

        20         Q.      And if, in fact, some Directors or DBSs

        21    paid benefits without disability or eligibility

        22    being fully evaluated, how would that have affected

        23    the insureds?

        24         A.      Again, there would have been no detriment.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 23312-7-2018-000232
                                                                  of 316 PageID #:
                                     7348
                                                                              233


         1    If that occurred, then the insured would have

         2    received claim benefits that they should not have

         3    been entitled to based on the terms of their policy.

         4         Q.      And the last bullet point says "Paying

         5    benefits prior to obtaining appropriate medical

         6    confirmation confirming disability determination."

         7                 Did I read that correctly?

         8         A.      Yes.

         9         Q.      And if, in fact, some Directors or DBSs

        10    paid benefits prior to obtaining appropriate medical

        11    confirmation confirming disability determination,

        12    how would that have affected the insureds?

        13         A.      Again, as with all these, there would be

        14    no detriment to the claimant, and conversely there

        15    would likely be a benefit.

        16         Q.      So based on your understanding, did any

        17    misconduct that Unum referenced in terminating you

        18    from your employment, did they affect the insureds

        19    negatively?

        20         A.      No.

        21         Q.      What is your understanding as to why Unum

        22    tracks paid recoveries?

        23         A.      My understanding is that, you know, as is

        24    the case in almost any business, I think, there are



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 23412-7-2018-000233
                                                                  of 316 PageID #:
                                     7349
                                                                              234


         1    certain metrics that are looked at as a way to

         2    evaluate performance and one way to do that is look

         3    at what has happened historically, and so all things

         4    being equal, if you have a block of claims that has

         5    historically resulted in "X" number of recoveries,

         6    all things being equal, it's reasonable to expect

         7    that the performance currently would be consistent

         8    or similar to prior performance, so, or historical

         9    performance.

        10                 So it was one way to measure the

        11    effectiveness of a team if they were achieving these

        12    results that were consistent with what had

        13    traditionally happened over time.

        14         Q.      Did tracking of paid recovery metric help

        15    you in any way in managing the AVP team?

        16         A.      I think so.      It was one way to evaluate

        17    the effectiveness of the Directors and, in turn,

        18    their teams and, you know, if those numbers were

        19    dramatically off over an extended period of time,

        20    then it raised some questions about was the team

        21    doing what they were supposed to do?             Were they

        22    handling claims timely.          Were they handling claims

        23    appropriately?       Were they making the decision

        24    favorable or unfavorable that they were expected to



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 23512-7-2018-000234
                                                                  of 316 PageID #:
                                     7350
                                                                              235


         1    make in a timely manner.

         2         Q.      Why didn't you communicate paid recovery

         3    expectations to Disability Benefits Specialists?

         4         A.      Really it was because we didn't think that

         5    was relevant to their job.           What was relevant to

         6    their job, and it actually is contained in on this

         7    weekly tracking view, the fine print that Mr. Dawson

         8    read earlier, you know, kind of speaks to that, that

         9    what was expected of a DBS is that they handle each

        10    claim on its own merits.          As Mr. Dawson pointed out,

        11    you know, the historical performance of a large

        12    block of claims isn't relevant to a particular

        13    claim, that one claim; and so it was thought that

        14    the large numbers were relevant to a Director's

        15    block of business or 250 or 300 claims, but not down

        16    to the relatively small number of a DBS's caseload,

        17    and so it was the DBS's job to handle every claim as

        18    they saw fit in conjunction with their Director and

        19    other resources, and it was not, you know, the

        20    number of claims that they approved or denied or did

        21    anything with wasn't relevant to their performance.

        22    They were evaluated on other criteria.

        23         Q.      And based on your experience, who made

        24    decisions to deny claims?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 23612-7-2018-000235
                                                                  of 316 PageID #:
                                     7351
                                                                              236


         1         A.      You know, the DBS was responsible for

         2    handling the claim and making recommendations.                There

         3    were some decisions that DBSs could make on their

         4    own, and there were some that required the review

         5    and approval of their manager who was the Director.

         6                 So typically, it would be a DBS, you know,

         7    making a recommendation to their Director that a

         8    claim should be denied, but they needed the

         9    Director's review and approval to do so.

        10         Q.      While you worked at Unum Group, did you

        11    ever feel that it was improper to track paid

        12    recoveries and to communicate it to your Directors?

        13         A.      No.

        14         Q.      Did you ever complain to anyone saying, I

        15    don't think it's appropriate for me to communicate

        16    paid recovery expectations based on historical

        17    performance to my Directors?

        18         A.      No.

        19         Q.      Why didn't you think it was inappropriate?

        20         A.      I guess for a couple of reasons.            First,

        21    it was a long-standing practice before I joined the

        22    claim organization; and second, you know, having

        23    been in the company, in a different function, and

        24    having some knowledge of other functions, you know,



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 23712-7-2018-000236
                                                                  of 316 PageID #:
                                     7352
                                                                              237


         1    having different metrics and measurements that we

         2    used and evaluated the organization against was a

         3    pretty common occurrence.          I think, you know, to the

         4    best of my knowledge, every functional area in the

         5    company,

         6    and probably in almost any business has -- has

         7    performance metrics that they're evaluated against,

         8    and so it didn't, you know, since paid recoveries

         9    was one of those metrics as was, you know, appeal

        10    rates and reopen rates and quality percentage, all

        11    those things were things that we measured, and none

        12    of them seemed inappropriate.

        13           Q.       If you could give a different name to paid

        14    recovery expectation, what would you call it?

        15           A.       I'm not sure.    I guess calling it an

        16    expectation maybe makes it sound like something it's

        17    not.        I don't know what I would change it to, but

        18    guidance or I'm really not sure.

        19           Q.       Would it be accurate to describe it as a

        20    forecast?

        21           A.       Yeah, I think that's fair.       It's based on

        22    what's happened in the past.           It is what's forecast

        23    for the future, all things being equal.

        24           Q.       We talked about -- actually strike that.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 23812-7-2018-000237
                                                                  of 316 PageID #:
                                     7353
                                                                              238


         1                 Earlier today you talked about delivering

         2    consistent results.

         3         A.      Consistent and predictable results.

         4         Q.      Consistent and predictable results.             Was

         5    consistency expected in other areas?

         6         A.      Other areas of results?          Other areas of

         7    the company?

         8         Q.      Other areas such as you mentioned quality,

         9    reopen rates.       Was consistency expected in those

        10    areas in terms of customer service, quality, reopen

        11    rates?

        12         A.      Yes.

        13         Q.      Did you ever discuss paid recovery

        14    expectations with Jack McGarry?

        15         A.      I don't think I ever, you know, discussed

        16    it with him in a one-on-one setting.             I mean was I

        17    ever a part of a meeting where he was present and

        18    that was a topic, perhaps, but not individually, no.

        19         Q.      Did you ever discuss with Jack McGarry

        20    Unum's practice of delaying recording of paid

        21    recoveries?

        22         A.      Not that I recall.

        23         Q.      I'm just going to jump around a little bit

        24    now because I took notes as you were testifying.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 23912-7-2018-000238
                                                                  of 316 PageID #:
                                     7354
                                                                              239


         1                 You said you were in underwriting before

         2    you joined claims.        Did I get that correctly?

         3         A.      Yes.

         4         Q.      Based on your underwriting experience, how

         5    important is it for the insured to be truthful in

         6    his or her insurance application?

         7         A.      Very.

         8         Q.      Why?

         9         A.      It forms the basis for the contract that

        10    they're provided, so, as is the case, I think, with

        11    other contracts or insurance, you know, the company

        12    is issuing a policy based on the representations

        13    that a person, an applicant makes, so in this case,

        14    you know, we're talking about a disability policy

        15    that provides benefits in the event that the

        16    policyholder is unable to work, that they're disabled,

        17    and so, it's very important that the person applying

        18    for insurance be truthful with respect to, for

        19    example, their prior medical history because that

        20    would affect the type of policy or perhaps the rate

        21    that they're charged or whether a particular medical

        22    condition would be excluded from coverage.               It would

        23    be kind of like if you, you know, insured your car

        24    and didn't tell them that it was currently totaled



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 24012-7-2018-000239
                                                                  of 316 PageID #:
                                     7355
                                                                              240


         1    from an accident.

         2         Q.      Based on your understanding, why did Unum

         3    track reopen rates?

         4                 (Music playing.)

         5         A.      I'm sorry.      I was distracted, as others

         6    were.     Could you please repeat that.

         7         Q.      Sure.    Based on your understanding, why

         8    did Unum Group track reopen rates?

         9         A.      It was a kind of a metric that helped point

        10    to the quality of the decisions that were made

        11    initially, and so if the -- if a given individual or

        12    team had high reopen rates, then it would make you

        13    look into and question the quality of the decisions

        14    that were made to begin with.

        15         Q.      Have you ever read the RSA?

        16         A.      Mr. Dawson asked me that and I think what

        17    I said is that I don't know if I read the RSA or if

        18    I simply read claim practices and guidelines that

        19    were written and resulted from the RSA.

        20         Q.      Did you ever report to Nancy McGee directly?

        21         A.      No.

        22         Q.      What is your understanding of the closed

        23    block organization in terms of what type of policies

        24    are in there, other than IDI?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 24112-7-2018-000240
                                                                  of 316 PageID #:
                                     7356
                                                                              241


         1         A.      I think the way Unum describes the closed

         2    block, at least as of the time I left, is that in

         3    addition to these IDI policies, it also includes the

         4    long-term care block of business.

         5         Q.      Based on your experience in underwriting,

         6    do you know whether Unum Group issues policies,

         7    disability policies?

         8         A.      I don't think Unum Group is a licensed

         9    insurance entity.        I think they're a parent company

        10    or holding company maybe.          I think the policies are

        11    issued under the respective ensuring entities, like

        12    maybe Provident Life and Accident or something like

        13    that.     I don't think there are policies that

        14    specifically say Unum Group.

        15         Q.      Do you know whether Unum Group handles

        16    disability claims on behalf of nonaffiliated

        17    companies?

        18         A.      So by "affiliated," you mean companies

        19    that Unum has an agreement with to administer their

        20    claims?

        21         Q.      I mean affiliated companies like

        22    subsidiaries or sister companies, in other words,

        23    nonaffiliated company?

        24         A.      So as far as I know, Unum handles claims



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 24212-7-2018-000241
                                                                  of 316 PageID #:
                                     7357
                                                                              242


         1    from companies that they have an arrangement with to

         2    handle, but, otherwise, they don't.

         3         Q.      And what are those companies?

         4         A.      I can't list them all, but we've given

         5    some examples before.         We talked about New York Life,

         6    Equitable.      I want to say John Hancock, General

         7    American.      There's probably 20 or so companies.             I

         8    can't remember them all.

         9         Q.      Okay.    Can you give me examples of paid

        10    recoveries.

        11         A.      What is a paid recovery?

        12         Q.      Yes.    If I understood your testimony

        13    earlier today, a paid recovery doesn't necessarily

        14    mean a claim that was denied?           Did I get that right?

        15         A.      Yes, it could be a situation where an

        16    individual goes on claim and the nature of their

        17    claim, the nature of their disability is such that

        18    after a period of time they have recovered from

        19    their accident or illness, whatever the case may be,

        20    and returned to work.         I think the majority of the

        21    paid recoveries probably fall into that category,

        22    where people have a temporary disability, and

        23    ultimately in a matter of some period of time, return

        24    to their job.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 24312-7-2018-000242
                                                                  of 316 PageID #:
                                     7358
                                                                              243


         1         Q.      Any other examples of paid recoveries?

         2         A.      Not that I can recall.

         3         Q.      What about advanced pay and close, would

         4    that be a type of --

         5         A.      Yes, it would.

         6         Q.      Can you explain what that is.

         7         A.      Sure.    So what we called an AP and C or an

         8    advanced pay and close is a situation where based on

         9    the handling of the claim, it appears that the

        10    claimant will be returning to work in a relatively

        11    short period of time, so let's say one to three

        12    months as a guideline.

        13                 In some cases, it's kind of mutually

        14    beneficial to not have the claimant be responsible

        15    for the paperwork.        So I guess to take a step back,

        16    every month that a claimant is disabled, they're

        17    required to provide a statement of their disability

        18    and get certification from their physician that they

        19    are, in fact, disabled.

        20                 Certain accidents or illness, kind of by

        21    their nature, suggest that they're self-limited, so

        22    that they're not going to go on forever, and that in

        23    a reasonable period of time, again let's say, one to

        24    three months, that it seems reasonable and everything



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 24412-7-2018-000243
                                                                  of 316 PageID #:
                                     7359
                                                                              244


         1    is on track for that insured to return to work; and

         2    so if it's determined that it's mutually beneficial,

         3    so what I mean by that is we don't have to ask the

         4    claimant or their physician to provide the paperwork,

         5    we don't have to, in turn, review it, then it makes

         6    sense to make this advanced payment of a month or

         7    two months or three months to their expected return

         8    to work date.

         9                 So it would be a situation where the

        10    claimant and their attending physician have agreed

        11    that they are, in fact, on track and planning to

        12    return to work by "X" date and if they're not

        13    self-employed, assuming they work for someone, then

        14    the employer has also agreed to that, and so it's

        15    just, I guess, a matter of efficiency to pay them in

        16    advance.     So as the name implies, it's an advanced

        17    payment and then a close of the claim.

        18                 If the claimant is subsequently unable to

        19    return, if their condition worsens or there's some

        20    change, then it's -- it's not a problem to reopen

        21    the claim and begin paying benefits again.

        22         Q.      You said that -- strike that.

        23                 If you saw that in a given month a

        24    particular Director and his or her team were short



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 24512-7-2018-000244
                                                                  of 316 PageID #:
                                     7360
                                                                              245


         1    of the paid recovery expectation you had received,

         2    were there any steps you could have taken to meet

         3    the expectation?

         4         A.      Steps that I would take or that they would

         5    take?

         6         Q.      That they would take or --

         7                 MR. DAWSON:      I'm sorry.      That who would

         8    take?

         9         A.      I was asking if she was asking is it steps

        10    that I would take or that the Director would take.

        11                 MR. DAWSON:      Okay.

        12         A.      So I guess the steps I would take would be

        13    to just talk to the Director and find out what the

        14    reasons were and if there was anything I could do to

        15    help.     Do they want to talk about a claim or a

        16    decision?      Do they need my help to expedite

        17    something?      You know, whatever the situation may be.

        18    I'm their manager, so is there something I can do to

        19    help them?

        20                 So one example of a way, I guess, to help

        21    achieve the plan expectation would be to do this AP

        22    and C or advanced pay and close.

        23         Q.      When you received a CIS report, if you saw

        24    a particular claim had a large reserve associated



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 24612-7-2018-000245
                                                                  of 316 PageID #:
                                     7361
                                                                              246


         1    with it, did you ask any of your Directors to target

         2    that claim for denial?

         3         A.      No, absolutely not.

         4         Q.      Did -- strike that.

         5                 When you saw that a particular claim on a

         6    CIS report had a large reserve associated with it,

         7    did you ask any of your Directors to handle that

         8    particular claim in a different way than they should

         9    a claim that was associated with a smaller reserve

        10    amount?

        11         A.      No.

        12         Q.      From the CIS report, could you tell which

        13    claim was from closed block?

        14         A.      Not that I recall, no.

        15         Q.      To your understanding -- strike that.

        16                 Based on your understanding, did the

        17    Directors you personally supervised handle claims

        18    differently from the closed block than other claims?

        19         A.      No.    In fact, I would say that in many

        20    cases, we didn't even know or pay attention to

        21    whether it was part of the closed block or not.

        22         Q.      Now, you were asked questions about I

        23    believe it was Exhibit 1, Manager Toolkit.

        24         A.      Yes.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 24712-7-2018-000246
                                                                  of 316 PageID #:
                                     7362
                                                                              247


         1         Q.      Had you ever seen the Manager Toolkit

         2    prior to today?

         3         A.      You know, I recall the term being a

         4    management toolkit, but I had not received -- I had

         5    not seen this particular document or even one

         6    comparable to it for a year in which I was part of

         7    claims.

         8         Q.      So during your entire time in claims, you

         9    hadn't seen a document titled Management Toolkit?

        10                 MR. DAWSON:      Objection.      Leading.

        11         A.      I was familiar with the term "Manager

        12    Toolkit," but it was in the context of things that

        13    would be helpful for a manager to know.              It was more

        14    of like a human resource document that would provide

        15    guidance from that standpoint of being a manager.

        16    So the context, it seems to be in this case, although

        17    I haven't looked at every page, this appears to be

        18    more of a like a business plan, and it is identified,

        19    in part, as that, but.         So I am just not familiar

        20    with this document or anything that looks like it.

        21         Q.      If you could just flip through Exhibit 1

        22    and let me know whether during your entire ten-year

        23    employment with Unum as AVP of Claims whether you

        24    had seen a document similar to Exhibit 1.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 24812-7-2018-000247
                                                                  of 316 PageID #:
                                     7363
                                                                               248


         1                 (Pause.)

         2         A.      So I've seen different documents that

         3    include some of the aspects of this document.                I

         4    don't recall seeing a document that -- one document

         5    that included all of these aspects, nor do I recall

         6    seeing all of these aspects in various documents.

         7                 What I do recall is seeing some documents

         8    that include some of the material here, and I guess

         9    how I would characterize this document, in general,

        10    is that it's talking about certain company objectives,

        11    whether they be related to revenue or customer

        12    service and quality and things like that, and it's

        13    kind of extending that.          So if these are the

        14    corporate objectives, then here's how a particular

        15    business area, so in this case, claims or benefits,

        16    how that relates to them.          So what is it that

        17    employees in that organization can do that ultimately

        18    impact the larger corporate goal?             So it's kind of,

        19    I guess, putting into perspective how people fit

        20    into the big picture of the company.

        21         Q.      Did you ever use Exhibit 1 to train any of

        22    your Directors?

        23         A.      No, I never saw it before today.

        24         Q.      Did you ever use Exhibit 1 to train any of



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 24912-7-2018-000248
                                                                  of 316 PageID #:
                                     7364
                                                                              249


         1    your DBSs?

         2         A.      No.

         3         Q.      Did you ever go over with any of your

         4    Directors with a document that's similar to

         5    Exhibit 1?

         6         A.      There might be certain parts of this that

         7    I would have gone over; for example, there's

         8    reference to people development, and, you know,

         9    customer service and quality and things like that;

        10    so, you know, some of those were certainly topics

        11    that I would have gone over with them, but I just

        12    don't recall -- not only don't I recall this

        13    document.      I don't really recall a document like it

        14    either.

        15         Q.      Did you ever tell or suggest to any of

        16    your Directors that their team needed to close or

        17    deny more claims?

        18         A.      No, definitely not.

        19         Q.      Did you ever have a discussion with Scott

        20    Gillaspie as to why he's copied on e-mails such as

        21    the one you went over earlier today?             I don't recall

        22    which exhibit it was.

        23         A.      It looks like Exhibit 2.          Is that what the

        24    circled number means?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 25012-7-2018-000249
                                                                  of 316 PageID #:
                                     7365
                                                                              250


         1         Q.      Yes.

         2         A.      No, I don't believe I ever had conversations

         3    with him about why he was copied.

         4         Q.      Did you ever have a discussion with anyone

         5    else as to why Scott Gillaspie was copied on this

         6    e-mail, Exhibit 2?

         7         A.      No, not that I can think of.

         8         Q.      And I'm sorry if you explained this, but

         9    based on your understanding, why was Jodi Bishop

        10    copied on Brenda Shepard's e-mail of March 2, 2016?

        11         A.      She was the DBS assigned to the file, the

        12    number that's sited here: 11021715.

        13                 So she was the assigned DBS, so this is a

        14    decision that is being rendered by the appeals

        15    organization.       So she's just being kept in the loop.

        16         Q.      And why did you ask to be -- strike that.

        17                 Why did you ask Ms. Wetton to keep you

        18    posted on the status of Dr. Biliack's claim?

        19         A.      It was just something I did as a matter of

        20    routine.     If I received information from the appeals

        21    organization, then I wanted to be kept apprised of

        22    what happened after that.          Again, it was a way to

        23    help evaluate how a Director was doing and their

        24    team and look at the quality of their decisions.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 25112-7-2018-000250
                                                                  of 316 PageID #:
                                     7366
                                                                              251


         1         Q.      During your 10-year experience as AVP of

         2    Claims, did you ever feel that any of your Directors

         3    or DBSs were not giving significant weight to the

         4    attending physician's opinions?

         5         A.      Not that I can recall, no.          I think it was

         6    a pretty widely accepted practice that people knew

         7    about.

         8         Q.      During your 10-year experience as AVP of

         9    Claims for Unum Group, did you ever see a claim

        10    where you felt -- strike that.

        11                 During your 10-year experience as AVP of

        12    Claims for Unum Group, did you ever feel that any

        13    Director or any particular DBS was ignoring evidence

        14    in support of an insured's disability claim?

        15         A.      I mean, I don't recall any specific

        16    situations.      I suspect that there might have been a

        17    few where I had a different opinion than they did,

        18    and we would talk about the claim, but I'm not sure

        19    I would have thought they were ignoring it.                I might

        20    have just thought, you know, maybe they weren't

        21    giving the same weight I did to it or I guess it

        22    would have been worthy of a discussion.              I can't

        23    remember any particular cases or even say for sure

        24    that that happened, but it seems likely that over



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 25212-7-2018-000251
                                                                  of 316 PageID #:
                                     7367
                                                                              252


         1    10 years, that would have happened occasionally.

         2         Q.      What would you have done if you felt that

         3    any particular Director or a DBS was unfairly handling

         4    any claim systematically?

         5         A.      I certainly would have talked to them

         6    about that particular claim or if it were a DBS, I

         7    probably would have talked to the Director.                I would

         8    have looked at other information to either corroborate

         9    or not; so, I would have looked at a sample of their

        10    claims or asked for help from our Quality Review

        11    Department to maybe do kind of an ad hoc review of a

        12    wider sample of their claims.           So, you know, one

        13    example is just that one example.             So I would have

        14    taken steps to try to identify whether that was a

        15    trend or an aberration.

        16         Q.      Did you share the paid recovery expectation

        17    number with OSPs?

        18         A.      No.

        19         Q.      Did you share paid recovery expectations

        20    with DMOs?

        21         A.      No.

        22         Q.      If a small claim is reopened, do you have

        23    any less concern than if a large -- bad question --

        24    strike that.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 25312-7-2018-000252
                                                                  of 316 PageID #:
                                     7368
                                                                              253


         1                 If a claim that's associated with larger

         2    reserve is reopened, do you have any more concerns

         3    than if a claim with a smaller amount of reserves is

         4    reversed or reopened?

         5          A.     I'm aware that the financial impact to the

         6    company is different between a small reserve and a

         7    large reserve, but it didn't impact the -- what I

         8    thought of it or the degree of significance I gave

         9    it.    In fact, we were -- just as we were measured by

        10    both the count or number of recoveries as well as

        11    the financial impact, we were also measured by both

        12    the number of reopens and the financial impact; so,

        13    a count of one reopen is significant to me whether

        14    it's a small or large reserve.

        15          Q.     Do you know Mr. Birch?

        16          A.     Yes.

        17          Q.     Was he under your supervision as well?

        18          A.     For a part of my time, yes.

        19          Q.     For how long?

        20          A.     It's hard to remember for sure but a

        21    couple of years.

        22          Q.     And did you ever have any concerns about

        23    Mr. Birch not -- strike that.

        24                 Did you ever have any concerns about



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 25412-7-2018-000253
                                                                  of 316 PageID #:
                                     7369
                                                                              254


         1    Mr. Birch affirming denials without conducting

         2    adequate review of files?

         3           A.    No.    Conversely, I would say Mr. Birch was

         4    known as a very thorough QCC, and, you know, his

         5    opinion was widely respected in terms of his expertise

         6    at his job.

         7           Q.    Did you ever work with Dr. Philbin?

         8           A.    I mean, we worked together in the sense

         9    that we were both part of the claim department.                 I

        10    didn't have any, you know, particular dealings with

        11    him.

        12                 I'm sure he reviewed claim files that were

        13    in my organization, but I didn't have much contact

        14    with him.      The contact with the OSPs was primarily

        15    between the DBS and Director and them.

        16           Q.    In this case, Dr. Biliack alleges that

        17    Ms. Bishop, with the assistance of Ms. Wetton and

        18    Mr. Birch, denied his disability claim intentionally,

        19    knowing that he was entitled to benefits, in order

        20    to meet company metrics.

        21                 What is your reaction to that allegation

        22    based on your experience with working with Ms. Wetton,

        23    Ms. Bishop, and Mr. Birch?

        24                 MR. DAWSON:      Objection.      Misstates the



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 25512-7-2018-000254
                                                                  of 316 PageID #:
                                     7370
                                                                              255


         1    allegations of the complaint and lacks foundation

         2    for this witness to give his opinion about his

         3    reaction to that.

         4         Q.      Go ahead.

         5         A.      I guess my reaction is surprise.            All of

         6    the individuals you mentioned, Ms. Bishop,

         7    Ms. Wetton, and Mr. Birch have a track record of

         8    good performance, of handling claims appropriately,

         9    ethically.      I have no prior experience with or

        10    reason to believe that they would deny a claim if it

        11    wasn't appropriate, and, in fact, Ms. Bishop wouldn't

        12    even know anything about the size of the claim or

        13    the reserve or anything that would have influenced

        14    her decision.

        15         Q.      You testified earlier today that sometimes

        16    you would meet with Ms. Wetton one -- in one-on-one

        17    meetings --

        18         A.      Yes.

        19         Q.      -- and convey to her what a paid recovery

        20    expectation was for a given month.             Do you recall

        21    that testimony?

        22         A.      Yes.

        23         Q.      Did you have an office or a cubicle?

        24         A.      It was called an office, but it didn't



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 25612-7-2018-000255
                                                                  of 316 PageID #:
                                     7371
                                                                              256


         1    have a door.

         2         Q.      And what about Ms. Wetton, did she have an

         3    office with a door?

         4         A.      Same as I had.

         5         Q.      And did you sometimes meet in your office,

         6    that didn't have a door or Ms. Wetton's office that

         7    didn't have a door?

         8         A.      Sometimes, depending on the nature of the

         9    conversation.

        10         Q.      And if you met with Ms. Wetton behind

        11    closed doors, why was that?

        12         A.      You know, as I said, periodically, probably

        13    on average every other week, I would meet with each

        14    Director and QCC who reported to me, and we called

        15    them one-on-one meetings, and it was an opportunity

        16    to talk about whatever was going on in their

        17    particular team.

        18                 So kind of similar to my staff meetings,

        19    you know, it could be a personnel matter.               It could

        20    be something related to a DBS's performance or it

        21    could be a variety of things that would be -- that

        22    would fall into being a manager of a team, and so

        23    whether it was a discussion about paid recoveries or

        24    about the performance of a DBS or really about any



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 25712-7-2018-000256
                                                                  of 316 PageID #:
                                     7372
                                                                              257


         1    personal and confidential information, which would

         2    also extend to claimant information, it was

         3    appropriate to have those conversations in a room

         4    with a door, so that people, you know, outside of

         5    the room didn't hear what was going on and didn't

         6    hear information about -- you know, it wouldn't be

         7    appropriate for a DBS to hear my discussion with

         8    their Director about their performance or one of

         9    their peers' performances, for example.

        10         Q.      Did you ever feel -- strike that.

        11                 Did you ever -- strike that.

        12                 Based on your 10-year experience in claims,

        13    as AVP of Claims, did paid recovery expectations

        14    play a role in any particular claim?

        15         A.      No, I don't think they did.

        16         Q.      Are you an actuary?

        17         A.      No.

        18         Q.      Do you know how actuaries actually

        19    calculate their forecast or paid recoveries?

        20                 MR. DAWSON:      Object to the form of the

        21    question.

        22         A.      Not in any detail, no.

        23         Q.      And you never worked as an actuary for

        24    Unum Group?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 25812-7-2018-000257
                                                                  of 316 PageID #:
                                     7373
                                                                              258


         1         A.      Correct.

         2         Q.      Did you ever work with or for Mary Fuller?

         3         A.      No.

         4         Q.      How did you feel -- strike that.

         5                 Were you upset that Unum Group terminated

         6    you from your employment?

         7         A.      Yes, somewhat.

         8         Q.      Were you disappointed?

         9         A.      Yes.

        10         Q.      Were you unhappy the way Unum Group

        11    handled your employment?

        12         A.      Yes.

        13         Q.      Would you be -- strike that.

        14                 Nothing further.

        15                         REDIRECT EXAMINATION

        16    BY MR. DAWSON:

        17         Q.      Quick follow-up.        In terms of it being --

        18                 MS. ROSENTHAL:       He wants to take a ten.

        19                 MR. DAWSON:      Oh, I'm sorry.       Quick break.

        20                 THE VIDEOGRAPHER:        We are off the record

        21    at 6:17 p.m.

        22                 (Short break taken.)

        23                 THE VIDEOGRAPHER:        We are on the record at

        24    6:27 p.m.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 25912-7-2018-000258
                                                                  of 316 PageID #:
                                     7374
                                                                              259


         1                         REDIRECT EXAMINATION

         2    BY MR. DAWSON:

         3         Q.      Mr. Peter, I'll try to jump through these

         4    pretty quickly.

         5                 You were being asked about the fact that

         6    it was the plaintiff that subpoenaed you here to

         7    testify and that Unum had not done that.

         8                 Unum's counsel is here as your lawyer;

         9    right?

        10         A.      Yes.

        11         Q.      And Unum or Unum's lawyer could talk to

        12    you any time they wanted if they wanted to; correct?

        13                 MS. ZHORDANIA:       Vague as to time.

        14         A.      I think so, yeah.

        15         Q.      Yeah.    Well, in the last five months, they

        16    could have talked to you if they wanted?

        17         A.      I guess so.

        18         Q.      All right.      Under the separation agreement,

        19    we could not have talked to you without subpoenaing

        20    you; correct?

        21         A.      That's my understanding.

        22         Q.      Okay.    Paying under a reservation of

        23    rights to affect the paid recovery performance

        24    metrics, I believe you testified would not have any



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 26012-7-2018-000259
                                                                  of 316 PageID #:
                                     7375
                                                                              260


         1    detrimental impact on the insured; correct?

         2         A.      Yes.

         3         Q.      In fact, I think you said you could argue

         4    the insured benefitted from that practice, if I

         5    understand that correctly?

         6         A.      Yes.

         7         Q.      Would you agree that most people buy

         8    insurance, disability insurance for peace of mind,

         9    security?

        10                 MS. ZHORDANIA:       Calls for speculation.

        11    Foundation.

        12         A.      I think that's a common reason why people

        13    buy it.

        14         Q.      Right.     I mean it's that odd product that

        15    we buy that we hope we don't really have to use

        16    typically; correct?

        17         A.      Yes.     Yes, a lot of insurance is like that

        18    in a way, but.

        19         Q.      Right.     And would you agree that when

        20    people do suffer loss, and let's say they're

        21    disabled, and they are not earning income, at that

        22    point in their lives, they're often -- they're often

        23    vulnerable.      Has your experience suggested that to

        24    you being in the disability insurance industry all



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 26112-7-2018-000260
                                                                  of 316 PageID #:
                                     7376
                                                                              261


         1    this time?

         2         A.      You know, I'm not sure I know the state of

         3    mind of everyone, but I think to the extent that

         4    someone is unable to work due to an illness or

         5    injury, that that would make them feel vulnerable at

         6    times.     Sure.

         7         Q.      It certainly can create significant

         8    disruptions in a person's life, do you agree?

         9         A.      Yes.

        10         Q.      To have such a person's claim accepted

        11    even under reservation of rights, wouldn't it be

        12    reasonable to expect an insured to make life

        13    decisions and reliance on receiving benefits?

        14                 MS. ZHORDANIA:       Foundation.

        15         A.      Well, I think the purpose of doing it

        16    under reservation of rights and the explanation to

        17    the claimant about what that means would indicate

        18    that it's an interim decision.            What a claimant

        19    chooses to do with that about making long-term

        20    decisions is, I guess, up to them.

        21         Q.      Well, you yourself had explained that

        22    claims should be paid under reservation of rights

        23    only when it is believed, based upon the existing

        24    information, that the claim will be accepted without



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 26212-7-2018-000261
                                                                  of 316 PageID #:
                                     7377
                                                                              262


         1    a reservation of rights.          Did I understand that

         2    correctly?

         3         A.      I think what I said is that that seems

         4    more likely than not --

         5         Q.      Okay.

         6         A.      -- so it may not be -- it's definitely

         7    not a certainty, because we don't have all the

         8    information, but, you know, it's more probable than

         9    not that it would be approved.

        10         Q.      Well, to accept a claim under reservation

        11    of rights with the sole intent to then shut that

        12    claim down to meet performance recovery or paid

        13    recovery metrics is disregarding any emotional

        14    impact that may have on the insured, would you agree

        15    with that?

        16         A.      If that were done, and I think what I said

        17    is --

        18         Q.      If that were done?

        19         A.      -- it would be inappropriate to do that --

        20         Q.      Right.

        21         A.      -- but if that were done, then I could see

        22    where it would adversely impact the claimant.

        23         Q.      Questions about Unum tracking paid

        24    recoveries and whether there's anything wrong with



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 26312-7-2018-000262
                                                                  of 316 PageID #:
                                     7378
                                                                              263


         1    that, and it is true, isn't it, that Unum doesn't

         2    just track paid recoveries, but Unum provided AVPs

         3    and Directors with a monthly number of paid

         4    recoveries that they expect them to achieve?

         5         A.      I think we've talked a lot about that --

         6         Q.      Right.

         7         A.      -- in terms of the information that I was

         8    given by Ms. Griffin and, in turn, gave to my

         9    Directors.

        10         Q.      Right.     And we discussed how there's a lot

        11    of ongoing follow-up to encourage the meeting of the

        12    paid recovery numbers; correct?

        13         A.      Well, we talked about follow-up.            I don't

        14    know how much a lot is or isn't, but we talked about

        15    there being follow-up.

        16         Q.      Unum Group, you said, doesn't issue

        17    insurance policies; correct?

        18         A.      I think I said my understanding was that

        19    Unum Group as an entity is a holding company or

        20    parent company.       They're not officially an insurance

        21    company.     So I think the insurance policies have a

        22    different label on them.

        23         Q.      That's what I understood you to say, yeah.

        24         A.      Okay.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 26412-7-2018-000263
                                                                  of 316 PageID #:
                                     7379
                                                                               264


         1         Q.      But Unum Group pays the salaries of the

         2    claims employees; correct?

         3         A.      I think of all employees.

         4         Q.      Of all employees.

         5                 Unum Group is responsible for the incentive

         6    compensation plan; correct?

         7         A.      Yes.

         8         Q.      Unum Group is responsible for the long-term

         9    incentive plan, if I'm remembering the title of that

        10    correctly?

        11         A.      I think any type of compensation would

        12    fall under the parent company Unum Group.

        13         Q.      Unum Group does the training?

        14         A.      Again, the company is Unum Group.             The

        15    insuring entities as policies as filed with the

        16    states are just that --

        17         Q.      Right.

        18         A.      -- they're not -- you know, they're not

        19    the parent company.

        20         Q.      The claims are being handled under claim

        21    guidelines, promulgated by Unum Group; correct?

        22         A.      Yes.

        23         Q.      You testified, I believe, that you never

        24    suspected a Director of improperly having denied a



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 26512-7-2018-000264
                                                                  of 316 PageID #:
                                     7380
                                                                              265


         1    claim.     First of all, do I have that correct?

         2         A.      Yes.

         3         Q.      During the 10 years that you were an AVP,

         4    were there any lawsuits filed by insureds whose

         5    claims were denied by your team?

         6         A.      I'm sure there were, yes.

         7         Q.      Lawsuits, alleging bad faith conduct?

         8         A.      Probably, but I don't -- I can't recall

         9    the -- you know, any specific names or anything.

        10         Q.      Did you testify in any lawsuits against

        11    the company when you were an AVP?

        12         A.      I think the only time I testified was in

        13    November of 2016 after my employment had been

        14    terminated.

        15         Q.      That's the only time you've been deposed?

        16                 MS. ZHORDANIA:       As AVP?

        17         A.      As AVP of Claims.

        18         Q.      Okay.    Let me ask a better question.

        19                 Are you saying during your tenure as AVP,

        20    you were not deposed in connection with your work?

        21         A.      I think there was one instance in the

        22    10 years where I was deposed shortly after I

        23    transitioned from underwriting to claims, but the

        24    nature of my involvement, and, therefore, testimony



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 26612-7-2018-000265
                                                                  of 316 PageID #:
                                     7381
                                                                              266


         1    was underwriting related, not claims related.

         2         Q.      All right.      Well, going back, you said

         3    you -- I forget the word you used.             You think, you

         4    believed that there were lawsuits filed by insureds

         5    whose claims were denied by your team?

         6         A.      I think that's likely.

         7         Q.      All right.      What happened to those?

         8         A.      I don't know.

         9         Q.      Do you know if they went to trial?

        10         A.      I am sure some did.        I recall people on

        11    my team testifying.        I don't recall if they were

        12    testifying in depositions or trial, but --

        13         Q.      What have juries decided about how the

        14    claims were handled?

        15         A.      I don't know.

        16         Q.      What have Courts decided about how claims

        17    were handled on your team?

        18         A.      I don't know.

        19         Q.      If Unum is sued for insurance bad faith

        20    and found by a jury to have acted in bad faith and

        21    affirmed by a Court of Appeals to have acted in bad

        22    faith, is that knowledge shared with the claims

        23    operation?

        24                 MS. ZHORDANIA:       Calls for speculation.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 26712-7-2018-000266
                                                                  of 316 PageID #:
                                     7382
                                                                              267


         1         A.      Not to my recollection, no.

         2         Q.      Is this not information that you would

         3    want to know if the bad faith -- there's a bad faith

         4    finding by a jury?

         5         A.      I think I would want to know if it were a

         6    decision made by my team.

         7         Q.      It could be instructional, wouldn't you

         8    agree?

         9         A.      It could be.      And perhaps we were instructed

        10    indirectly or maybe there was a change to a policy

        11    or practice as a result of a court finding that was

        12    presented as a change without necessarily being

        13    framed in the sense of a result of a court decision.

        14         Q.      All right.      But you're speculating about

        15    that, I take it?

        16         A.      Yes.

        17         Q.      Concerning your supervision and evaluation

        18    of Ms. Wetton, was she a good Director in terms of

        19    measuring her operational metrics compared to plan?

        20         A.      My recollection is that she typically met

        21    the expectations.

        22         Q.      And was she fairly consistent in achieving

        23    paid recoveries?

        24         A.      To the best of my knowledge, yes, or



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 26812-7-2018-000267
                                                                  of 316 PageID #:
                                     7383
                                                                               268


         1    recollection.

         2         Q.      All right.      Ms. Wetton was part of the

         3    claims operation, I think, is it 2002?

         4                 MR. SANDER DAWSON:         Two thousand --

         5                 MS. ROSENTHAL:       Before --

         6                 MR. SANDER DAWSON:         Seventeen years.

         7    2001.

         8                 MR. DAWSON:      All right.

         9                 MS. ZHORDANIA:       What?

        10                 MR. DAWSON:      He said for 17 years.         He

        11    didn't have the year.

        12                 MS. ZHORDANIA:       Oh.

        13    BY MR. DAWSON:

        14         Q.      Ms. Wetton was part of the claim operation

        15    before you came over to the benefits side; correct?

        16         A.      That's my understanding.

        17         Q.      And she was part of the claim operation

        18    before the Market Conduct Examination?

        19         A.      Well, if the information is accurate that

        20    she began in 2001, then, yes, because the RSA was in

        21    2004 or five.

        22         Q.      I think it was one or two, but anyway.

        23                 MR. SANDER DAWSON:         2001, yeah.

        24         Q.      2001.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 26912-7-2018-000268
                                                                  of 316 PageID #:
                                     7384
                                                                              269


         1                 All right.      And, therefore, Ms. Wetton was

         2    part of the claims operation at the time of the

         3    findings of improper claims practices by the

         4    Multistate Market Conduct Examination, wouldn't that

         5    follow?

         6         A.      Yes.

         7         Q.      Do you know what role Ms. Wetton may or

         8    may not have had in claims where unfair practices

         9    were found by the Market Conduct Examination?

        10         A.      I do not.

        11

        12

        13

        14

        15                 Now I'm not going to ask if you know that

        16    specifically, but were you generally aware that she

        17    was having her reopen rates exceed what the plan

        18    number was --

        19                 MS. ZHORDANIA:       Foundation.

        20         Q.      -- in that -- to a large degree during

        21    that period?

        22                 MS. ZHORDANIA:       Lacks foundation.

        23         A.      I don't recall that being the case one way

        24    or another.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 27012-7-2018-000269
                                                                  of 316 PageID #:
                                     7385
                                                                                270


         1         Q.      Okay.    If that was the case, and I think

         2    you touched on this before in your testimony, having

         3    that large a number of reopens would suggest that

         4    claims are being improperly denied, wouldn't you

         5    agree?

         6         A.      Not necessarily.

         7                 MS. ZHORDANIA:       Lacks foundation.

         8         Q.      It could suggest that, wouldn't you agree?

         9         A.      It could.

        10         Q.      All right.      It would cause or it should

        11    cause someone in a supervisory position of Ms. Wetton

        12    to want to look into why she was having so many

        13    reopened claims.        Would you agree with that?

        14         A.      I think so.

        15         Q.      You testified about systems being in place

        16    to make sure that claims are handled fairly.                You

        17    mentioned the Director and the audits, for example;

        18    correct?

        19         A.      Yes.

        20         Q.      There were Directors in place when the

        21    various Departments of Insurance fined Unum for

        22    unfair interpretation of surveillance; correct?

        23                 MS. ZHORDANIA:       Objection.     Lacks proper

        24    foundation.      Calls for speculation.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 27112-7-2018-000270
                                                                  of 316 PageID #:
                                     7386
                                                                              271


         1         A.      I mean -- I don't know what the titles

         2    were before I joined the organization; so, I don't

         3    know if they were Directors or --

         4         Q.      Supervisors?

         5         A.      -- or something else.

         6         Q.      Or claim handlers?

         7         A.      There were some people who managed DBSs.

         8    What they were called, I don't know.

         9         Q.      My point is these systems that you're

        10    testifying to that are overseeing whether claims are

        11    being handled, it is a fact that these systems by

        12    and large were in place at the time of the Market

        13    Conduct Examination.         Isn't that true?

        14         A.      I don't know which ones were in place at

        15    the time of the Market Conduct Examination; so, I

        16    can't compare that to afterwards.             My understanding

        17    is that some additional practices or safeguards were

        18    put into place as a result of the Market Conduct

        19    Exam.

        20         Q.      Well, the additional safeguard that was

        21    put into place was that Unum was required to

        22    institute the position of the QCC.             Are you aware of

        23    that?

        24         A.      I'm aware that it was put into place



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 27212-7-2018-000271
                                                                  of 316 PageID #:
                                     7387
                                                                              272


         1    around that time.        I'm not necessarily aware that it

         2    was a direct result or not of the RSA.

         3         Q.      Were you aware that after Unum instituted

         4    the QCC position, they made them independent from

         5    the claim department?         Did you know that?

         6                 MS. ZHORDANIA:       Vague.

         7         A.      No.

         8         Q.      QCCs did not report to an AVP of Claims

         9    originally.        Did you not know that?

        10         A.      I guess I didn't -- I guess when you say

        11    independent of the Claims Department, so regardless

        12    of whether they reported to an AVP of Claims or not,

        13    I thought that they were still part of the Claims

        14    Department.

        15         Q.      No, it may have been sloppy language.              Did

        16    you know that QCCs were within their own unit

        17    reporting to a supervisor of QCCs, not to a

        18    supervisor of claims?         Were you aware of that?

        19                 MS. ZHORDANIA:       Foundation.

        20         A.      I was aware that they were in one unit as

        21    opposed to being spread out, and that they reported

        22    to, for lack of a more precise term, a supervisor of

        23    QCCs, but I would think that that person was still

        24    part of the claims organization.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 27312-7-2018-000272
                                                                  of 316 PageID #:
                                     7388
                                                                              273


         1         Q.      And the change was made so Mr. Birch, for

         2    example, was reporting to an AVP such as yourself;

         3    correct?

         4         A.      Was that change made?         Is that what you're

         5    asking?

         6         Q.      Yeah.    Change was made, and, for example,

         7    Mr. Birch then was reporting to an AVP such as

         8    yourself; correct?

         9         A.      Yes.

        10         Q.      And the AVPs we've discussed have

        11    operational metrics that they're expected to comply

        12    with; correct?

        13         A.      Yes.

        14         Q.      In terms of whether you would have had any

        15    awareness of Dr. Biliack's claim following up about

        16    the change in status field, we know from at least

        17    from one e-mail where you said "Keep me posted," you

        18    had some awareness of Dr. Biliack's claim; correct?

        19         A.      In conjunction with the appeal, yes.

        20         Q.      Speaking of appeals, do you believe that

        21    it's fair to require an appeal to take place without

        22    giving the insured the opportunity to see the whole

        23    record before he or she has to do an appeal, so they

        24    know what the actual evidence was that the adverse



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 27412-7-2018-000273
                                                                  of 316 PageID #:
                                     7389
                                                                              274


         1    decision was based upon?

         2         A.      I mean, my recollection is that any time

         3    we made a decision to deny a claim, we explained to

         4    the insured, sometimes by phone, and I believe

         5    always in writing what the basis for the company's

         6    decision was.

         7         Q.      Do you think it would be fair for the

         8    insured to be able to have the documents that the

         9    company's relying upon for its adverse decision?

        10         A.      My recollection is that the insured did

        11    have access to a copy of the documents in their

        12    claim file.

        13         Q.      That they would have an access to the

        14    documents in their claims file; is that what you

        15    said?

        16         A.      Yes, my recollection is that any insured

        17    would have access to the documents in their claim

        18    file or a copy of their claim file upon request.

        19         Q.      All right.      And, thereby, they would have

        20    access to the base documents that the decision was

        21    based upon; correct?

        22         A.      I think so, yes.

        23         Q.      And you agree that would be fair?

        24         A.      Yes.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 27512-7-2018-000274
                                                                  of 316 PageID #:
                                     7390
                                                                              275


         1         Q.      All right.      In terms of your being asked

         2    what your reaction was to the allegations of the bad

         3    faith practices here, it is a fact that the

         4    allegations of improper claims practices made in

         5    this lawsuit involves a claim that was handled by

         6    your AVP team; correct?

         7         A.      That's my understanding.

         8         Q.      Sorry.     I'm not sure where I am here.

         9                 Claim file documentation.          You're aware

        10    that the claim files should be sufficiently detailed

        11    to allow, say, a regulator or auditor to recreate

        12    each important decision on the claim and the basis

        13    for it --

        14                 MS. ZHORDANIA:       Object to the extent it

        15    calls for a legal conclusion or expert opinion.

        16         Q.      -- correct?

        17         A.      I was not aware of that as you specifically

        18    outlined, no.

        19         Q.      Well, we were talking about Market Conduct

        20    Examinations.       The Multistate Market Conduct

        21    Examination is not the only Market Conduct

        22    Examination that has taken place of Unum claims to

        23    your knowledge?

        24                 MS. ZHORDANIA:       Can you specify time.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 27612-7-2018-000275
                                                                  of 316 PageID #:
                                     7391
                                                                              276


         1                 MR. DAWSON:      No.

         2                 MS. ZHORDANIA:         Market -- I mean I

         3    think -- which one are you referring to?

         4                 MR. DAWSON:      I'll take that as an

         5    objection.

         6                 MS. ZHORDANIA:         Vague.   Objection.     Vague.

         7         A.      My understanding is that a component of

         8    the -- what I believe would be called the initial

         9    Market Conduct Examinations in 2004 and 2005 -- I

        10    don't know that they were the first ones, but that's

        11    what I understand them to be.

        12         Q.      All right.

        13         A.      And so my understanding is that in

        14    subsequent years there have been occasional routine

        15    Market Conduct Exams that states have the right to

        16    conduct of any insurance company authorized to issue

        17    policies in their state.

        18         Q.      All right.      And when State Departments of

        19    Insurance exercise their right to conduct Market

        20    Conduct Examinations, the insurance company is

        21    expected to maintain claim files, so those auditors

        22    from the Departments of Insurance can see how claims

        23    have been handled.        Are you aware of that?

        24                 MS. ZHORDANIA:         Object to the extent it



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 27712-7-2018-000276
                                                                  of 316 PageID #:
                                     7392
                                                                              277


         1    calls for expert opinion or a legal conclusion.

         2         A.      I'm aware that there were Market Conduct

         3    Examinations that involved review of claim files; so,

         4    it makes sense that the company would be required to

         5    provide the claim files to the examiners.

         6         Q.      Do you have familiarity with the NAIC

         7    model guidelines?

         8         A.      I'm aware that they exist, but that's

         9    about it.

        10         Q.      Would you agree that an insurance company's

        11    obligated to explain the basis for an adverse claims

        12    decision?

        13         A.      Yes.

        14         Q.      Do you know if the -- we talked a lot

        15    about the historical assumptions.             Do you know if

        16    the historical assumptions that you've been testifying

        17    about are based, in part, on claim data that was

        18    happening prior to the Multistate Market Conduct

        19    Examination.

        20                 MS. ZHORDANIA:       Foundation.

        21         A.      I don't know.       You had previously asked me

        22    how far back or how many years the data represented,

        23    and I said I didn't know.

        24                 MR. DAWSON:      That's all.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 27812-7-2018-000277
                                                                  of 316 PageID #:
                                     7393
                                                                              278


         1                 MS. ZHORDANIA:       All right.     I have a few.

         2                          RECROSS-EXAMINATION

         3    BY MS. ZHORDANIA:

         4         Q.      I don't know if I asked you this, and if I

         5    did, I apologize.        Did you ever share paid recovery

         6    expectations with QCCs?

         7         A.      No, not that I recall.

         8         Q.      Did you ever share paid recovery expectation

         9    with Mr. Birch?

        10         A.      Again, not that I recall.

        11         Q.      And did I understand your testimony

        12    correctly that during your 10-year employment

        13    history as AVP of Claims for Unum Group, you never

        14    had to testify or be deposed in any case alleging

        15    bad faith denial of benefits?

        16         A.      What I said is that to the best of my

        17    recollection, during the 10 years that I was in

        18    claims, I was deposed one time, but the substance of

        19    the deposition was related to my involvement when I

        20    was in underwriting, and I believe it was

        21    specifically related to a contestable claim.

        22                 So there may have been aspects to that

        23    case that involved bad faith but not as far as I was

        24    involved.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 27912-7-2018-000278
                                                                  of 316 PageID #:
                                     7394
                                                                              279


         1         Q.      Okay.    So if I understand correctly, based

         2    on your recollection, you were never deposed or

         3    testified in a case where your team's handling of a

         4    disability claim was at issue?

         5                 MR. DAWSON:      Objection.      That misstates

         6    his testimony and it's leading.

         7         Q.      Go ahead.

         8                 Let me ask you --

         9         A.      Sure.

        10         Q.      -- do you recall ever being deposed in a

        11    case other than this case where the claims handling

        12    of any of your Directors or DBSs were involved?

        13                 MR. DAWSON:      I withdraw my objection.          I

        14    misunderstood your question.

        15                 MS. ZHORDANIA:       Okay.

        16         A.      Only once which was after my employment

        17    ended in October of 2016.          So one time after that, I

        18    think it was November of 2016, but not while I was

        19    employed.

        20         Q.      Was either Ms. Wetton or Jodi Bishop

        21    involved in that case, to your knowledge?

        22         A.      I don't think so, no.

        23         Q.      Ms. Bishop testified in this case that she

        24    had never testified or been involved in any case



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 28012-7-2018-000279
                                                                  of 316 PageID #:
                                     7395
                                                                                280


         1    where her handling of the claim was at issue.                Do

         2    you have a different understanding from that?

         3                 MR. DAWSON:      Objection.      Lack of

         4    foundation.

         5         A.      I have no knowledge one way or another.

         6         Q.      Do you know whether there have been any

         7    bad faith jury findings against Ms. Wetton or

         8    Ms. Bishop?

         9                 MR. DAWSON:      Whoa.    Objection.       Lack of

        10    foundation.      A finding would not be against an

        11    individual --

        12         Q.      Do you know --

        13                 MR. DAWSON:      -- it would be against the

        14    company.

        15                 MS. ZHORDANIA:       Thank you.     I'll rephrase.

        16    BY MS. ZHORDANIA:

        17         Q.      Do you know whether there have been any

        18    jury, any bad faith findings by a court or a jury, a

        19    case that was handled by Ms. Bishop or Ms. Wetton?

        20         A.      I don't know.

        21         Q.      Do you -- earlier today you testified that

        22    you don't know what Unum's policies with respect to

        23    providing surveillance or you don't recall.                Do you

        24    recall that testimony?



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 28112-7-2018-000280
                                                                  of 316 PageID #:
                                     7396
                                                                              281


         1         A.      Providing copies of surveillance to

         2    insureds?

         3         Q.      Correct.

         4         A.      I said I don't recall, yeah.

         5         Q.      And so typically when an insured requested

         6    a copy of the claim file, what is your understanding?

         7    What did Unum do?

         8                 MR. DAWSON:      Objection.      Asked and

         9    answered.

        10         A.      If an insured requested a copy of their

        11    claim file, Unum would take the electronic claim

        12    file and burn it, if that's the right term, to a CD,

        13    and send that to the insured.

        14         Q.      And do you know what Unum's practice was

        15    with respect to if the claim file contained

        16    surveillance videos or reports?

        17                 MR. DAWSON:      Asked and answered.

        18         A.      I don't recall.

        19         Q.      Okay.    That's what I wanted to make clear.

        20                 MS. ZHORDANIA:       That's it.

        21                 So we'll -- you'll forward me the original

        22    transcripts, so we'll get it to the witness for

        23    review or signature -- for review and signature.

        24    30 days to review.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 28212-7-2018-000281
                                                                  of 316 PageID #:
                                     7397
                                                                              282


         1                 MR. DAWSON:      Okay.

         2                 THE VIDEOGRAPHER:        We are off the record

         3    at 6:56 p.m.

         4

         5                 (Deposition concluded at 6:56 p.m.)

         6

         7

         8

         9

        10

        11

        12

        13

        14

        15

        16

        17

        18

        19

        20

        21

        22

        23

        24



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 28312-7-2018-000282
                                                                  of 316 PageID #:
                                     7398
                                                                              283


         1                       CERTIFICATE OF REPORTER

         2         I, Julie Thomson Riley, RDR, CRR, do certify

         3    that the deposition of Paul Peter, in the matter of

         4    Mark Biliack, M.D., an individual vs. The Paul

         5    Revere Life Insurance Company, a Massachusetts

         6    Corporation; Unum Group, a Delaware Corporation;

         7    Austin Jerome Philbin, M.D., an individual; Suzanne

         8    Benson, M.D., an individual, on December 7, 2018,

         9    was stenographically recorded by me; that the

        10    witness provided satisfactory evidence of

        11    identification, as prescribed by Executive Order 455

        12    (03-13), issued by the Governor of the Commonwealth

        13    of Massachusetts, before being sworn by me, a Notary

        14    Public in and for the Commonwealth of Massachusetts;

        15    that the transcript produced by me is a true and

        16    accurate record of the proceedings to the best of my

        17    ability; that I am neither counsel for, related to,

        18    nor employed by any of the parties to the above

        19    action; and further that I am not a relative or

        20    employee of any attorney or counsel employed by the

        21    parties thereto, nor financially or otherwise

        22    interested in the outcome of the action.

        23    December 12, 2018            _____________________________

        24                                 Julie Thomson Riley, RDR, CRR



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 28412-7-2018-000283
                                                                  of 316 PageID #:
                                     7399
                                                                              284


         1    WITNESS:     Paul Peter

         2    DATE:        December 7, 2018

         3    CASE:        Mark Biliack, M.D., an individual vs.

         4                 The Paul Revere Life Insurance Company, a

         5                 Massachusetts Corporation; Unum Group, a

         6                 Delaware Corporation; Austin Jerome Philbin,

         7                 M.D., an individual; Suzanne Benson, M.D.,

         8                 an individual

         9

        10    DISTRIBUTION TO COUNSEL          The original signature

        11    page/errata sheet was sent to Theona Zhordania,

        12    Esquire, to obtain signature from the deponent.

        13    When signed, please send original to Steven Dawson,

        14    Esquire.

        15

        16    WITNESS INSTRUCTIONS         After reading the transcript

        17    of your deposition, please note any change or

        18    correction and the reason for it on the errata

        19    sheet.     DO NOT make any notations on the transcript

        20    itself.     Use additional sheets if necessary.

        21

        22    SIGN AND DATE THE ERRATA SHEET before a notary

        23    public and return it, along with the transcript, to

        24    your counsel.



                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 28512-7-2018-000284
                                                                  of 316 PageID #:
                                     7400
                                                                              285


         1                    UNITED STATES DISTRICT COURT
                                  DISTRICT OF ARIZONA
         2
              Mark Biliack, M.D., an individual,
         3                             Plaintiff
              v.
         4
              The Paul Revere Life Insurance Company, a
         5    Massachusetts Corporation; Unum Group, a Delaware
              Corporation; Austin Jerome Philbin, M.D., an
         6    individual; Suzanne Benson, M.D., an individual,
                                       Defendants
         7
                  I, Paul Peter, do hereby certify, under the
         8    pains and penalties of perjury, that the foregoing
              testimony is true and accurate, to the best of my
         9    knowledge and belief, with the addition of the
              following changes/corrections:
        10
              Page Line     Change/Correction
        11    _____|_____|_______________________________________
              _____|_____|_______________________________________
        12    _____|_____|_______________________________________
              _____|_____|_______________________________________
        13    _____|_____|_______________________________________
              _____|_____|_______________________________________
        14    _____|_____|_______________________________________
              _____|_____|_______________________________________
        15    _____|_____|_______________________________________
              _____|_____|_______________________________________
        16    _____|_____|_______________________________________
              _____|_____|_______________________________________
        17    _____|_____|_______________________________________
              _____|_____|_______________________________________
        18    _____|_____|_______________________________________
              _____|_____|_______________________________________
        19    _____|_____|_______________________________________
              _____|_____|_______________________________________
        20    _____|_____|_______________________________________

        21    WITNESS MY HAND, this             day of                , 2018.

        22
                                                    ___________________
        23                                          Paul Peter

        24
              cc:    Steven Dawson, Esquire


                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 28612-7-2018-000285
                                                                  of 316 PageID #:
                                     7401
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 28712-7-2018-000286
                                                                  of 316 PageID #:
                                     7402
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 28812-7-2018-000287
                                                                  of 316 PageID #:
                                     7403
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 28912-7-2018-000288
                                                                  of 316 PageID #:
                                     7404
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 29012-7-2018-000289
                                                                  of 316 PageID #:
                                     7405
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 29112-7-2018-000290
                                                                  of 316 PageID #:
                                     7406
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 29212-7-2018-000291
                                                                  of 316 PageID #:
                                     7407
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 29312-7-2018-000292
                                                                  of 316 PageID #:
                                     7408
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 29412-7-2018-000293
                                                                  of 316 PageID #:
                                     7409
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 29512-7-2018-000294
                                                                  of 316 PageID #:
                                     7410
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 29612-7-2018-000295
                                                                  of 316 PageID #:
                                     7411
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 29712-7-2018-000296
                                                                  of 316 PageID #:
                                     7412
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 29812-7-2018-000297
                                                                  of 316 PageID #:
                                     7413
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 29912-7-2018-000298
                                                                  of 316 PageID #:
                                     7414
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 30012-7-2018-000299
                                                                  of 316 PageID #:
                                     7415
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 30112-7-2018-000300
                                                                  of 316 PageID #:
                                     7416
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 30212-7-2018-000301
                                                                  of 316 PageID #:
                                     7417
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 30312-7-2018-000302
                                                                  of 316 PageID #:
                                     7418
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 30412-7-2018-000303
                                                                  of 316 PageID #:
                                     7419
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 30512-7-2018-000304
                                                                  of 316 PageID #:
                                     7420
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 30612-7-2018-000305
                                                                  of 316 PageID #:
                                     7421
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 30712-7-2018-000306
                                                                  of 316 PageID #:
                                     7422
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 30812-7-2018-000307
                                                                  of 316 PageID #:
                                     7423
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 30912-7-2018-000308
                                                                  of 316 PageID #:
                                     7424
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 31012-7-2018-000309
                                                                  of 316 PageID #:
                                     7425
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 31112-7-2018-000310
                                                                  of 316 PageID #:
                                     7426
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 31212-7-2018-000311
                                                                  of 316 PageID #:
                                     7427
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 31312-7-2018-000312
                                                                  of 316 PageID #:
                                     7428
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 31412-7-2018-000313
                                                                  of 316 PageID #:
                                     7429
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 31512-7-2018-000314
                                                                  of 316 PageID #:
                                     7430
                             PLC-MS-ABRAMOWSKI-PAUL
Case 1:19-cv-00131-TRM-CHS Document                   PETER
                                    32-2 Filed 11/27/19     DEPO
                                                         Page 31612-7-2018-000315
                                                                  of 316 PageID #:
                                     7431
